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Case 3:17-cv-00881-TJIC-JBT Document 1-3 Filed 08/01/17

 

 

{any andforalt al plaxbetieal pat/nr numerical variations andfor a trixations)

NCE©C™® Estate

feny andige all aiphebetical aaitor snmeriest ya bistio ns andor derivations)

 

 

‘Notice.to Agentis Notice te Principal — —Notiee to Fimapal is Notice to-Agent
Applicable ta all Suecessors and ASSIgnS.

Affidavit of {information, Report, and Pref referral ot CL larmes:

 

 

Al yeliet Pen ‘Action

 

 
weoma-aisat vaGe$8.20-40375-KKS Doc1-8 Filed 10/14/20 Page 2 of 192
Case 3:17-cv-00881-TIC-JBT Document i-3 Filed 08/01/17 Page 2 of 191 PageiD 337

16-2017.CP-001025,XKKMA:
+e gee

 

 

 

 

 

        

‘ | INTHE CIRCUIT COURT; FOURTH IDBICISL CIRCUIT:
INAND FORDUYAL COUNTY, FLORA

fen oo

tH,

Th Ref Beinée af: 3 - _ Registered Mail # RB 917.549 140.Us.

-PAQUANRASHIRGULLETT .- File Number:

+

don Tt

 

= . ‘Prokate Division:
_ en = = = -

2, The interést of the céiieatoris that of the General Zucoutor Gf Taguali Rashie Gullett,
deceased; wh died on orabout Octuber 8,197, |

2. Cavéitor’s aime dnd specific mailing location isi,

ie teed Reet 26
#56722 Arlington Expressway, Suite 67213 -
Tacksonvills, Horida [gaeis]’

'3«, Caveator hereby designates Taquiin Rakishé Guilett-E, General Executor, in Duval County,
whose specific mailing ‘location is’above-listed, as tavéator's agent-for the servied of notice.
Caveaior requests that the Court not admit 2 WHI of the Decedent to probaté.or appoint a:
personal representative without formal notice.on ‘saveator or‘his designated agent and “ihat _
caveator be given such additional notice as the Florida Probate Rides require. -

Under pénilties of pesjury, t dedlate that i have réad the foregoing, and thé ficts alleged are
7" tite; 1 the best of my kiuwledge and belief, }
Astographed gu the Tienty-Fifth Day of the Fourth Month M.CY, 1437 1G.0.¥-2017).
1 » Tein Bade iti — Qo ~ ,

‘Cnvestor, oo
1 CERTIFY that Lhereby abeopt the foregoing designation ad agent,

Avtographed on the/Twenty-Fitth Day of the Foutth Month M.C, 14971G.0¥: 20071)

Nos fen RA ‘

i - “Gavisti Declaritlone! Find tefaultiadement, ;
2oF?. REDS 1605,

ACCEPTED: DUVAL- COUNTY, RONNIE FUSSELL CLERK, 047272017 09:20:17 AM

 
    
 

     

 
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 3 of 192
OR Ek Lisih PASE © bas:

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»

|
Caveat: Declaration: of Final: Default J ud: ment

 

dk 0 ALL PARTIES AND Ta ee OF RECORD TAKE, NOTICE that On the:
Rerord and for alte presetit is “Taquan Rahishs: Gules cho eed mcotleracio Divine
Ibimmoctal Spititin Live Flesh and Bleaa: Natural’ Man of 7 inajotity.on the Land, In Propria Petsona.
‘by Sui” juris capacity, das. Sanguinis, ‘Heir Apparat ‘by Fréshold of Ithettancs, Original

-Autéchthonous Ameribin Moor Alien (Sriesid} Repubilioan Govemnmicht Sijle'aid Form, 2 people

of Our state.and of aound fitm mind; competent by Conduct find Virtue for Moral
Iniegrity and Upeght ‘Chamicter Honor, Fidelity, Respect, Canrage,‘‘Temperancé; Faith, Hope,
‘Wistom, Wil-Lovel Truth, Peace, Freedoin, Justice; Prudence; Humility, and Service, guided only
by Onr Most High Great: Divine Souree for the Force Universal Atah {All-Law) “whom: sustains all
‘protéctiad and. provision fat Li, Liberiy, and Praperty..

2. Ong, tie Original Autochthonous American Moor‘Alied (Friend) Republican Géverament Style
aud Form, héreinafter, “declarant,” tises and gies honor and 3 Secdgiition ta The Haly Koran

ance Dt iam ag ay a

Circle #;. The: Zaiiae. Constitution. (Registration. ‘No, AAz22141, Truth, Ar
Class A}, The; Holy. OHir’: a0, "The American Declaration of. Independence.
(37763,. TE “lvéaty Of Pouce and Friendship £1787), ‘The Madrid Convention. on Protection in
Maroéso. (Jély'3; 1880}, The. Universal Declaration on Himian' Rights. (2948); The Ambvicari

Declaration of the Tsltsant Petlos of 20h 998), The United Nations Declaration of

Peoples 2005}, The. International Procdlamation-for the Oviginal Autachihonous diviectein Moor
Alien - (Eriendy Republican. ‘Goverampnt: Style-and Form (2018);, and The Internation a2

Resolution: For Competende’ By Conduct and ‘Virtua - Affidavit of Rong,

Fide ‘Moral Integrity ahd Upright Charactér Lawfel Status (4016).

Geveaist Deckraton of Firat Pefautttidgment .
anf? RUSiz 519 (OUs

 
A, tite Lise serGS@v20-40375-KKS Doc1-8 Filed 10/14/20 Page 4 of 192
Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 4 of 191 PagelD 339

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3. The decir Génerl Executor roF AN Rasim TE GULLSTE Auto Bink.

teers

No, ro, ngss564880); Ciopyriht Thide-Name i Tidemark Contract, Regisied Fichitiqus:
Name (oxida Dep: artnent of Stabe Wa: Grso000i8Eya),, Registered Surety Band with Collateral
(EL 156259075: vs, Fiduciary Appointment’ Contract: (ei. 156288575 US}, ‘Tagua. Rashie:
Gillendo- ‘Estate - ata Cost Schediile, Parainonnt. Seourity interest: Holder (Maritime Lien

No neyo Patiam County Florida Inst. No,. 261054714243; California UEC 40-.

 

T8978 750423,. lin wee: “iasaisaumn, “Reitaidy tee siiaraBigttine.os over
TAQUAN RASHIE : GULLETTO® LLETTO® Estate,

4s ‘The Gedaantdoas hereby rezeryé all Natural rights, all Human rights,
and. cr aecard: avith [Florida Statutes. 792-210 and. Florida Rules of:

|
Evideuce 90:203, 90:202; & 60.203] doéé. hereby give Caveats
- ~~ : | , . ase : _ ° ~ °

 

§. The declarant does hereby: dedlate the above-nanied itidgmient ‘debtorts} 7 Biopioimdsifsy"
failure and negli to sufficiently. ox timely answer.or respond by presentment of a valid ‘end
verified dogumientaty avidence rabisttal to dedlarant’s Private Civil Action: Forth dadidial Cirenig
. Case Number seadip-Caae, does constitute judgnieut debtor(sy i propounder(s}’ consent ts
* Entry of: Binal Defeat dudgment:and Esteppel upon judgment. debtor(s) / propounder(s). and
imanit. detnoite) f Proponndér(s} accept al. ability i in. this imatter,. 2s well, as judgment:

 

aebtants Z propounden(sy tacit acquiescence, atcaptanée, aprioval, Sonsant; and: agreement to
all. tern; conditions arid stipulations in declarants' Private evil Action Fourth: Judicial Crentt:
Case Nunitber 622037 CAcaa4s Without limitation (see anneked' Case Nomber 46-2027-CA:
S142 Notice of Default anid Estoppel ~Dackét Entry 35).

_i- { -

' ‘coped Declaration ef Rol Defiskaidgmahe, tee.
LS Saf) Rass aus).

 
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 5 of 192
VRS LtL PAGE OTT

Case 3:17-cv-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 5 of 191 PageiD 340

6. ‘The debror(s} j Propounder(s) are in Defanit, ‘Asi an operation flaw {ipso jure) debtor(s} f

Propounder(s)i iy ‘dishonor: of declarant’s. Private ChilActi¢n Fourth Judicial. Citciiit Case
Numtber6-2017-Ch-214e have ealised Default. By the terms, conditions, and: stipulations of fie

-apreement esultitiz fromthe offer. and accaptance-af declarant's: Private Civil LAction, Fouitly
Judicial. Ciratit cate ‘Number 16-2017-CA-di42, debtor) - ‘proponadérts) 2 ate under: the duty
‘ang obligation; to tidy and j in; good faith rebut with law. aud great; specificity. and/or bonor-

declamni’s docimehins evidence id dedlatant's Private Civil Action Fanith Judicial Citeult Case.

Nunibar sseaniyCaaige within twenty. (20) ‘days’ of presentaient and to provide sebuttd.

verification inthe form, of documentary ¢ evidence,. A: dishonur of declarant’ Private Civil: Action

Fonth ‘dudicial: Chenit Case Number. t6-d027-OA-2142 dischargés any alleged: Hability: against,
‘ estorant that debtor(e) f propounder(s}: have attempted ¢ to claim: Allowing tw. ety (20) days for
xebutial, and the tine allcived bavitig passed furrebuttal; and with the Registrar @ribate Court}

f Réecitdet { Clerk oF Couit showing nd-téeotd: of tebuttal, ‘declarant now deems Piivate Civil

Action Fourth Suda ‘Gireit Case. Niimber. i6-2017-CA-2142 i is: dishoviored anor ationt the

‘Pieeaty oot Day of the: Fourth Month Fourteen Thy Sev aa [G.0.2-20%7 ~ April 24),

 

detlatait's’ ‘Peivate, ‘Gat ‘Action Fourth Fudicial Citeait: Case Nuwiber shedbip CAenae, a does.
esieblish that the whole matter of declarant’s. Private Civil Action Foorth Judicial, Cireait Case
‘Nusiber 16-2037-CA-b143 is deemed Res Tudicaia, and Stare Decisis: Theatre, j ipsa; fire
destenty ADIT DECREE; and DECLARE:.

orien Declaration of Final Delaut iderret Le,
nt? REOiy So ELERS.

 
OR am ayy 1. waGeASe2O0-40375-KKS Doc1-8 Filed 10/14/20 Page 6 of 192
Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 6 of 191 PagelD 341

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FIRST; Lat it be knsiwa to all yhom these presents came, ith Universal Alldh fAll-Lay) as xy

witness that, Taquan Rashie Guilett (settler) did create the final Will and Testament of Taquant

Rashi Gillett on the coitinental land mass of the Crest of Asia / Tétaple of thé Moorrand Sun /

‘Northwest Amiexém, /'‘Northwest Aftica / North ‘America /'The Notth Gate /-Al Meghiib-Al

Aged (Alada) / Al

Mofhtean (Ametican) / Morocco — the: most extreme west;. dn “Meézish:

Calendar Year 1432 ~ Second Day of the Third Month (Gregotian Calendar Year/anie ~ March,
gel]. Let it-be-known that by Will ahd Intent of this Notice; Taquan Rashis Gullet®"8 Estate

. (Gitle oF trust) is
cotirts of Probate

Testate, and because the estate is."Testate, the- estate Will raver cuter the”
(see. oundxed-Amendsd ‘Notice ‘of, Existence-of Final Wil aud.

¥

‘Testament of Taquart Rashie Gulltt - Case 16°2017-CA-2142 Docket Enixy0}y ~

 

SECOND; Let itt lntowm io ali, Hiat ipod the saéred-Momish Calendar Year-1397 — Bigith,

Day of the Tenth M

onth [Gregorian Caletidar Year i977 — Octdher 8] (date of deatlx /-date of

‘aut by his ily edonded Notice that the Ofice of General Executor forthe Pequtn Rachie

'GullehOnS Estate,

Amexem. [Morcco))is hefeby occupied by. Muplik ‘TaénianRabshe-.

Present, Nume

Po

(lex lock tek sitie’ Duval. Conaty Fotida Timutusn A} Andslusia Novthwest-

   

fo Tune, ond Henceforth (ses annexed Notice of Apynintnént of

General Eieéuliy = Case 16-2017-CA-2i43 Docket Entry 14;.sce Notled of Absplute
and Pinal Confirmation of General Executor of Taquan Rashie Gullett Estate - Case

16-2097-CA-3342 Docket Entry 26);

i

THIRD: Let it ba known to all, that a-valid ond verified Cliiny of Right 38 daly registered and -

‘tedorded inte the.

a =

Rolla of the Estata and ‘into the rolls of the‘Registrat (Probate: Courd) /

‘Recor dev Duval County Florida (see annexed Notice of Clair.of Hight « Case 16-20n%
CAt-siqe Docket Entry 15); | atone

FOURTH: Let it be leavin to all, that a valid and veiified Olaini Af Tide is duly vepistered anil
Tetorded into the Rolls ofthe Estate and thio. the xolle of the’ Registrar. (Probate Court)

- Recordét Duval County Florida (See arinexed Notice of Claim of Title -(Case'16-2017-CA-
2142 Docket Entry 16);. —

1E

FIFTH: Let: it-bé-kiidiwn to all; that dedorait ‘taqman Rahshée. Gullett-81,- General:

   

Exeentor, is

Jf-creditor, and. Kim Lee (Watsdnj. Jin Baskets’ Parick

Sheridan; Jorge |L. Pastrana; Larry Browns Arnold. Cotsmelers. Patricia -D..

Barksdale; Paul Shorstein; ‘Samuel ‘Hernandez;. Andrew Cowan; Kim . Cassul6s.

Christina 4. Snyder; Jaqueline Chooljiany ‘Suzanne H. Ségal;, Julian J. Andre:
Eddie Saurégui; Cathy Ostilfer; Tare Nafiai; Moriah Radin; Lilliand Coronadat
Brad. Cooper; Thomas R, Kane; FCI Coleman Meilinm, and all sibsidiacies and agints

thertof, BE Incorporated, and all subsidiaries and agents thetéog US! Marshals Sétvice, _

‘Caveats erleration of Final Defaultdedgmient. eo,
“5 OFF ” BaSI7SO ORS

 
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MWh. Lios1 HAGE. 67y

Case 3:17-cv-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 7 of 191 Pagelb 342

fr

and all subsidiaries and agents thereofi.U.S: Probation aid Pretwial Services, and all:
subsidiaries and agents heleof U.S. Attorney's. Offies;. and all’ sisidiaries: and. agents

thereof U.S. Départnent-of Justice, and all subsidiaries and agents theres Federal’

 

Bureaus et “and sll. subsidiaries and agents thereofy.avé:
“erry am get + : _ Sm eee”
i

SEXTH:: Let it-belkuiown to-all; that declatant 46 entifled'to all of the wélief petitioned for fix,
Povate Civil Action Fourth Judiciel Cirenit Case Nomiber x6-2017-CA-a142, incloding, without
Tiniitstion; ‘Taquan [Rashie Gulleten® Retake riehits, tiles, dad Jnterests; Uhe-parsonal boy of
‘Tequan Rachie Gullei0"® state and alk eotateral free and cleat of aiiy distresses, constraints,
vestraluits, ot detainnients; the sum cerlaiii- for-debtar(s) /' propounder(s) remithince of
compensation of Seven Hundred Bighty-One ($781,090,000.00) Millian One Ounce Silver coins
‘BF -ogo9 Sine silver pnd venititince of damages of Tio Hundred Thirty-¥our (§2g34,300,000.00)
Million “Three Hundred ‘Thousand One Ounce® Silver’ coins of -999-fine. silver, plus dosts
incurred ‘in bringing ‘this action. for debion(s) /. propgunder(s) ,aits. of unlawiul détainment
trespass, and &xeculor de sim tort: me ESS

SEVENTH:: Let itibe Iniovn to all, that dedarant resiirves the right to a fill iuventory, forensic |
tracing, audit, and|scesunting, and declaiant futher reserves the right:to seek 2 deficiensy
ugdinst the debtor(s) / propounder(s). for any’ und all mimus which may remain. due'to the
‘Seclatant and ‘unteinitted ‘after disposition vf the collateral described in “Taquan Rashie
Gulleti6"'© Estate Tite, Rights, and Laterests Documetits:.

1

HIGHEH: Letit be-known to all, that no ardér, action, déclaration; decree, seitlewerit; or any like
“or sunilar conveyance be made in regard to Taquan Rashie Gullit" Esinte without prior ngtice:
to thitusidersigned Ggeral Executor; |

Demy

&. Of this Caveat: Declaration of Final Default Judginint tale di Notice anaiiead and
covert aevardingly.; This Caveat: Declakation of Final Default Judgment fs a complete
end exclusivl findl statenionit of the terms of the dgrbbmdat bietivebn thé patties,

oo

“Respectfully aid In Honor.

Saynatipeclaratiin of Final Desist dudgmest: -
or? . . RESIST OBE:

 
ween: wits. eaGASe@20-40375-KKS Doc1-8 Filed 10/14/20 Page 8 of 192
Case 3:17-cv-00881-TIC-JBT Document i-3 Filed 08/01/17 Page & of 191 PagelD 343

wie de RE

Verification

X Taquan Rekishié Ge Balser venient Diving Tanmiartil Spiitin Live Flesh: and! ‘Blood
N natural Man of majority < onthe Land, In. Propria Persona by. Sui jiwis capacity, Jus Sanghinis, | Helr-
Apparent, Ori gina! Atntachthonods Arnéricant Moot Alten 1 Friend) Republican: Goyemiment Stylé and
« Form, do hérehiy: declat ana ‘affirm by virtue of Divine Law, under pénilties. of perjury under the! laws ot’
Oir Most High, Crisior Divine Source forthe Force Universal Allah (Al-Law), The. Hol: y Koran
Circle -7; The Zed dias, ‘Constitution, ths laws of the'S tate af Florida, arid the
"Laws ofthe United States of América: that T am pompétent ta Staite the imitters set Forth, ni hefein, and
that all ofthe fits sated are tue, correél, completa, cériain, not misleading, admissible as évidencé, in
accordence with ‘déchinint’s best fitsishand kuiw! edge, understanding, ; wid honorable f Intent, and if called
‘pon for thétoric as a witnéss io the vemncity of evidence prefered ond proffered; declarant shit so State
i fStatev ¥, Shearer: 617 So2d Gla. App. 3 Dist. 1993) =

This Affidavit Is dated the Frenty-Sifth Daya of the Fourii Monthy’,
‘in the Year.of Gir Universal Alish (alk Liw)
‘Falirteen Hundred Thirfp-Seyen [Gregorian Caten dar Year 217 April, 33],

 

 

“Paguad Bakshe cattery, Riso salled Maaliicushshe EL; Divide Iomorial Spititin tive Heck and Blood
dug Singuinis, Nateri Ban ofninfority dn the land, In Froprin Persann by Soi Juris: mipacity, Beir Apparent’
Originnl Autochihonsis Americ Boos Altin (Friend) Government Siylemd Fern,
oo G7az Arlington Expretsivay,, Suite 67215, Jacksonville Florida stare
‘Simucsan Al Angatusio | Northwest Amexerd iMorseco}.

 

 

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Filing BSS dep Bila adie ade apr lee 08/01/17 Page 9 of 191 PageiD 344

  

 

 

 

 

 

 

IN THE CIRCUIT COURT, FOURTH JUDICIAL CIRCUIT,
IN AND FOR DUVAL COUNTY, FLORIDA

 

Taquan Rakshe Gallett-El, AFFIDAVIT OF FACT
petitioner,
We Hegistered Sis # RE 917 549 1.46 US

Kitn Lee Watson, 8 private person,

Jim Heskett, ¢. private person, ;
Patrick Sheridan, 2 private-person, ‘Case Number: 16-2017CA-2142
Jorge L. Pastrana, «private person,.

Larry Browg, a private person, _ .

Arnold B. Corsmeier, 2 private person, Division: CV-B

Patricia D. Barksdale; a private person,

‘Paul Shorstein, a private persen,

Sam Hernandez, a private person,

Andresy Cowan, private person,

Kim -Cassuls, a private persoti,

Christina A. Snyder, 2 jirivate person,
Jaqueline Chooljiin, «private person,
‘Suzanne H. Segal, a private person,

‘Wiliao L, Andre, a private person,

Eddie Jaurerui, 3 private person,

Cathy Ostiller, a private person,

‘Terri Nafisi, a pfivate person,

Moriah Radin, a private persen,

Liliana Cordiado; a private pérsen,

Brad Cooper, a private person,

Thomas RQ. Kane, 2 peivate person,

PCY Coleman Medium, a privately Held company, and'all subsidiaries and agents thereof,
‘Bl incorporated, a privately held company, and ail subsidiaries and agents thereof, .

U.S. Marshals Servicé, a privately hetd company, and all subsidiaries and agents thereof,

U.S: Probation and Pretrial Services, a privately held company, and all subsidiari es and agents théreaf,
U.S. Attorney's Office, 3 privately held company, and all subsidiaries and agents thercof,

U.S. Department of Justice; a privately held company, and all subsidioriesand agents thereof,
Federal Bureau of Prisons, 2 privately held company, and all subsidiaries and agenis thereof,

: / . ' Fespondent(s).

i

Letter Rogatorv: Indemnity Bond & Hold Harmless Writ of Assistance.

Letter Ragston: indemnity Bond & Hold Harmless Writ af Assistance
Lofril TSS hs

 

 
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Case 3:1?-cv-00881-TIC-3JBT Documenti-3 Filed 08/01/17 Pace 10 of 191 PagelD 345
Letter Rogatory

: indemnity Bond & Hold Harmless Writ of Assistance

   

%. TO ALL SHERIFES, CHIEFS, AND CONSTITUTIONALLY DELEGATED AUTHORITIES OF
RECORD TARE NOTICE that On the Record and for ihe Record, present is Taquan Rahshe
Gallett-Ei, also called Maalik Rahshe Bl, Divine Immortal Spitirin Live Flesh and Blood Natural Man of
majority on the Land, In Propris Persona by Sui Juris capacity, Jus Sanguinis, Heir Apparent by
‘Freehold of Inheritance, Original Autochthoudbs Aniericin Moor Alien. (Friend) Republican.
Goveniniént Style-and Form, a people of Our state and of sound firm mind;
Competent by Condtict and Virtne for Moral Integrity and Upright Character, Honor, Fidelity,
Respect, Courage, Temperance, Faith, Hope, Wisdom, Will, Love, Truth, Peace, Freedom, dristice,
Prudence, Himnility, and Servite, guided only by:Our Most High Creator Divine Souree forthe Force
Universal Allah (alleLaw) whom sustains all protection andl provision for Life, Liberty, and Property:

‘2, One, the Original Autochthonous American Moor Alien (Friend) Republican Government Style
Cirele 7, The Zodiac Constitution (Registration No. AA@22141 Truth Ai-
Class Aj, The Holy Qur'an, The American Déclatation of ‘Independence,
(2776);. The. Treaty of Peace and Friendship (1787), The Madridl.Convention on Protection iii
Moarocce (July 3, 1880), The Universal Declaration on. Human Rights (948),. Tlie Amegican
Dedlaration of the Rights and Diities of Man (1648), The United Nations Déelaration of
the Rights of the Child (1959), The Universal Declaration on the Righis of Indigenous
Peoples (2006), The International. Proclamation for tlie ‘Original Autochthonons. American Moor
Alien (Friend) Republic Government Style:and Form (so16), and The International
Resolution For Conipeténcé BY Conduct and Virtue — Affidavit of Bona.

Fide Moral Integrity and Upright Character Lawful Status (4076).

Latter Rogatary: indamslty Sond 2 Hold Harmless Wiital Agustance
Zor LEH yar his

 
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Case 3:17-cv-00881-TJIC-JBT Decument1-3 Filed 08/01/17 Page 11 of 191 PagelD 346

3. The. declarant is General Executor of TAQUAN. RASHIE GULLETTO"®. Authenticated
Birth Certificate, Registered Copyright, Registered Trademark (united: states-for America Post
Office No. RE2q§sq0423US), Copyright: / Trade-Name / Trademark. Contiact; Registered
Fictitious Namie (Florida Department of State No. G15000038576), Registéred Suraty Bond with
‘Collateral (EL, 156253975 US), Fiduciary Appoiitment.Contiact (EE 156253975 US), Teguian
Rashie Gulleu©"'® Estate Alodial Cost Schedule, Paramioutit Security Intérest Holder (Maritime
Lien ‘No. RE246590573US Putiam County Florida Inst. No:.201054724241, Caltiomila UCC 10-
7228787860, California UCC 10-72536106g%, California UCC 23-7975042214, California CG
33-73760423, California. UCC. iq-74i5gi771v, Kentucky UCC 2014-2695084-41:01) over
TAQUAN RASHIE GULLETT®"® Estate,

Indemnity Bond & Hold Harmless Writ of Assistance

4. The dedanintdoes hereby reserve al] Natural rights, all Human rights;

and does hereby give Notice by Letter Rogatory: Indemnity Bond &

eonstitntionally delegated Authorities

 

 

insured, underwritten. and indemnified to £ tinediatel
Sbeedilv,. and ¢xpeditiousl¥ provide assistance of naxtm em:

 

iv.to declarant:

 

in the enforcement of the judgment of this ‘Private Civil Action Fourth
Fadicial Circtit Case Number 16-2019-CA-214> for the protection. and preservation of
‘(Alien Friend) Taquan Rashie Gullett©"® Estate lex loci ret site. Timuciian Al Andalusia
Northivest Amexem [Moroceo] (see Case Number 16-2017-CA-2t42 Docket Entry. 11,-
‘Declarant’s [Filed, Accepted, & Approved] Replevin Bond BE 917 $49 2406 US page 4,
bages 9-29, pages 29-40, pages 49-50). [see Case Number 16-2017-CA-2142- Notice of
Default aud Estoppel (Docket Entry $5)1.

Letter Ragatory: intemnnity Bond % Hold Harmless Writ of Assistance.
‘BaF2y SHUT AEA Y

 
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5. This Writ of Assistance is for (Alien Friend's) declirant’s eiiforcément of judgment against
for respoudent(sY [remitter(s}'I Temittance of compensation sum gertain inthe amount of Se wen

Bich # ($781.000,000,00) Millio

     

‘Silver,: plus costs incurred in bringing this action, This Writ of Assistance is also for the
protdction and presérvation of (Alien Friend) Taquan Rashie Gulleti@-S state. lex
loci réi site Titiucuan Al Andalusia Northwest Amexem (Morocco). from
respondent(s}’ acts of ‘Tyespass, Executor De Son. Tort, Unlawful Reversion. of
Estate and Hereditaments; and Uvlawfal Escheatment of Estate and
Hereditaments in violation of Private International Law and International
Treaties:
6. The declarant reserves the right to seek a deficiency against the respondeht(s} for any and all
‘gnnis which may remain due to the declarant aind unremitted after disposition of the collateral
deseribed in Taquan Rashie Gullét©”® Estate Title; Rights, and Interests Documents.
y. All Sherifis, Chiefs, constitutionally delegated authorities, and. officers of the
antformed services’ of the. United States have a duty to ‘support and defend the
Constitution of the United Smies, and all treaties before and after, against all enemies,
foreign and. domestic, as set forth in the United States Uniformed Services Oath of Office,
(U.S, Code § 3391 -Oathi of office], which each officer takes upon commissioning:
“I, AB, do solemnly. swear (of affirm) that I will support and. défend the
Constitution of the United States-against all enemies, foreign and domestic; that I
will bedr true faith and-allegiance to the same; that I take this obligation freely,
without any mental reservation or-purpose of evasion; and that I will well and
‘failbiully discharge the duties of the office on which I am about ‘io enter: So help.

letter Hogatery: Indemnity Baad & Held Harmiaes Welt of Assistance
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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 13 of 192

Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 13 of 191 PagelD 348

‘8. Whoever, having knowledge of the actual commission of-a felony cognizable by 2
‘Colt Of the United States, conceals and does riot. as sdon as possible make. known the
‘same to some judge or ether person in civil of military auithority-under the United States,

shall be fined under this title or imprisoned not more than three yéars, ar both.

Misprision of felony [48 U.S. Code § 4]

The offense of concéaling « felony. conimitted by another, but withoutsuch previous concert

with or subsequent assistance to the felon as would make the party concealing dn accessoiy

before of aftér the fact, .4 Steph. Comm. 260; 4B]. Comm. 193; Corpenier2: State, 62:-Ark.
286, 368.W; 900. Black's Law Dictionary 2°4 Edition

Misprision of Treason [18:U.S; Code’§.2382] .

The bare knowledge and concealment of an act of treason or reasonable plot, that is without
any assent of: participation therein, for if the latter elements be present the party becomes a
Brincipal. 4 BL Conim. 120; Pen. Code Cal. 38.

Black's Laib Dictionary 2° Edition

9.. This. Writ of Assistance is in fall accord with the. following International Treaties. and
International Law:

* The. Treaty 6f Peace and Friendship (787)

* The Madrid Convention on Protection in Moroceo (uly 3, 1880} - designates the
Status of Moroccan subjects, Moors and Our families, as. Internationally Protected,
Persons: ) :

o Codified at [Tithe 18 U.S.C§i1J- Foréign government
defined; [Title 18 UvS.C§1i2] - Protection of foreizn:
officials, official guests, and internationally protected
persons; [Tithe 18 U.S.C§878] ~ Threats and extertien
against foreign officials, official guests; or internationally
protected persons; [Title 18 U.5.0§1216] - Murder or
manslaughter of fexeigi officials, official guests, or:
internationally. protected persons; [Titlé 18 U.S.081202] —
Kidnapping; [Title 18 U.S.css77] — Mailing. threatening,
communications from foréign country:

¢ The Universal Declaration on Human Rights (1948)
¢ ‘The American Declaration of the Rights and Duties of Mah (1948)

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Sofia FETED SEF 28H

 
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 14 of 192

Case 3:17-cv-00881-TIC-JBT Decument1-3 Filed O8/O1/17 Page 14 of 191 PageiD 349

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The United Nations Déelaration of the Rights of the Child

(1959)

‘The Universal Declaration on the Rights of Indigenous Peoples (2006)

The Interriational Proclamation for the Original Autochthonous American
Moor Alien’ Republican Government Style and Form (2016)

The International Resolution For Competence By Conduct
and Virtue — Affidavit. of Bona Vide Moral Integrity and
Upright'Character Lawful Status (2036)

Florida Stand Your Ground Law codified at [Florida
Statutes Chanter 796 §§ 776.012 — 776.09]

[Executive Order i29773] — Enforcing Law With Respeet to.
Transnational Criminal Organizations, Federal Register
Vélume 82, Number 29, Yhursday, February. §, 2017
{published Fuesday, February i4, 2017), pages 10691 -
20693

Respectfully and In Honor:

Leber Rogatory: Indemnity Sand & Hold Harmiess Writ of Asiistance
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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 15 of 192

Case 3:17-cv-00881-TJIC-JBT Document 1-3 Filed 08/01/17 Page 15 of 191 Pageif 350

Admiral James Alekander Winnefeld, Jr.
Vice Chairman.

Joint Chiefs of Staif

9999 Joint Staff. Pentagon

‘Washington, | pe 20318-9999

General Fratik J. Grass.

‘Chief, National Guard: Bureaw

2636 Defense. Péntagon. Saite1E 166,
Washington, DC 20201-0001

General Raymond’ Thomas Odierno
Army Chief af Staff

200. Army Pentagon

Washington, DC 20310-9260

Provost Marshal General MarkS! Inch
Office of the Provost Marshal General:
Attention: CTR Office

2800 Army Pentagon

Washington, District OF ‘Columbia.
20310-2800" ,

Jeff Sessions, U.S, Attomey General:
959 Pennsylvania Aveniie, NW
Washington, District of Columbia
20590-0001

Melissa Nelson, State Aitoriey
Fourth Jedicial Circuit

:312 West Monrée Streat
Jacksonville, Florida go202-4oqn

Florida Department of Law Eaforcement
Jacksonville Regional Operations Center
Northeast Florida investigations &
Domestic Secutity Task Force

921 North Davis Street, Building E
Jdcksdénvilla, Florida 32209-6804

‘Mike Williams, Duval County Sheriff
501 East Bay Street
Jacksonville, Florida: ‘32202-2075,

General Joseph Francis Dunford, Jr,
‘Coinmandant of the Marine ‘Corps
Headquarters, US Marine Carps
4000 Marine Corps

Pentagon Washington, DC. 208580

Admiral Jonsthan Wiliam Greerert.

2000: Navy Pentagon
Washington; DC 2 20350-2000

General Mark Anthony Welsh it
Ajit Force Chief of Staff

1670 Air Force Pentagon
Washington, EXC 20990-1676

General Ji oseph Francis. Bamford, Jr.
Chairman Jéint Chiefs of Staif

9999 Joint Staff Pentiigen
“Washington; District of Columbia

20318-9009.

Inter-American Comtission on Human Rights.
Organization of American States

1889 F. Street; NW

Washington, District of Columbia 203i8- 9999

Rick Swearingen, FDLE Comifiissioner
Florida Department of Law Enforcement:
2331-Phillips Road

Talisthassee, Florida: g2go8

Florida Department of Law Enforcement
Stitewide Office of Investigations &
Domestic Sectirity Task Force:

.2331 Phillips Road.

Tallahassee, Florida 92368)

W. Stephen Miildrow, U.S. Attorney
400-North Tampa Street, Suite 2200
Tampa Florida 33602

Letter Rogatory: indemnity Bond & Hold Hartntoss Writ of Assistance

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 16 of 192

Case 3:17-cv-00881-TIC-JBT Document 1-3

United States Department of State

U.S. Central Authority for Hague and
Tater-Amétican Service Conventions
Office of Intérdational Jidicial Assistance
1100 LL Street, NW, Room 11006.
Washington; District of Columbia
20522-1710

Office of the Staff J udge Advocate
RESO MIDLANT HG

United States N avy

9620 Maryland Avenue, Suite 201
Nortolit; ; Virginia 29511-2939

Office of the Staff Judge Advocate
RLSO. MIDWEST HO

United States Navy-

Building 2

2540:Paul Jonés Street, Suite 300
Great Lakes, Tinsis 60088-2536

G. E, Lattin

Director, General Litigation Division
Department of the Navy

Office of the Judge Advocate General
1922 Patterson Ave, SE, Suite 2000
Washington Navy Yard, De 20374

Office of the Sinff Judge Advocate
Marine Corps Installations East
Marine Corps Base Camp Lejeine-
$12 Holeomb Boulevard.
acksorvillé, North Caroling 28540.

‘Office of the Staff Ji idge Ady: ocate

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ATTM: APZA-3A:

2195 Reilly Road, Stop A

Fort Bragg, North Carolina 28310 S008

‘Office of the Stalf Jndge Advotate.
United States Army
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419 B Sireét
Fort Gordon, Georgia 30905,

Filed O8/O1/17 Page 16 of 191 PagelD 351

R..Adin. Sandra L, Stosz; Superintendent:
United States Coast Guard Academy

31 Mohegan Avenue

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Office of the Staff, Judge Advacate
RISOSOUTHWEST HO —
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3999 Sturtevant Street, Suite 9,
San Diego, California 92136:

‘Office of the Statf Judze Advocate:
RESO NORTHWEST. HO

‘United States Novy

Biiildin 12 433 Code ig68

365 South Barclay Street
Bremerton, Washington 98314

1d. Cdr. Breier Scheetz.

Judge Advocate General

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‘NAS JRB Belle Chasse.

New Orleans, Louisiana: 70142-6100

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Building. #56

‘3405 Sturtevant Strest, Suite =

San Diego, California 92136-5198

Office of the Staff Judge Advocate
United’ States Amy

Trainiig Center and Fort Jackson
2600 Les Road.

Fort Jackson, South Carolina 29207

Office of the Staff Judge Advocate
United States Army

Combined Aris Center

615 McClellan Avenue:

Fort Leavenwortit, Kansas 66027

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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 17 of 191 PagelD 352

CoL§.Shibert

Judge Advocate General

United States Army

‘8090 Alabama Aveiine, Bldg. 1454
Fort Polk, Louisiana 7459

Office ofthe Staff Judge Advocate
United Stutes Army South

HG 10k Airborne Division (Air Assault}.

ATTN: APZBJA-ADM
Fort Can pbeil, , Kentucky 42223-5208.

Office of the Staff Judge Adyorate
ddint Base Lewis-MéChord
Building 2007 A-Wing

North Suand Lisselt Avenue
JBLM, Wasbington'98492

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-Qén Test Wing

Builldinz 2, Suite 1

401 West: Vail Mate Avene
Eglin AFB, Florida 82542-4398:

Et Gen. Robert L Casien
Superintendent

United States ‘Military Academy
‘West Point, New Yorkio SoG

Office. of the Staff Judge Advocate
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4140 Stanley Road, Stiite 604.
FortSam Houston, Texas 78234

Office of the Staff Judge Advocate
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7021 Ingersoll Avenue:

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Office of the Staff Fudge Advocate
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Joint Base McGuire-Dix- Lakehurst
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JB MDL, New Jersey o864i

Vw Adri. Walter E. Carter, Jr,
Superintendent

United States Maval Academy
121 Blake Road

Annapolis, Maryland 21402

Lt. Gen. Michelle D. Johnson
Superintendent

United States .Air-Force Academy
2904-Cadét Ditve, Suite 300
DSAFA, Colorada 80849

‘Letter Rogitory: Indemnity Bond & Hold Harmtoes weit of Assistance

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CERTIFICATE OF SERVICE (PROOF OF SERVICE)

i Taquank Rahbshe Gulictt-ELebo eoted Mati Rashes DL Divine brome Seri Live: Flesh ‘and ¥ Blood

Natural Rian ofsusjorily on the Land, In Propria Persons by Si Juris capéerty, < Jas Sanguinis,
Hee Apparent by Frecheld of inheritance, Original Autechthoneus Ameriesn Moor Alicn
(Friend) Repoblican Government Sle and Form: heteby.cértify under penalty of bearing £ dalsé witness that
on or abont this Twenty-First Day of the Fourth Month in the Year of Our Universal Allah. {Alb-Tai), Fourteen:
Hundred Thirty-Sevén {Gregorian Calendar Year 2017 — April 21], F caused to be band -delivered and/or emailed.
and/or placed inthe U.S! Registered or Certified Mail’ (First Class postage,- pre-paid), and/or. placed in Fed Ex
and/or TPS delivery {First Class pastige, pre-paid) one (0) original and/or.one (1) copy ofthe following:

i.. Leiter Rogatory: Indemnity Bond & Hold Harmless Writof Assistance (1 pages)
#: Reference copy of this Certificate of Service (PROOF OF SERVICE) (signed original on Ale) (page).
All partiés required to be served have been served at the following mailing location:

Kim Lee Watson, 300 North Hogun Strect, Suite 2-200, Jacksonville, Floride 32282

Jim Baskett, 300 North Hogan Street. Soite 2-200, Jarkeoavillé, Florida 32202

Patrick $ héridan, 300 North. Hogan Strect, Suite 2-200, focksony ie, Elorids 32202

Jorge L. Pastrana; [846 NESS Terrace; Coleman, Florida 33821

Larry Birawa,2 Hh North {Hogan Strezé Suite2-450, Inckranyilic, Florida 32302

Aradid Corsineter, 200 Nerth Hogan Street, Sulte 700, 7 acksdaville, Florids 32202.

Patricle D, Borkadale, 368 | North Hogan Strect, Chambers S323; Courtroom SB, Jackaoadilte, Florida S2202
Paul Shorsiels; #5505; Augustine Road #303; Sacksonviliz, Slavida 32217.

Sam Hernandez, 312 North Spring Street, Racin 754, Las Avigeles California 90012

Andrew Cowan, 315 west 3° Street, Suite 301, Los Angeles, Colifornia 90015

Kinz Cassulo, 09.178. Courtheuse, a2 North Spring Street, Los Anzéles, CA MDA
Christians A. Sayder, 350 West First. Street, Con eirsom BD, a Floor, Las ; Artpeles, California S00i2
duequetise: Chooljian, 312 North Spring § treet, Couriroam 26,3" Flasr, Los Angetes, Californis 90034
Sezmaane Segal, 355 Enst Temple Street, Courtroom 590: 5” Floor, Las Angeles, Calif ifornig 90032:
Julian kan ADEE Bb North, Spring Street; Saltz 1260, Lis Angeles, California 90012

Eddie Js oregui, 31z Nariks Spring Street, Suite 1200; Los Angeles, Cuff ornte a0Gt2

Ceihy Ostilter, 312 Nath Sprise Stree, Suite 1200, Les Angeles; California 20012-

Terri Nafist, 32 North Spring Sirect, Reom GE Les Angeles, Californis 9ociz

mm ohh Radia, a2 eer  Bivert,, Las Angties, California 29072

Liliana Cornaado, 321 East 2" Steset, Los Angeles, California JOUL2

Bend Cooper, $365 Guobarrel Avenné, Suite B, Besides, Colorada BOSS

“Thomas Kane, 33 i] First Street, Washlegion, DC. 20534

rca Cotersa Medium, $46 NE ‘sg ‘Tercace, Sumtervitte, Sumter County, Flocida 33521

BI Incorporated, 6268, Gandarrel Avenue, Suite 8, Boulder, Hopider County, Cato rado 830 1

 

 

BEE. Probation and Bretria! Services; 306 North Hogan Street; Suite 2-200; ‘and Suite 6350, Jacksonville Dural County, Florida 32202
us. Departmeat af, Sastice, 300 North Hogan Sireet, Suite 700, Jacksonville, Daysi County, Florida 33202
iS, Adtomicy’s Oiice; 400 North Hogan Stecet, Suite 700: Yactsouitc Duval County, Floris ae202

    
   

Jas Sangeinis; Nanural Man of majeritvon the Land; In Propria Persona by Sut Juris capacity, Heit App
- Original Antechthonous American Moor Alien Government Style and Form
Sfy Gyax Arlington Expressway, Suite Gy21g, Jacksonville Tiorida state
Timiucoun Al Andalusia Morthwest Amaxen | (Morosea)

Letter Rogatary: Indemnity Bond & Hold Harmless Writ of Assistance.
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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 19 of 192

Case 3:1/-cv-008681-TJIC-JBT Documenti-3 Filed Q8/01/17 Page 19 of 191 PagelD 354
Verification
1, Taquai Rahshe Gullett-ELatsd called Maalik Rahshe El, Divine Inimortal SpiitinLive‘Ftesh and Blesd
Natural Man of | majority on the Land, Ta Propoa Persona by Sui Juris capacity, Jus Sanguiais, Heir
Apparent; Original Autochthonous American Moor Alien (Friend) Republican Government Style and:
Foun, do hereby declare and affiraa by vittue of Divine Law, under penalties of perjury under the lasis of
‘Our Most High Creator Divine Source for the Force Universal Allah (All-Law}, The Holy. Koran.
Circle 7, The Zodiac Constitution, the 1 aws of the State of Florida, and the
Jaws of the United States of America; that 1 am competent to state the matters set forth, and herein, and
that al] of the facts stated are true, cornéct; complete, certain, not misteading, admissible as evidence, it
‘accordance with declarant’s best first-hand knowledge, understanding, arid honorable intent, and if called
upon for rhetoric as a witiess to the veracity of evidence preferred and proffered, declarant stiall so state.
[State ¥: Shearer, 617. S024 Gls. App, > Dist. 1993)]
“This Asfidavit is dated the Twenty-Fourth: ‘Day of the Fourth. Month

in the: Year of Our Universal Alish (Al-Law)
Fourteen: ‘Handred Thirty-Seven [Gregorian Calendar Year 2017 — April, 24]

in Honor,

  

Taguan Rabsbe Gullctt-Ef, alse milled Mashik Rahshe £1, Divine Ieumortal Spirit in Live Flesh and Blood
Jus Sanguints, Natural ian of majority os the Land, In Propria Persona By Sul Juris capacity, Heir Apparent
Original Autochibanous Ameria Stoor Alien (Friend) Goverament Style and Porm
te 722 Avliizton Expressway, Suite 67213, Jacksonville Florida state
Tamocuan Al Andalusis Northwest Amexem {Morocco}

    

 
  

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Case 3:17-cv-00881-TJC-JBT Document1-3 Filed 08/01/17 Page 20 of 191 PagelD 355

 

 

AUTHORITIES OP-RECORD TAKE NOTICE that On the Redotdl and for the Record, present is
Taquan Rahshe Gullett-H], also called Manlike Pulighe El, Diving Invihortsl Spit in Live Plesti and Blood’

‘Natural: Maa of majority-on thé Land, In Propria Persona by Sui Juris capacity, Jus Sanguinis,
Heir Apparent by Freshold of Inheritance; Original Autochthondus Amétican. Mae. Alien
(Fviend) Republican Universél. Governmelit Forni and Testamuntaiy Style [AAMARUE?S], a:
people of Our’state and 6f sound firm mind; Competent by Conduct and Virtue
for Moral Titeptlty aad Upright ‘Character, Honor, ‘Fiddlity, Respect, Coutage, ‘Temperance,
Faith; Hope, Wisdom; Wil Love, Truth, -Peate; Freedom, Justice, Prideies, Huniility, and
Service; guided only by Our Most High: Cteator Divine Sours for the Forée Universal Allsh (AI -
Law) whom suétains dll protection and provision far Lif, Liberty, Proverty, Family, Natural
Environment, and Cultutal Heritage..

2. One, the Original: Autéchtlionus Anieriedn Moor Alien (friend) Republican Universal
Govermmient Form and Testamentary Siyle [AANARUE*S], hereinafter, “declarant” rises and
gives. ‘hoiior and: redoghition to The Holy Koran Ciréle 7, The Zodiac
Constitiition (Registration No. AAga2141 Tritth Ai-Class ajand all

Eroquois. Constitution, The American Declatatioh of Indepenilence

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8ofig BSS HOUS
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 21 of 192
OR. BK 18009 PAGE 98a.

Case 3:17-cv-00881-TJC-JBT Documenti1-3 Filed 08/01/17 Page 21 of 191 PagelD 356

(1776); The: Tredty of Peiée arid Feiendship (1787), The Madrid Convention on Protection ia
‘Moxeseo Waly, 1880), Articles of united states for Ameriod Organic Constitution (1787), Bill of
Rights 6f united stated for-Ametiod Ongatiie Coustinition (1787), The Usitversal Declaration on
"Human Rights, (i948),. The Ameriosi. Dedlatation of the Rights-and Duties of ‘Mian (i648).
inclusive without linttation all arinaxés thereto; Thie United Nations Declaration of
the Rights of the Child’ (2959); The Univers! Dedaration on: the. Rights of
‘Indigenous. Peoples (2006), ‘The International: Proclamation for the: Original Autochthonous:
American Moot Alien Priend) Republicat: Universal Government Form and Testamentary Style.
[AAMARUIO“©](2016), The intertational Resolution Bor Competence By
Conduct iand. Virtue = Affidavit: of Bond Fide Moral Integrity and
Uptight Character. Lawful Status. (2016), United Nations. Géacral
Assembly. Declaration -on the. Granting. of Independence to: ‘Colonial
Countries (Cotnteés) and Péoples 1§14 (ZV) 947t# Plenary Meeting
Gq December. 1960), the Hague Conventions and the Geneva
Convértians inclusive without limitation of all annexes thereta: .
‘3. The Medinet 5 Gama x Executor -/ / Caveator-Gretor by ‘esimemtny see beet
oir 549 24 Us] (Registrar (Probate Com) ‘Recorder Dos # ait7ing6s8; OR BK
i707, Pages: 674-680), TAQUAN RASHIR GULLETTO" Estate. Authenticated Birth
Certificate, Registered Copyright, Registered Trademark (united statés for Aniética Post Office:
No. REaisabedagHe Copyright. / Trade-Neme Trademark Contract, ‘Registered Fictitious
istered Surety Bond with Collateral

 

EL. ssfasao7s US), Fiduriary Appotiiment sonnei 156253975 US), Taquan Rashie «
Guillet*S: Hétate Allodial Cost! Schedule 16-20i7-CA-o1g2 (RB 47 549 240 US] (Registrar
Probate Court) Recorder Dee: 8017082163, OR BK 17940, Page 1663),

' Nalite of Appeal an
‘Jofig REST Si3 60 GS
oR-BE re0c9. pxe8SERN-40375-KKS Doc1-8 Filed 10/14/20 Page 22 of 192
Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed O8/O01/17 Page 22 of 191 PagelD 357

Paramount ‘Security Interest. Holder. (Matitime. Lien No, RE&46590573US: Putnant County
Florida Inst. No. 201054714243, California UCO 40-7228787860, California UCC: 10-
_yesabioigi, California UCC 23-7375042214, California UCC 33+73750423, California UCC ig-
y4iggiy7io,; ‘Ranbishy UOC: 2014-2695084-42.01),; aver. all alphabetical and/or numerical
derivations and/or variations of TAQUAN RASHIE GULLETTE"S Estate Letters Patent, Sign
‘Mannels, Rights, ‘Tiles, and Interests inchisive without limitation of all annexes thereto:

Indeniniity Bond & Hold Harmless Writ of Assistance

4: The dedarmtdoes hereby reserve all Natiiral rights, all ‘Human rights,

and in accord with the International, (frarisnational) Law of Peace: and the. International
(Tyansnational) Law of War, does hereby give Notice of Natural Rights and Hiiman:
Rights. Infringements’ pf International Law of Péaca- and Law ‘of War: Constituting: Grove
- Breaches of the Fundathenial Guarantees of the Hague:Conventions and Genauti. Conventions .
and all’annexes thereto by this. Letter Rogatory: fndemuity. Bond & Hold,
Harailess. Writ, of Assistance. Al Sheriffs, Chiefs, Consitls,
and constitutionally delegated Authorities are ful

    

declarant in: “the enforcement: of thie judgment. of this, Private civil
Action ‘Fourth Judicial Circuit’ Case Noriber 16-2017-CA- BAD for. the pioteitinn
‘and preservation of (Alien. Prienil) Taquan Rashie Guilee*s Estate lex loci rei site
Titiucuan Al-Andaliisia Novthiw ést Athexerm: [Morocco] see Case Nomber 16-2017-
Can aige Docket Entry 12, Declaranr’s [Biled, Agceptedy Sc-Approvedj Replevin Bond
BS O17 549° 149 US. page 2). pages. 9-29, “Pag_SS 35-40, Pages. A9-50)5; fsee: Case .
Nuniber 16-2017-Ca-2142 + Notice of Default. and. Estoppel. (Dotket Rntey 33); see.
Notice of Appeal’ Dec.# 2027095681, OR. BK 47958, PRgES. 2466-14705 see Appéak
aDe7-1699.— ~ Notice of Defaolt and Estoppéll;, [sed 1 DCA Appeal. iD17-1699; ba DCA
‘Appeal ibsy-2851;: avid ait axiexes thereto: {see Cavents. Declaration of Binal: Default
Judgment 16-2017-CP-1025 {RBo17 549140 US] (Registrar. (Probate Court} Recorder
Does 2097104658, OR BK 27971, Pages 674-680). |

Notice of Appeal a .
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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 23 of 192
OR BE 18699 PAGE 19¢

Case 3:17-cv-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 23 of 191 PageiD 358

te Lino of Pode; Ve i," éailpiictns, Dopaitsh af thd Act, “September 1979 pages-3)
277 fhercinafter cited as Law ofPeace’y

s Eeof War Manual _-DepatmoikétRefinse DirstivedgiosD, DAD Law of War Program 5.2.4 (2006)
(hereinafter cited as “Em of war]

g. This Writ of Assistance is for (Alien Friend’s). dedlarani’s enforcement of judgment against

for respondents) [remitter(e)}3 ‘periiitance of somnpanisntion aun cartalt in the amount of Seven

 

gilved, plus eosts:ineumed in bringing this action, This Writ of Assistance ie dso for the.
protection and preservation of (Alien Friend) Taquan Rashie Guilet®"S Estate lex
oat relsinemollys Garden Comnter, Pisnicodn Al Andalusia, Novtinwest Amexem
Executé® De Son “Fait, Uiliviad Reversion of Estite and | Hereditaments, and
‘Usillawfol Escheatment of Estate: and Hereditaments in vidlation. of Private
International Law, Law of Peace, Law of War, and international Treaties,

6. The declarant reserves the tight to seeka deficiency against the respondent(s) for any and all
sums which may,remain due to, the declarant and unremitted after disposition of the colliteral
described in Taquait Rachie GuilekO"@ Estate Tie, Rights, sind Interests Documents.

‘qo All Sheviffs, Chiefs;-Consuls, constitutionally delegated Authérities; mid Officeis of the

uniformed services Of the United States have a duly to support and defénid thé Constitution of

the United States, aid all treaties before and after; agdiust oll eneniies, forcign and'doniéstic, as

set forth'in the United States'Uniforiied Services Oath of Office [U.S..Code $3931 + Oath. of
' offical, which éach Gfficer takes trpon commissioning:

‘ Notte ot Appeal Lol
Sof39 HB DITSE? OES.
OR BK. 28009. paasSgg30-40375-KKS Doc 1-8 Filed 10/14/20 Page 24 of 192
Case 3:17-cv-00881-TJC-JBT Document1-3 Filed 08/01/17 Page 24 of 191 PagelD 359

 

‘Date Sat that take this 6 obligation freely, ‘withoit any. imental reservation dr purpose lanes
evasion: and that Iwill well and faithfully discharge the duties of the Sffice on WhichT am. abot
to entér, (So helpmd God)”

&.. Whoever, having knowledge of the actial commission of a felony cognizable by a court of the:
Ufiited States, condedls and doés notas soon a8 possible make known the same to some judge or
other person in oivil ot military, anthoiity iisdéx thé United States, shill be fined under this title. .
or imprisohed tidt biote than thnée vents, or bath

 

“The affense of conéesling a felony committed byansther, but without such previous concert
with or -subsequent, assistance to fhe felon 28 watlld make ‘the party concealing an accessory:
before or after the facti.4 Steph, Comin. 2603.4 BM. Comin.i2t; Carpenter v, ‘State; 62 Ark.
286,36 S.W-900: Black's Law Dictionary 2°? Edition —

 

The bare Inowledge and concazlment of a6 act of treason of treasonahls plot, that is without

a assentor participation therein, forif the latter clembits be present the party becomes a
iitipal: 4 BL Comm.120: Pen: Code Cab. § 38.

Black's Loans Dicilondry 2 nd PaBon.

Agtion for neglect to prevent codified at 42: U.S Codi
Elements
‘Every. person whe, Haviig knowledge: that ary’ ‘af thes WEODES ‘conspired tobe done; and
anentioned ‘in seatian 1985’ of this title, are: ‘aghout-tobe committed, and having. power to
prevent ar nid in preventing ha coininission of the Sarae, neglects or refises so to do, if sud
Wronigfhl act be committed, shal] be liable to the party injured; or his legal raptéséhtatives, for
all dainages caused by- suck wrongful act, which such person by yéasonable. difigince contd
‘have. ‘prevented; and such.damages may be. recovered 2 in en atta on: the-¢ ease; and any
soumber of persons guilty of such wrong: ‘neigient orxefusal snay be joined : as defendants t in
‘the action; and if the death Of any. party be ¢ caused bya any: suck wronpfal actand neglect, the

  

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exceeding $5,000 damages therein, for the benefit of the wwidlove af the deceased, if there be
ODE; 3 and if there be noe widow, then for the benefit of the next df kin of the deceased: Batuo.
aétion under the provisions af: this section shall he sustained which is not comnienced within.
one yaar é after the ¢ cause ‘ofaction hay acoxtied:. (RS. g 1981}

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Apofis RBI
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 25 of 192

OR BE 18009. PAGE. 992.
Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 25 of 191 PagelD 360

9. “This Writ af Ansistandé:is in full’ accard. with thie following Tatériational Treaties aid

Intemational Law:

‘The Treaty of Peace arid Friendship (2987).

The Madrid Convention on Protection in Moroces (uly.3; 1880} - designates the
status. of ‘Moroccan - subjects, Moora and ‘ur fainilies, as ihiternationally . Protected:
Persains:.

9. Codified ‘at [Title. ak: U.8:C§11)- Foreign. -goverument defined;
[Title a8.U.S.C8122]. - Protection of foreign officials; official
guests, and internationally protested persons; [Title 19.
i. ~08878] - -_ ‘Threats ang. éxtortion against foreign. afficials,
officiak Bussis, or intérnationally protected persons; [Title 12
20.8.0§2126] — Murder or magslaughkter of foreign officinls,

official. guests, or. internationally protected! persons; EFitie 18.
U.S.C§1203], — Kidnapping: [Title 18 U.8.C88771 — Mailing
thieateniag rommunitations From. foreign. country:

The Universal Declaration on Human Rights (2948).

. The American. Declaration ofthe Rights and Duties of. Man sag}

The United Nations Declaration: of the Rights of. the ‘Child.

(2959) . - .

che Universal Dadaba tion on the Rights of Indigenous Peoples (2006)
The International Péoclamation for the Original ‘Acato chthorous American.

The International Resdlution For: Competence: By Condnct

and Virtue ~— Affidavit.of Bona Fide Moral Integrity and.
Upright Character. Lawful Status (2026)

Florida ‘Stand Your: Gréand Law codified at [Florida
Statutes Chapter 776 $8 7 76. Giz. — 7766 on]

[Executive Order 137731 - Enforcing Law. With Respect to
Transnational Criminal ‘Organizations, Federal Kegister
Volume 82,- Number 26, Thursday, Feliruary 9, 2027
(published ‘Tuesday; February - 24, Bo17}; ‘pages 10681 +

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Case 3:17-cy-C0881-TIC-JBT Documenti-3 Filed 06/01/17 Page 26 of 191 PagelD 361

» Apostolic Letter Issued Motu Proprio (2039). on the ‘pirisdiction. of judicial
authorities Of Vatican CitySiatein criminal matters

® United Nations General Assembly Peclafation on. the
Granting of iIndépendence to Colonial Countries
(Countets}) and Peoples 1524 (ZV) 647% Plenary Meeting
(ig Decémber 2966):

« Hague Conventions: and Geneve: Conventions. and all
anneres, thereto.

“Vico Admiral James W; Crawiord OY, Juiige Advocate Gerieral Navy:
Rear Admiral John G. Hannile, Deputy Judec Advocate General Navy
Command Master Chief (Code 004), JAG? NE&SCinspector General (Code coz}:
Special Assistant for Stestegle Planning (Code SASP), Criminal Law (Code 20}:
ige2 Paterson. Avenue, Suite 3006, Washington Navy Yard, District of Coluinbia 20974-5066

Anne Bt: Brennan, Asting General Counsel ofthe Navy.
‘Garrett 1. Reccing, Deputy General Counsel of the Navy.

2000 Navy Pentagon, Washington, 1 District of Columbia 20356

Major General Michael A. Cathoun, Adjutwit General Fictidi Army & Air National Guard.
‘St. Francis Barracks, § 82: Marine Strest, St. Augustine, F Florida g2684

Boat Admical Steven J. Anderson, Judge Advocstes Genéral Chief Counsel 7.8: Const Guard
PIAS) OG-654. BO* room 2k 19-00'
Mr. Calvin Lederer, Deputy Indge Advomate General US. Caast Guard
CG-oga: Hit room 2 15-00
; * COMMANDANT (cG-0948)) ATIN: US COAST GUARD STOP 7223:
2703 MABTIN LUTHER KING SR AVENUE SE, WASHINGTON, DISTRICT OF COLUMBIA 2059-7213.

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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 27 of 191 PagelD 362

Sectetary-General Antonio Guterres
Depitty Secretary: -General Amina J. Mohammed
United Nations Security Council
International Court of dustice
United Nations Headquarters:

7

HE. Mr, Peter Thorp son, ‘President
Unitéd Nations. General Assenibly
_ United Nations Headquarters:
405 East gant Street, New York, New York 10017 -

‘The International Law Commission,
 nited Nations Héadquarters.
Aitcé Scexétary ofthe International Law Cornimission -

 

~ g.United Nations Plaza -
329 East 44% Street, Room: DCs-0566
New York, New York 10017
AGmiral James Alexander Winneteld, Jr. General Joseph: Brandis Dunford, ar.
“Vice Chairman. _- Commundant of the Marine Corps’
Joint Chiefs of Staft. Heatlguarters, US Marine Corps
:9959 Joint Staff Pentagon: -god0 Marine Corps.
Washington, DC20318-9999 Pentagon Washington; DC 80550
Generel: frank J: Gress. Admiral Jonatlian William Greenert:
Chick National Guard Burean ‘Chief af Naval Operations
“1636 Defense Pentagon Suite iE 169 2000 Navy Fentsgor-
Washington, DC 2oge7-odt' Weshington, DC 20350-2000 «
‘Gerisial Reymond Thomas! Oiierna General Mark: Anthony Welsh Tt
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290 Army Pentagon . 1670 Aim Force Pentagon
Washington, DC 20320-9200 Washington, 1 De 203301670
-Provast Marshél General Matk 8. Tach ‘General Joseph Francis Denford Jr.
Office ofthe Provost Marshal Gengral Chairman Joint Chiet ofStaf
Attention: CID Office. 6999 Joint Staff Pentagon
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Baofigs “RBSITS GUS
950 Pamsylvania ‘Avenue, NW
"Washington; District of Coluinbia-
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Melissa Nelson, State Attoriey
‘FRousth Judicial Circuit
311 West Monroe Street

di Jacksonyills, Florida g2202-4242

Florida Departiient. of Law Eaforeemiant:
- Jacksonville Regional Operations ‘Canter
‘Northeast Florida investigations &
Domestic Security Task Force

G2i North Davis Street, Building B

ai fcksonville, Florida 32905-6804.

‘Mike Williams, Duvill County Shéiiff
50% Bast B: ay Street:
‘Jacksonville; Florida 2202-2075,

‘United States Depatimentaf Siste

U.S. Central Authority for Hage and
‘Inter-American Service Conventions
:Olice of international Indical. Assistance
tion i. Street, TW. »Roomn, 11006

Office of the Staff. Jndge Advdcats:
RESO MIDLANT HQ:
‘ United States Navy .
‘9620 ‘Maryland Avanue, Suite 203
‘Norfolk, Virginia 23517-2996)

Office of the Staff ‘Judge Advocate:
, RLSO MIDWEST Ho:

‘United States Navy”

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“2840 Paul tones Street, Suite 360-
‘Great Lakes, Minois Ga 088-2936

43, E Lattin
Director, General [Tstigation Division
‘Department ofthe Navy
‘Office 'of the Judge Advocate: General
1993 Patterson Avi. SE, Sisite 3600
‘Washington Navy Yard, D.C. 203974

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Case 3:17-cv-00881-TIC-JBT Document 1-3 Filed 08/01/17 Page 28 of 191 PagelD 363

Inter-American Commission on Human Rights,

‘Otganization of American States
1886 F: Street; NW

‘Washitigton, District of Colitimbia 20318-9999

‘Rick Sivearingen, | EDLE Conimissidner.
“Hirida Department of Law Enforcement.
2331 Phillins Read

‘Tallabassee,, Florida 32308

Morida Department i of Law Enforcement
‘Shutewide Office af ‘Investigations j &:

Domestic Sesurity Task Force
5991 Phillips Road.

‘Pallaiassee , Florida 32308.

Wi. Stephen Muldrow,1 U. 5. Attormey

4o0 North Tampa Street, Suite ga00°
-Tampa Flonida'gg602

Rv Adm: Sandra L. Stosz, Superintendent
‘United States Coast Guard Arademy-

gt ‘Mohegan.Avente —

New London, t Connecticut 5 6420 -

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RLSO NORTHWEST HQ.

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Bailding 433 Code 1408
305 Sonth Hardlay Street’
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Lt, Cds. Breler Scheetz.

Judge Advacate General,

TRLSO Central Branch Office:

406 Russéll Aveniib, Bldg. 492, Rm: 102
NAS JRB Belle Chasse

‘New Orleans, Louisiana 70149-6106

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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 28 of 191 PagelD 364

Office of Hie Staff Judge Advocate
‘Marine Corps: Installations East
‘Marine Corps Base Camp Lejeune:
815 Holcomb Boulevard
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ALIN: ASZATA .

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‘Building 290728

4ig'E Sirect —

‘Fort Gordan, Georgia gog0§.

Cal $. Shubert

Sadige Advocate General

United States Aray

‘Sogo Alabama Avenue, Bldg. 1454:

-_ = 2

Fort Polk, Louisiana. 7i45¢

.Offige ofthe Staff Judge Advacate-
‘United Statés Army South.
HO 191s Airborne Division (Air Assault)
ATTN: ABZB-JA= “ADM
‘Fort Campbell: Kentucky abiog-sa08

Office ofthe Staff Judge Advoraté.
Joint Base Lewis-MeChond.
Building 2027 4-Wing

‘North Binand Lissett Avenue
JBLM; Washington 98433

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‘Oth Test Wink.

Building 2, Suited.

4o1 West Van Matré Avermie
‘Eelin AFB; Florida 32542°43

Te Sen, Robert L: Caslen:
Stiperistendent.

‘United States Military Academy
‘West Point, Nesy¥ork 1 10996.

‘Office of the Staff J ndge Adverate.
Marine Corps Base Camnp Pendleton:
Building #5

9995 5 ‘Sttvoit Street, Suite 2

San Diego, California 92136-5198.

Olive ofthe Staif: JndgeAdvacate

United States JArIY
Center and Forti ackson

‘2600 Jae Road.

Fart JackSon, South Carolina 29207-
‘Office ofthe Staff IF nudge Advorate

‘United States: Army

Combined Arms Centar

615 McClellan Avenue

Fort Leavenworth; Kanses 66027

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‘Unitéd States Axmy South:

4130 Stanley. Road, Suite 604.
‘Fort Sam: Houston Texas Feng4.

“Office of the Staff Judge Advocate:
United States Anuy:

Building 259 |
oor Tigersall Avent:

Fort Benning, Georgia. BIGGS.

Office ofthe Staff Judge Advocate:

.B7a.Air Base Wing Legal Giice
Joint Base McGuire-Dix: Lakehurst

2001 Falcon Lane
JB MDL, New Jersey 08641

Vi Adm. Walter B. Calter, or.
Superintendent
United States Navel Academy:
141 Blake Road.
Annapolis, Maryland’ 2i4n2:

‘Lt: Gen. Michelle D. Johnsen’
Superintendent |

United States Ait Force Academy.
S904 Cadét Drive, Suite 3360
USAFA, Coloradé 80840-

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Case 3:17-cv-00881-TIC-JBT Document1-3 Filed O8/O1/17 Page 30 of 191 Page!lD 365

 

Rachid Zein, Counselor in chargec ofthe Consular Section
- Embassy of thé Kingdom cfMotecto. .
1214 Consecticut aveiine, NW., Suite 312, ‘Washington; District of Columbia 20 036

Consulate Genieral'v Mr, ‘Mohammed: Benabdeljalit
Consulate General of The Kingdom of Morocco in thie United States:
EQ East 4ot Street, Ni ew York, New York 10016,

José Ramon Cabauns Rodriguez, Ambassador-
‘Cuban Embassy in Washington, Distriet of Columbia
2650468 Street, N-W,, Washington, District of Columbia 20005:

‘Bernardo Alvarez, Herréra, Ambassador
_ Embassy of Bolivarian’ Republic of Venezuela
2e99.g0% Street, NIW., Washington, District of Columbia 20007

‘Consulate General iw Sién.
‘Consulate General of the People’s Republic of China:
443 Shatto Place, Los Angeles,. California 90020

Cui Tiankai; Ambassador
. Embassyofthe People’s RepublicofChinag
‘$505 Tntermational Place, N.W., Washington, District of Coliinbia 26008:

‘Muinwa Mahlinen, Ambassador
Enibassy of South Afrita:
‘2060 Massathiisetts -Avenié, NW. , Washington, District of Columbia 20008

Zeid Ravad Al Husstin, High Commissioner for Human Rights,
Office ofthe United Nations High Commissioner for Human Rights (OHCHR)
OHCHR in New York / UN Headquarters
New York;: Bi ew Yorkiboiy

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 31 of 192

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Case 3:1/-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 31 of 191 PagelD 366

: Verification
¥, Taquan Rahshe Gulleti-Ei, also called Maal Rahste EL, Divine Immovtal Sphitin Live Flesh and Blood
Natnval, Min ofmajority oa the Land, In Propria Persona by Sul Jutis capacity, Jus Sarigiinis, Heit
Appatent, Original Autochihonous Amiefican Moor Alien Griénd) Repiiblican Government Style and,
Porn, do ‘hereby declare and affird hy virtie of Divine Law, under panilties of perjury u under the laws of
‘Out Most Higti Creator Diving Source for the Force Universal Alla (Allien), The Holy Koran.
Circle’ 7, The Zodiac Constitution, the laws of the State of Flovida; and the
laws of the United Stites of America; that am competentie state the matters set forth, and Liendin, and
‘that ali of the fists siited ate trus, correct, coniplete, certain, not misleading, 2 admissible 8s evidenes; in
agconlance with delarant'’s best firsthand knowledge; nuderstanding, and hondtable intent, andit called
upon forthetorc as a witness to the vericity of evidence preferred and proffered; declarant shall so state.
- , [State x Shearer, 617 80.24 Fis. App. 5 Dist. 1993)}

‘This Affidavit is dated the First Day ofthe Sixth Mont
_ ja he Year of Our Universal ‘Alla (altLaw) .

in Boror.
- 7 i

 

Taquan Rahshe Gollett-20, also called Masti Rabshe Hl, Divine Iamortal Spiritin’ Live Flesh nnd Mond
a9 Sanguinis, Notural Man, cd Woman of fasjority onthe Land, is Propels Pessina by Solduriseopielty, Hele Apparent
‘Original Autechthoness American Moor Alien (fiend) Republican Qnivcreal Gaverement Farm und Testamentary Style
‘Po G72 ‘Arlington Expressway; Sulte 67213, Jacksonville Florida state
Timutoan Al Andalusia Northwest émexca Gilorsesd)

 

 

Notice of Anacal.
29 of 19 RBMFS 1 OS:

 
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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 32 of 191 PagelD 267

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INTHE CIRCUIT COURT, FOURTH JUDICIAL CIREUTS,,
= INAND FOR DUVAL COUNTY, FLORIDA

 

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“In Rec Bstate of Registered Mail # RB 927 $49 153 US.

-SYTERIA LAWRENCE, ¥ile Numbers
a j* Deceased. an
| _- _ -BknbatéDivisiui:
= my . F vot
| sThe interestof th Gavedtonis that ofthe Geiieel Bhccutiit of Syteia Lawzence, depossed,

- >, cs

who died on or about March 28,1954.

&,. Cavéabor’s name anid sneciiié miaiting location is: -
‘Sytetia Hephzibah-2

#/,6722 Arlington Expressway, Suite 67233
" Jacksonville, Mlorida [goaet]

3. Cavyeator beréby designates Syteria Hephzibah-Ei, General Hyecutrix,.in Duval County,
‘whose. specifie mailing location’ is: above-listed, as caveator's‘agent for the-séryice of totica.
‘Caventor tequests. thatthe Court not adinit a. Will of the Decedent to probate or appoint. a
personal representative without formal notice: on cayeator or her designated agent and that

,  ‘téiveator be given such additional notice as the Movida Probate Rulestequire.. .

“Gndée penaltits of perjuny;I declare that I have rend the foregoing, and thie faets alleged ore.
‘true, to the hest of my knowledge and belies. -

-Austographéd on the Twenty-Fifth Dayof the Fouth Month MCY. 3437 1G.0¥. 20171,

 
 

Han

LCERTIPY that Thereby accepttheforegsttig désignationasageit
Autographed on the Twenty-Fifth Day of the Fourth Month M.C-¥. 1497 [G.C¥. 2017)

gx xe 8

   

 

Gavea: DedarallanatrinatOefaulttadgneat: ee
Ci RF Be HENS
ACCEPTED: DUVAL COUNTY, RONNIE FUSSELL: CLERK, 04/27/2017 08:05:05 AM.
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 33 of 192
‘OR BK T7971 PAGE 803

Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 33 of 191 PageiD 368

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7

Caveat: D eclaration of Final Default Judgment

 

4:°TO AED panriisg AND TO THER ATTORNEYS). OF RECORD. TARE NOTICE ‘that On the-
Record and for the! Record; present i is “Syberia Hephzibak-E}, alsa called Highly Favoned Shélinsh Ti,
Divine inanoitd Spnitin Live Fesh and’ Blood Natural Woman of majority on the Lind, Tn Propria
Persona by Su Jo tapiacity, Tus Sanguinis, Bets Apparent by’ Fréthold of Inheritance; Original .
Avtodthomous American Moor lion (@riend) Republican Government Style and Form, a-pea ple:
OF. Gur state: and of sound fis. mind; Competent hy ¢ Conduct and Virtwe: for Moral
Integrity. a ard Tipeieh Ghiarcetes. Bonot, Fidelity, Respbit, ‘Courage, ‘Temperance, Faith, Hope,
“Wisdom, vill, Lave; ;Trith, Peace, Freedom, Justine, Findente; Humility, and. Service, guided ody.
by Gur Most High Creator Divine’ Sourte for the Force Universal Allah '(All- BA] whom Sustains all
protestion and provisionsit Ti, Liberty, and, Property:

z f
at . W .

2. .One, thie ovieindt “‘Auiociithanaus. Amerie Moor Aden: Beier) Republican Gyerninsit Style.
-- aad Farm,’ herefiafter, “declarant,” zises and gives honor: and: recognition to’ The Hély: Rotan,
Circle: Fy. The “Zodiac: Constitution (Registration. No. Abooaray Erucki Ar
‘Glask Aj, - thé | Roly ‘Qur'an,. The: American Declaration of Independence
(i776), ‘The Trealy of Peacé:and Feienishi (787), The Maihid Convention « on Protection in
‘Morocea ‘Guly-g, 2880}, The. Universal Dedaistion ‘on-“Homan: Rights. (1548), he -Anistiéan
Declaration of the Rights and Duties of Man (3948), The United Nations Deélatation of
the: Rights of thé Child (2959), The Universal Declarition on. the: Rights of Indigenous
Peoples (2006); The Intemational Proclamation faz the Oupinay Antuthtlionstis American, Moor -
-Alien- (Rend) Republican Goveinmait Style and ¥orm (2036); and. The International.
Resolution For Campetence By. Conduct. and -Virtne ~ Affidavit of Bona
Fide Moral Integiity-and Uptight Charactat Lawful Status.(2026).

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Case 3:17-cv- -00881-TJC-JBT Document 1-3 Filed 08/01/47 Page 34 of 191 Page!D 369

“

gs. ‘The. dedardit is/Geneal Exesuivix of SYTRIIA-LAWRENCE, Authenticated: Birth
Cettioate, Registefed Copyright, Mgstened, Tratomask. (Copsght: Deposit Noi, oogs7éi
Cépytigit "Tade-Name 7 ‘Trademark, Contract, Re sistered 7 Fietitiods “Mame- ‘(Blorida
Depariinent ri Sule NO: 45000000759);: Registered Surety: Bond with Colistenal iB: ig-opox6);
Ridugiary Appoittinas Contract :(3:45-00016),. Syteria' Haphaibehere Bette, Alogi ‘Gast
Schedule, Paramount pt Security. Latest Holder (Maitimie Ten: No: Hsosteraer0s, Patiam na
Horida: ‘totr, ‘No absosariosty: State of Florida HCl No. abio asasbts State of Rarida BCC.
No. 2or104871708; and Kentucky Séiretaiy Of State UCC Bling No. 2024-2695071-07.63; Duval
" Caimity Reebrder UOC Fling # adistsasts, Duval County Rocandér UOC Filing & aox5s565)
‘over SYTERIA LAWRENCES"© Estate.
4: ‘the detianmtdges hezeby régerve all Natural sights, all Buinan rights;
and ib ascordl avith. [Plo#ids Sta atutes. 783,148 and Flotida” Rules. oF

Evidente $0-2045, 90.204, & 50.2093] does hereby. ‘give: Caveat:

 

5». The dedlarant debs hereby declare the dbovemamed judgment debtar(s) {propounder(s}*’.
failure and negleét to-suffiiently or timely answer: or respond ‘by presentiient of a-valid'and
“verified domumenttary evidence rebuttal to declarani’s Private Civil Action Foiitth Judicial Cireuit
‘Case Nuinber: 16-2017-CAd1a4, does constitute judgment debior(sy 7 propotinder(sy. eonsentto”
Entry of.Final Delt Judgment and Estoppel upon Judgment debisr(s), / proponnder(s) and
jadgment debian) / Propounder(s) accept.all liability in this matter, as well as judgment
debtor(sy’ f proponndaicey wae: acguiescence, acceptance, approval, consent, ‘and agreéinenit t0.
al terms; conditions; and | stipulatiads i in: sdsplarant’s Private Civil Action Fourth Judicial. Cireuit:
Casd Nuinber 16-2017-CA-s144 without limitation (see annexed: Casé Namibert6-2 203 7-CA-
2144 Notice of Befiult and Estoppel—Do chet Rutry'42). "

Caveat: beclimtlon bY final Gafsub: indemeat ee
3of7 HD 917 $19 £53 U5,
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 35 of 192
OR BK-17971 PAGE ‘811

Case 3:17-cv-00881-TJC-JBT Document1-3 Filed 08/01/17 Page 35 of 191 PagelD 370

6. The debtons} / propeiniden() tre in Default. .As an operation ¢ ofiaw (ipso jure) debtor(s). do
piopelaridar(s) ty} ‘dishonor of dedlaran’’s Private: Civil. ‘Aption Fourth Indictal Cirenit’ ‘Case
Nuaniber. i6-2017-Ch, 2144 hive ised Dati. | By the terms, co conditions, and stipulations ofthe
agreement rig fn the offer and. sckeptaipe of declarant’s Private Civil-Action Fourth,

and. diligation BO: sly hs good. faith rebut’ with law. and ‘Breat peciiey sniifor Hi horde
detlarant’s docomicataiy e evidencein dedlarint’s Private Civil Action: Fourth didicial Circuit Cage
-Namber: 16-20i7-Ch-2144 swithin twenty (20) days of jueseiitient-and to provide zébnittal:
verification? in the form: of documentary evidence, A dishonor of declarant’s Privat Civil Action:
Fousth: Judicial Ginette Case Nimber 16-Ro017-CA-di44 dischatges : any alleged’ lisbility. against
feclaratit that dsb) »f propounder(s} have attenpted to lain. Allowing twenty (20) days for.
‘rebnttal, andthe time allowed having passed for rebuttal; andawith the Registrar (Probate Court)
{ Recorder / Glikcat Cétirt showing tte record of zebiattal, dédlatant ndiy deems Private Civil
-Actiot#i Fourth. iidicial ‘Cirewit Case. Nemaber:: aG-ani7-Caati¢ i is Hshonored. di: dr. about the

Twenty-Fourth Da ofthe Fourth Month Fourteen Thirty Seven. (1437): iG, oN, so17~ April 24).

 

7s: Ais ai operation of law (ipso jitré), the FINAL admission of the ihéts aud evidente gét forth in
declinint’s Brivate:Civil Action Fouith Judicial Gineuit. Case Nenibét.16-2017-04-2i44; dees’
establich that the Whole maiter of declarant’s Private Civil Action Fourth Judicial Ciretit Case
Number 36-2017 CA-dagd ds ¢ deemed Res Fudicata end Stare Decisis. ‘Therdfore, # ipso Fire
doeshershy ADIUDES, DEGHEE, aid DECLARE: ° oo

aad a -

oe Gees eiliratisn of Find Debauitdoment Be
_ - : SofF JImgi7sin33 0S
OR BK. 17872; PiBS0229- -40375-KKS Doc1-8 Filed 10/14/20 Page 36 of 192

Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/04/17 Page 36 of 191 Page!lD 374

FIRST: Let: tbe known 46 all whom these; : presents come, with Universal Allzh (al-Laiv) a5 my.
witness; tliat, Byteria Lawrence’ {settior}: did create the final Wal and: ‘Testament of. ‘Sytiria
‘Lawrence of the: cititinental Jand mass afte Crestaf iAsin, i Temjile ofthe Micon and Sun,/
- Northwest Airiexeni Z Noithivest Aftica Rott America j The North Gate fAL Maghiib Al
Agsa'(Alaska) fi iMoroctan (Ameican) f Moraééd:— the most extreme. ‘west;.dn Moorish.
Calendar Year 3 IAS2;- ~ Senond Day of the Thidd Month. ‘[Gtegovian Calendat Year,2oi% — March
and}, Letithe Known that by Will aud intent of this Native, Syieria Lawrence?™® Estate Gitle of
irust} is Testate; and because the esiate is Testite, ‘the estate will never:ente:-the courts:of
- Probate (sda: annexed Amended Notice of Existénce of Final Will and Téstament of

“resin ~ Case 16-2037-0A-2144 Docket Entry 22);

 

‘BECOND:1ét iets non te all, thar ago the Sacred Moorish Calendar Year 1907 — Twenty.
Eighth Day of the Third Month [Gregotian Calendar Year 1654 — Mare: 28], (date of death /-
date of trast), | bythis duly tééurded Notice that the Ofiied of General Executrix. forthe Sytaria.
Lawrence®™®. Bstate Ulex loct ret site ‘Duval County Blorida Hraneuen Al Andalusia Northwest
Amexern/ [Merocen}} 3 is. heréby- occupied hy
Now dt Present, Mime: Pro Timez; . and - “Hencefortli: {see “annexed: “Notice - “at
-Apyeinhment of: General Executrix - Case 16-20%7-CA-2144- Dockst Entry, A5i: see
Notice. .of Absolute. and Binal Confirmation: of ‘General. Executrix: of Syteria
‘Lawrence Estate+ Case iG-2017-CA-3144.D ocket Entry g0);.

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THIRD: Lebithe known to ail, that 2. valid and verified Cain of Right is duly. registered aiid.
tecorded into the Rolls: ‘of thé. Estate and into the rolls-of the Registra (Probate Caimi) /
Recorder Duval County. Blovida (ee) anriered Notice of Claim of r Right - Cass: 16-2027-
CA- aiaa Docket Eabey 16);

* FOURTH: Letit be kimvs to all, that a valid anid Yerified Clatay of Title is duly registered and’
sécoridled. inte -the Rélts of the, Estate aud ‘into the rolls. ofthe Registrar (Probate. Carty /*
Recorder Duval County Florida Gee annexed: Notice: of Claire’ of Title - CasenG-2ory-CA-
2144 Docket Entry 17):

FIFTH: Letit be known t all; , that declarant Syteria Hephzibah- Bl, General Execntrix; is.
Ep tf eveditor, and Irish. Andersons Cettic L.. Denar; Kim Tee’ Watsoris, Jim.
Baskett; Patcidk Sheridan; Mateia Morales Howard; ‘Arnold B. Carsmeier: Monte -
C. Richardsoni. ‘Patricia. D.. Barksdale; Jodi: 3. ‘Wiles: Sheryl. Loesth; Penelope:
Knoxyca: Lee: Bentleys Mac D, Heavener; Maurice. Giant: Ramon Dé Leon; Donald
“Mairs;. Donna: Ree Elm; Germaine Sdider: David P, Rhodes: Brad Coopers’ Thomas
R Kane; Angela Gote Detipsey; Sara Hessler;: ; Bradley: R. Jolinson] Gwen Marshall:

‘Jesse Hoskins; - Pete? Stoumbeliss. Righie Blanc ; Kenneth: L. ‘Greeny, Jon S.,

Caveat: Deciamilan of Aiveinetielt iniomesit: 7
Saf? BEST? S09 155 US

 

 
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“OR2EK 21971: PAGH -842-.

Case 3:17-cv-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 37 of 191 PageiD 372

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Wheelsi:: Pamela, do. Bondi: ‘BY Incorporated: and. all suihsidiaries and- agents thereof.
Ss. Marshals | Service; ‘and all sibsidiaries : and agehts thereof: Ts. Probation. and
- Pretejal’ Services), and: all subsididties: and agents thereof. U.S. Attorney's Office, and all.
sibsidiaries and agents. tiereat TS. Department OF, wustiee, arid all subsidiaries and ;  agenIS:
thereat: Federal: Biredu of Peisans; and all subsidiaries. and -agents- théreof Florida:
‘Departinent.of Highway: Safety and. Motor Vehicles, and all’ subsidiaries and: vagents
thereok Forida Highway Patrol, and all , subsidiaries: ang, agents thereol ‘Léon. County.
Ji aul and all subsidiaries and agarits thereof are; a

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‘SIXTH: Lat it be-known to alll; Hit declarant ig entitled 6 ail of the élinf petitioned for in
‘Private’ Civil Action Fourth Judicial. Cinenit Case Number i6-2017-GA-2344; ticluding, without.
Aisnitation, Sytétin-Lawisiice®” © Hsinta rights, titles, and interests; the personal: body of Syteria
Eatvrente®n@ Estsig and all collateral fies and clear of} any ’ disthesses, constraints, restraints, or

satya and: emittance - daniage of EWo Hundred whity Sie (g2a6.40 0,0 00.0 a) Million four
‘Hundred Thousan One Ounce Silver coins: of. 9999 fine silver, plas costs incuired in bringin
‘this action for debtar(s) f propomnder(s) debs of unlayyful | detaininent, irespass,. and axemitor ae

sonfork | ;

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SEVENTH: “Letivhe Inown to all, that declaraitt reserves the rightte Adoll itventory,fareisie:
‘racing, audit, and acesunting, and: dedlacant: futiher. sesérves the right.to. stek 4 deficiency’
against: he. achiorls) ff propounder(s} for- ‘any, and al: sunis. which may" aide bs ne ‘the -

Estate Tile, Rights, land Interests Documents.
H
HiGHTH: Letithe known to all; thatno onder, action, dedaration, denres, settlement, or any Ike
or Stinilar conveyance be made in zegard to Syietia: Lawrence? "9. Estate without prigr: notice: te-
the undersigned General Bxesnteix.

8. Ofthis Caveati Declaration of Fial Defaiilt Judgment tke due Notice aiid heedand
govern dcéordingly, This' Caveat: Dedaration of Final Defanlt Judgment d complete
anid exclusive final statentent of tiie terms of the agfeemant between tie parties,

‘Respectfally and In Honor. .

a Great: Decumton tind Ds uigment ae
: Gore ROSTSOISUS

 
AGH BA eed. ph@SO5:29-40375-KKS Doc 1-8 Filed 10/14/20 Page 38 of 192
Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 38 of 191 Page! D 373

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Ck bf ein

" Verditcation,

i, Syteia Hephzibeh Bhat called Fighly Eavired Shelinch El, Divine Imuinriél Spittialive Flesh: and Blasd
Nataral, Woman ofsmajority a onthe Land, In Propria Persona by 8 Sui Juris cdpacity, Jus Singuinis, Heir.
‘Apparent, Ori ginal Asitochthonons American Mooi Alin rend) Republican Govéininent! Style} and:
Fam, do heey dvilaré and fathom by virtue af Divine Lavy pundecpensites ofpedity widerthe lnisef
Ciiele: 4: “The: ko diag: Constitution, the. laws. of the: State of ii otidi, 2 and, ihe
‘lays Ofte Thited States of Anetta, that T am competéntto state ihe miattcrs set forth, and Kertin,: and:
thatall: af the facts’ stited are trod, correct, complete, ceriain, not inisieaiing, atinniscible 3s evidence, in
idondinte with ace s bast fist fai dinowkeae, understanding,2 anid Ronprable f le ie 2 and if called.

~ “(States Shaaters si? Sod Fla As 3 Bit 18i5)) . =

me Aidaviti ig aatéd {the Tiverity i Hitth Bay af the Fourth Moth =
- 1 ‘in the Year or Gui Uatsersal ABs (all: Lan)" -

 

   

.. Syteria Hephiibah P

Ins Sangulals, Watwral Woman of majority on the Land, Ta Propel Persona by Sai. Juris ae wéic Appaveat
‘Original Autochthanors Aimerionn Moor Alten (Erich) Government Styigtnd Form =~
Sle 6722 Aglingina Expressway, Snite 67213, Jatlsonville FlocidS state _ -
Tinnieean: Al Andalasta Northwest Amiexem ‘(Misreecs)”

 

 

» Cavext: Detlaration oF Fital pefiuie indgment 7 a
7aly Tangy S 153 US:
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 39 of 192

 

 

 

 

 

IN THE. DISTRICT COURT OF APPEAL FIRST DISTRICT, FLORIDA.

~ ipso Jure-=
Fourth Judicial Cirenit Duval Comnty! Florida

 

 Syteria MephethaleEt, AFFIDAVIT OF FACT
Petitioner,

¥. Heetttered Mnll RO 917 S49 153 0S.

Trish Anderson, 8 private pérsen,

Cedriz L. Donay, a private person ; .

Kies Lee Wateon, o pftvate person, Fourth Joditial Circuit —

‘Jim Haskett,a private person, : Cuse Number: 1-2017-CAs2144

Patrick Sheridan, a privat prrsan,
Siarcla Morales Howird,2 ptttate person ; . -
Arnold B.Corsmoter, = private person, 1? DCA Appeal Number: 2D17-14538.
Miate C. Richartson, 4 private person oo , -
_ Peivieta D.Harksdale,’ & private person,
Todi Le Wiles, a private person,
Sherryt Loewh,9 private persow,
Pentlope Knox, a privait person,
Ac Lee Bentizy, a private person
Mas BD. Heaventr,a private person,
Mourite frank, a pvivite person,
Rama De Lica, 2 privait persian,
_Hgnald Staite, 2 private; FECIOR,
Donns Las Eft, & privates Efsan
Germaine’ Selden, 3 private person,
David P. Rhodes, 2 private pried,
Brad Conper,a private person,
"Thomas Kane, a privéte perscn,
Angela Cote Dempsey, x private person,
Saint Hassler, 2 private person,
Bradley Johnson, private person,
Gren Rarshall, pripate person.
Jesse Hfaskins, & private puson,
Peter Stoumbelis, 3 a pilvate person,
Richie Bladea, a ptrain DEON, .
Heousth L. Green, BAvate pera,
fon S. Whetlera privaic| person,
Pastels Jo Honda private person,.
Bi fncorpcrated, 3 privately beht compaoy; nnd ol subsidiaries and aeents thereat,
US. Marshils Service, a privately held company, aod all subsidiaries and agents thereall,
US, Probation and Pretrisl Services; o privatety bald company, tind all subsidinrits ani agents Uiereal,
US. Attorney's Office, 2 privately sid rompany, and all subsidiaries and agents thoreak,
US. Department of Jtstice, 2 privately hold company, and olf subsidiaries and ageats thereof,
Federal Boreac of Prisons, a privately held company, aadall ‘subsidiaries and asenté hetéof,
Florids Deperiment of Highway Safcty.and Motor Vehicles, 2 privately held company, 2nd all subsidiaries and agents thereof
Florida Highway Patrol, a "privately held company, aod all, subsidiaries und agents thereak, .
Leon County Jsit.s privately eld company, and nlf subsidiaries and agents thereof, responiient{s}.
"h

a4 Pi Jon s. Meo, First District Court. of Appeal

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RECEIVED. a2Aa0i7 10

 

   

Letter Rogatory: Indemnity Bond & Hold Harmless. Writ of Assistance

Letter Ragaton: Indemnity Bond Hod Hatmiess Writ ofAsristance ;
First District Court of Appeals — ipso junr= Fourth Judicial Cirele Dinal County § Florl@z

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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 40 of 191 Page!D 375

 

Letter Rogatory: Indemnity Bond & Hold Harmless Writ of. Assistance.

4, TO ALL SHERIFES, CHIERS, AND CONSTITUTIONALLY DELEGATED AUTHORITIES .OF
RECORD TAKE NOTICE ‘that Gn the Record and for the Record, present is Syteria
Hephzihah-Fl, iso called Highly Favored Shelinah Fl, Divine Iminortal Spiritin Live Vlesh and. Blood
Natural Woman of majority:on the Land, In Proprin Persona by Sui Juris capacity, Jus
Sanguinis, Heir Apparent by Freehold. of Inheritance, Original Autochthongus: American
‘Moor Alien (Friend) Republican Government Style. and Form, a people of Or state and
of sdund firm minds Competent by Conduct and Virtue for Moral Integrity and Upright
Character, Honor, Fidelily, Respect, Couraiie, Temperance, Faith; Hope, Wisdom, Wil, Love; Truth,
Peace, Freedom, Justice, Prudence, Humility, and Service, guided odly hy Our Most High Creator
Divine Source for the Force Universal Allah (AU-Law) whom sisstaitis all protection aind provision for
Life, Liberty, and Property.

2. One; the Original Autochthonous American Moor Alien (Friend) Republican Government Style
and Form, hereinafter, “declarant;* ‘rises and givés honer and recognition to Thé Holy Koran
Circle 7, The Zodiac Constitution (Registration Neo, AA222142 Truth Ar-
Class. A), The Holy Qur’an, The American Declaration of Independence
(i776), The Treaty of Peace-and Friendship (1787), The Madiid. Convention on Protection in.
Moreces (July 3, 1889), The Universal Declaration on Human Rights (1948), The American
Declaration of the Rights and Duties of Man.(ag48), The United Nations Declaration of
the Rights of the Child (1939), The Universal Declaration on the Rights of Indigenous:
Peoplés (2006); The International Proclamation for the Original Autochthonoits. American. Moor
Alien (Priend} Republican Government Style and Form (2016), and The International
Resolution For Competence By Conduct and Virtue — Affidavit of Bona

Fide Moral Integrity and Upright Character Lawful Status {2016}.

telier Rogatoty: indemnity Hong & Hold Harmless iyrit oF Assistance
‘Bist Pistrict Court of Appests~faso, jure Fourth Judicial t Creult Deval County Floris

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 41 of 192

Case 3:17-cy-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 41 of 191 PagelD 376
3- The declarant is General Executrix af SYTERIA LAWRENCE®"® Authenticated Birth
Certificate, Registered Copyright, Registered Trademark (Copyright Deposit Ne, 0031755),
Copyright. / ‘Trade-Name / Trademark Contract, Registered. Fictitious Name (Florida,
Department af State No, G1g000000753), Registered Surety Bond with Collateral (9:15-00016),
Fiduciary Appointment Contract (g:15-00016), Syteria Hephzibah®"® Estate Allodial. Cost
Schedule, Paramount Security Interest Holder (Matitime Lien No. RE603617867US Putnam
County Florida Inst..No. 201054719722; Maritime Lien No. RE603617765US Putiam County.
Florida Intr, No. 201054710187; State of Florida UCC No; 2010053308; State. of Flarida UOC
No. 201104871708; and Kentucky Secretary of State UCC Filing No..2014-2695071-97.01, Duval.
‘County Recorder UCC Filing # 2015153501, Duval County Recorder UCC Filing # 2015185625),
over SYTERIA LAWRENCEO™® Estate,

indemnity Bond & Hold Harmless Writ of Assistance

4, The declaantdoes hereby reserve all Natural rights, all Human. rights,
and does hereby give Notice by Letter Rogatory: Fully
Indemnified & Held Harmless. Writ of Assistance; that all.

Sheriffs, Chiefs; and constitutionally delegated Authorities

 

te déclarant)in the enforcement of the judgment of this Private
Civil Action Fourth Judicial Cirenit Case Number 16-2017-CA-2244 G* DCA Appeal
1017-1538) for the protection and preservatiori of (Alien Friend) Syteria
Lawrence®™® Estate Tex loci rei site. Timucuan Al Andalusia Northwest Amezem
[Morocco] (sée Case Number 16-2077-C4-2144 Docket Entry 11, Declarant’s [Filed,

Latter Rogatory: tidemnity Bend & Hold Hanmiess Writ of Assistonce
First Oletrict Courtet Appeals ipso iore~Fourth Judicial Cireait Ouvat County Florkds
3of33 TO S77 S05 BOS

 
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 42 of 192
Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 42 of 191 PagelD 377
Accepted, & Approved] Replevin Bond KB 917 549 153 US page 2, Bapes 6-17, pages.
32°33, pages 42-43). [see 1* DCA Appeal 1017-1938 / Case Number 16-2017-CA-
2144 - Notice of Default and Estoppel (Docket Entry 19)],

3. This Writ of Assistane® is for (Alicea Friend's) déclarant’s etiforcement of judgment against

for tespondent(s)' [temitter(s)'] remittance of compensation sur certain fn the arhount of Sevan

 

protection and preservation of (Alien Friend) Syteria Lawrened®”® Estate lex loci rei
sit Tirucoan Al Andalusia Northwest Amexem. (Morocco): from xéspondent(sy’
acts: of ‘Trespass, Executor De Son ‘Tort, Unlawful Reversion of Estate and
Hereditaments, ;and Unlawful Escheatment of Estate and Hereditaments in
violation of Private International Law.and International Treaties.

'G. The declarant reserves the right to seek a deficiency against the respondent{s) for any and all
sums which may remain due to the declarant aid uoremitted after disposition of the collateral
described in Syteria Lawrence9™® Estate Title, Rights, and Interests Documents.

7 All Sheriffs, Chiefs, constitutionally delegated. authorities; and officers of the
uniformed -services of the United States have a duty to support and defend the
Constitution of thé United States, and all treaties before and after, against all.enemies,
foreign and domestic, as set forth in the Duited States Uniformed Services Oath of Office

(U.S.-Code § 3391 - Oath of office], which each officer takes upon commissioning:

_ iefter Rogatory: Iedemnlty fod & Hold Hanmless WritofAssstance
Fist District Cont of Appeals — loco jure ~ Fourth Judicial Grout Duval Coanry Florida.
| ' 40fil REVI USES

 
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 43 of 192

Case 3:17-cv-00881-TJC-IBT Documenti-3 Filed 08/01/17 Page 43 of 191 PageiD 378

“Y, AB, .do solemnly swear (oi affirms) that I will support and defend the
Constitution. Gf the United States against alll ¢ énémies, foreign and domestic; that 1
will bedr troe faith-and allegiance to. the same; that I take this ‘obligation: fredly,
without.any menial reservation or purpose of evasion; and that T'Wwill: well and

faithfully. discharge the duties. of the office on which 1 am-about to enter. So help
me God.”

8: Whoever, having luiowlédge of tlie actual commission of a felony cognizable by.a
court of the United States, conceals.and does not-as soon as possible make knowri the
same ta some judge of other person in civil or military authority under the United States;

shall be ined under this tifle or imprisoned not more than three years, or both.

Misprigion of felony [18'U.S: Code § 4]

“The offense of concealing a felony committed by another, but without sich previous concert.
«with or subsequent assistance to the felon as. would make the party concealing an acvessory
‘before c er after the fact. 4 Steph, Comm. 260} 4 Bi. Conan. 421; Carpenter v. State, G2 Ark.
286, 365.W. 900, Hiach?s Law Dictionery and Edison

Misprision of Treason [18 U,S, Cade § 2383]
The bare inowledge: and concealment of an act of treason or treasonable plot, that is without

afy assent or participation therein, for if the latter elements be ‘present the party becontes a
principal. 4 BL Comm.ig20; Pen. Code: Cal. § 38.
Black's Law Dictionary 2"4 Edition.

International Law:

« The Treaty of Peace and Friendship (1787)

* The Madrid Convention 4 Or Protection i in Morocco uly 3s 1880}- eatenaes the

Persons:

e Codified at (Title 18: U.S:C§aa]- Foreign government defined;
[Title 48 UsS.C8§1121 - Protection of foréign officials, official
gusts, and internationally protected. persons:
[Title 18. U-S.C8878) — Threats and extortion against foreign
officials, official guests, or internationally protected. persons;
{Title 28 U.S. 0§1126] ~ Murder or manslaughter of foreign.
officials, official guests, or internationally protected -pérsons;
{Title 18 U.S.C8s202] - Kidnapping;[Title if U.S. C&8z71 =
Mailing threatening communications. from foreign CREBETY

Latter Rogutory: indemnity ond & Hold Harmless Wait of Assistance
First Districh Court of Appeals {geo jure «Fourth judiciat Ciroult Duval Gatrity § Forida.

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Case 3:1/-cv-00881-TJC-JBT Decurnmenti-3 Filed 08/01/17 Page 44 of 191 PagelD 379

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The Universal Declaration on Human Rights (1948)

The American Detlaration of the Rights and Duties of Man (2948).

The United Nations Declaration of the Rights of the Child
The estvetsal Declaration on the Rights of Indigenous Peoples (2006)

The International Proclamation for the Original Autochthonous American
Moor Alien Republican Government Style < and Form (2016)

The International Resohition For Compétence By Conduct

and ‘Virtue ~ Affidavit of Bona Fide Moral Integrity and

Upright Character Lawful Status (2016)

Florida Stand Your Ground Law codified at [Florida
Statutes. Chapter 776 §8 796,012 — 776. a9]

[Executive Order 227731 — Enforcing Law With Respect to
Transnational Criminal Organizations, Federal’ Register
Volume 83; Number 29, Thursday, February. 9, 2017
(publisicd Tuesday; Bebruary 14, 2017), pages 10694 -
10693

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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 45 of 191 PageiD 380

Admiral James Alexander Winnefeld, Jr..
Vics Chairmatt

Joint Chiefs of Stal’

9969 Joint Stuff Pentagon

“Washington, DO 20918-9999

General Frank J. Grass.

Chief, National Guaré Bureaw
1636.Defense Pentagon Suite3E 169
Weshinston, DC 20301-0001

General Raymond Thomas Odierne.
Arty ChisFof Staff

209 Army Pentagon

Washington, DC 20410-0200

Bravest Marshal General MarkS; inch
Office ofthe Provost Marshal Genéral
Aitention: CID Office

2800 Army. Pentagon _

Washington, District of Cotunibia.
20320-2800

Jeff Sessions, U.S. Attorney General
950 Pennsylvania Avenue, NW
‘Washington, District of Columbia
20590-0001

Metisse Nelson, State Attorney
Fourth Judicial Circuit

351i West Monroe Street
Jackzonville; Flovida 320n2-454o

Florida Department of Law Enforcement:

Jacksonville Regional Operations Center.
‘Northeast Florida Investigations &
Domestic Security Task Force:

.g2i North Davis Street; Building E
Jacksowville, Florida g2209-6804

‘Mike Williams, Duval Cotnty Shetiff
501 East Bay Street
dacksenville;. Florida 32202-2975.

‘General Joseph Francis Denfotd, dr.
Commandant of the Marine Corps
Headquarters, US Marine Corps
8000 Marine Corps
‘Pentagon Washington; DC 20350

Admiral Jonathan William Greener:
Chief of Naval Operations

2000 Navy Pentagon

Washington, DC 20350-2000

General Mark Anthony WelshIi1
Air Force Chief of Stalt

1670 Air Foree Peritagon
Washington, Be 20330-1670.

General Joseph Francis Dunford, Jr:
Chairman Joint Chiefs of Staff

.ggog Jéint StaffPentagon
‘Washington, District of Columbia

20318-9999

Anter-American Commission on Human Rights
‘Organization of American States

1889 F. Street; 1 NW

Washington, District of Columbia 20318-9999

Rick Sweatingen, FDLE Cominissioner
Florida Department of Law Enforcement
‘2931 Phillips Road

Tallahassee, Floridag2308:

Florida Department of Law Enforcement
‘Statewide Office of Investigations &
Domestic Security Task Force

2391 Phillips Road.

Tallahassee, Florida 32308.

W. Stephen Muldraw, U.S. Attomey.
400 North Tampa Street, Suite gaoo.
Tampa Florida 33402

Letter Rogatong: iidemelty Bead RHotd Harmless Wir: af Assistance
Firtt District Couto? Appeals ipso jure'= Fourth Ju@elai Citeutt Guval County Fiorids.

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Case 3:17-cv-O0881-TJC-JBT Documenti-3 Filed 08/01/17 Page 46 of 191 PageiD 381

United States Department of Sinte

US. Ceiitral | Authority for Hagueand
Tnter-American Service Conventions
Office of international Judicial Assistance

20522-7710

Office of the Staff Judge Advocate
RISO MIDLANT HQ

United States Navy

9620 Maryland Avenite, Suite 201
Norfolk, Virginia 23511-2939

Office of the Staff Judge Advocate
RISO MIDWESTHO

United Stutes Navy —

Building 2:

254% Penil Jones Street, Silite 300
Great Lakes, Mlinols 60088-2936

GE, Lattin:

Director, ‘General Litigation | Tivision
Department of the Navy

Office ofthe Judge Advocate General
1992 Patterson Ave. SE, Suite: 3060
Washington N avy Yard, Dut: 20374

Office of the Staff Indge Advocate
Marine Corps Installations East
Marine Corps Base Catnp Lejeune
812 Holeomh Boulevard
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Office of the Stafi.Judge Advocate

RG, SVE Airborme Corps

ATTN: AFZAA

2175 Reilly. Read, Stop A

Fort Bragg, ‘North Carolina 28g10-s000

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‘NAS IRE Belle Chasse

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‘Office of the Staff dudge Adivdeate

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9600 Lee Road

Fort Jackson, South Carolina 29207

Letter Rogatony; Indemnity Bond! & Hold Hafniess Writ of Assistance
First District Court of Appaats — ipsa jure» Fourth Judicial Circult Duval County Florida

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Office of the Staff Judge Advocate.
United Sintes Army —

Building 29738.

419 B Street

Bort Gordon; Georzia’ 30905

Col:S; Stubert

Judge Advocate General

Urilted States Army

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Fort Polk, Louisiana 7iagg

Office ofthe Staff judge Advocate:
United States Amny South
HQ io1 Airborne Division (Air Assauit)

ATTN: AFZBTAsADM
Bort Carapbell, Kentucky 42293-5208:

Office ofthe Staff Judge Advocate
Joint Base Lewis-MeChord.
Building 2027 A-Wing

North Snand Lissett Avenue
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Superintendent .

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West Point, New York 10996

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615 McClellan Avenue

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4190 Stanley Road, Suite 604
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Bail ding 459

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2901 Falcon Lane

JB MBL, New Jersey 08641.

VY. Adm. Walter E. Carter, Jr..
Superintendent

United States Naval Academy
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Atthapolis, Maryland at4na

Lt; Geri. Michelle D_ Johnson
Superintendent

United States Air Force Academy
bond. Cadet Drive; Suite $300.
USAEA, Colorade 80840-

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Case 3:17-cv-00881-TJC-JBT Documenti-3 Filed 08/01/17 Page 48 of 191 PagelD 383

Verification

1, Sytesia Hephzibah-El, also called Highly Favored Shekinah El, Divine Immottal Spititin Live Fiesh and Blood
Natural Worian of miajatity on the Land, In Propria Persona by Sui Juris capacity, Jus Sanguinis, Heir
Apparent, Original Autochthonous Ameritan Moor Alien (Friend) Republican Government Style and
Fon, do hereby declare and affitm by virtue of Divine Law, under penalties of perjury under the laws of

Our Most High Creator Divine Source for the Fotce Universal Allah (All-Law}, The Holy Koran

Cirele 7, The Zodiae Coastitution, the laws of the State. of Florida, and-the
laves of the United States of Anierica, that 1am competent to state the matters set forth, and-herein, and
that all of the facts stated are trie, correct, complete, certain, not misleading, admissible as evidence, in.
avcdrdance with declarant’s best first-hand knowledge, understanding, and honorable intent, and if called
upon for rhetoric as a witness tn the veracily of evidence preferred and proffered, declarant shail-so state.

{State y. Shearer, 617 So.2d (Ela. App, 5 Dist. 1993]
This Affidavit is dated the Tweuty-Fourth Day of the Fourth Manth

in the Year of Our Universal Allah (AI-Law} |
Fourteen Hundred Thirty-Seven [Gregorian Calendar Vear 2017 — April; 24]

in Honor.

  

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Jus Sanpuinis, Natural Waman ofmaj jority 08 the Land, In Propria Persona by Sui Juris capacity, Heir Apparent:
Original Autechhonans Ameticgh Moor Alten (Fricod} Government Siyie and Farnt
“fq 6722 Arlington Expressway, Suite 67213, Jacksonville Florida sisiz
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CERTIFICATE OF SERVICE (PROOF GF SERVICE)

 

 

THEREBY CERTIFY that.a copy hergof has been famished-to:Sean Patrick Flyia and W. Step i en Mul drow,
400 North Tampa Sweet, Sulté-3208, ‘Tampa Ficrida 33602, WSiephen Moldrowitidoleoy, Sean Fhnnd@usdol.cn BO¥s
and Pamela Jo: Rondi, The Capitol, Suite PL, ‘Tallahassee, Florida 33399-1850, ondi@imvfloridaiceatenin: on.

oF aboutthis Twenty-Fouith Day ef the Fourth Month in the Year of Our Universal Allah (All-Law) Fourteen Hundred
‘Thirty-Seven [Chitistian Calendar Year. 2017 —April, 243,

Trish Avidersony 300 North Hogan Séreet, Suite G50, Jarksonyitie, Florida 32202
Cedric Doar, 200 North Hogan Street, Suite 8350 psacksonville, Plorida 32202
Kin: Lee Watson, 300 Norte Hogaa Street, Suite 2-200, Jacksanville, Florida 32202

Jim Hasheit,300 North Hogan Street, Sulle 2-200, Fathsonville, Florida 32202

Patrick Sherbtan, 300 North logan Street, Sulio 2-205, Facksonvitle; Florida 327202

Réiarcia Morales Howard, Chambers 13-359, Courtroont 168,206 North Hagen Street, Jacksanville, Flbvida 35302
Arnofd Coramefer, 300 Necth Hogan Street, Site 700, Jacksonyille, Flerigg 32202.

Montz C Richardson, Chambery 5-4 1, Courtroom SC, 300 North Hagan Street, Jacksonville, Finrids 32202
Patricts B. Barksdale, 300 North Hogan Street, Chawsbers £311, Courtroom 53, Jacksonville, Florida 32282:

dod! 6. Wiles, Conrtrooni 1B, 300 North Hogan Street, Sacksonvitis, Florida 32202

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ine B. Heovensr, 400 | Nosth Fraps Street, Suite 3200, Tampa, Fleridz 33602

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Sars Hosier, 201 South Monrve Street; ‘Follshaisee, Flerida 32301

Gien ‘Alarsba, 40% South Alourds Street, # 100, Tallahassee, Flerids 32301
deise Tinskins, The Capital PL-Ol, Tatlshateee, Florids 32399-6507

Peter Stountbhetis, 1565 Creston Glen Circle Bast Sackronville, Flovids 32286.

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Henacih L. Green, 7322 Normandy Bootevard, facksonville, Florida 32205-8261

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Pamela Jo Boddy The Capitol PL-O1, Tallahassee, Florida 22399-1050

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TS, Attorney's Office, 300 North Hoyas Sirest, Suite 700, Jacksonville, Duval Canaty, Florida 32202. ..

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Federal Thirean of Prisons; 320 First Street, Washington, District oF Colambia, 20834

Flerids Department of Highway Safety and Motor Vehicles, 2900 Apalacher Parkway, Tallshassee; Florida 32399.

Florids Highway Patrol, 2900 Apalaches Parkway, TaBshaises, Florida

Leon County Jail. 535 Appleyard Drive, Tallahassee, Florida 22304

   
 
 
  
  
   
 
 
 
 
  

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Original Aniochthonous American Moor Alien (Friend) Gayernmitat Sivic and Form
“fo' 6722 Avlidgton Expressway, Suite 67213, Jéelsonville Florida state
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4+ TO ALL SHERIFES, CHIRES, CONSULS, AND CONSTITUTIONALLY DELEGATED
AUTHORITIES OF RECORD TAKE NOTICE that On-the Record. and for tie Record, presimt is
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Bloud Natural. Worn of majority on the Land, In Propria Persons by Sui Juris capacity, dus.
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Moor: Alien (Friend) “Republican Universal’-Government Form -and Testainentary ‘Style.

[AsaMARUe"s], a people of Our state and'of- sound firin- Mind;. Compétent by
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‘Courage, Temperines, Faith, Hope, Wisdoit, Will, Love,. Trith,-Peace, Freeddoin, Jostice,,
Prudence; Humility, and Service, guided only by Gur Most High Creator Divitie Sdutée for the
Force Universal. Allah (Al-iaw} whorl :sustzins all iroteciion and provision for Life, Liberty,
Property, Family, Natural Riviroiiment, and Cultural Heritage.

2, Gne, the Oiiginal Autochthondus Américain Moor Alien (Friend) Repiiblican Daiversal
Gaverhtiedt Form and Testamentary Style [AAMARD®"S], Hereinafter, “dedlarant,” rises and
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Case 3:17-cv-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 51 of 191 PageiD 336

(4776); The: Treaty of Peace and Friendship (1787), The Madrid Convention on Protection in
Mofocen Giuly 3, 1880), Articlés cf united states for Atmerica Organic Constitution (1787), Bill of
‘Riglts of united states for America Organic Coiistittition (1787), The ‘Universal Dedlaration an
Human Rights. Go48), The American: Declarition of dia Rights aid Dalies of Man (1948)
jnclusive without Imitation all annexes thereta, The United Nations Declaration of
the Rights of thé Child. (1959), The Universal, Deilaration on the Rights of
Indigenous Pebbles (ening), The International Proclamation forthe Original Autochthonons.
Ametican Moor Alien (Briend) Republican Universal Government Forn and Testamentary Style
[AAMARUEe"9}(2016), The Intérhational Resolution For Competence By
Gonduet and Virtue + Affidavit of Bona Fide Moral Integrity and
Upright. Character Lawful. Status. (2016), United Nations ‘General
Assembly Declatation on the Gianting of Independence ‘to Colonial
Counties. (Couitees) and Peoples 1514: (XV) 9471! Plenaty Meeting
4. Décémber 1960), the Hague Conventions and the Genewa

Condaéntions inclusive without Htiitation of all annexes thereto.

3.. The declarant is: General Extcutrit / Caveator-Créditor by testamentary siyle: trust
eoinicyancing of Caveats; Declaration of Final Default Judgment 16-2017-GP-idz0
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“17974, Pages. 808-844), SYTERIA LAWRENCHE*© Estate Anthentionted th Cobifieste,
Repistered Copyright, Registered Tradeniatk (Gipyright Deposit No. o6giy56)y Copyright /
‘Trad=-Namé { Tradeniatlt Contract, Registered Fictitious Name (Blorida Departiient of State
No. Giseo00d0759), Regateréd. Surety Bond.with Collateral (ug-o0616), Fidticisry
Appointment Contract igag-d0i6),. Syteria HephaibahO7@ Ketate Allodisl Cost Sehiedule:
aGa017-Cé-at4d [RB gt7 549 283 US] (Registrar (Probate: Court) Recorder Doo
$2617682126, OR BK 17940, Page 1969), Paramount Security Interest Holder

“- Hoties oF Appral -.
Foie BR gI7 543 £9 US
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Case 3:17-cy-G0881-TIC-JBT Documenti-3 Filed 08/01/17 Page 52 of 191 PagelD 387

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io. 2010059908; State ot storia tc scxanierajodyand Rontnely Sie State TCC.
Filing No, 2614-269807i-97.c1, Duval Comity Recorder UCC Filing # 2015153503, Digval County
Recorder UCC Filing # 2016185625); ovér all alphabetiéal and/or nusietical derivations and/or
Yarlationis of SYTERIA LAWRENCBO"® Estate Letters Patent, Sign Manuals, Rights, Tiles, and.
Interests indlusive without limitation of all années therste.. :

Indemnity Bond & Hold Haimless Writ of Assistance

4. The. dédamitdoes hereby reserve all Natural rights, all Human rights;

‘and. in-accord' with thé International (lranstiationsl) “Law: of Peate and the ‘Internctional
(Transnational): Law of War, dgds. hereby. give: Notice. of Natural Rights < snd’ Human
Rights ‘Infringements of International Law- of. Peace. and ‘Law of War: Constituting ‘Grave.
Brenches.of the Fundamental. Guarantees of the Hague Conventions and Gerigiin Conventions:
and all annewés therete by. this Letter Rogatory: indemnity Bond &- Hold
Harmless Writ of Assistance. AD ‘Sheriffs, Chiefs, Consuls,

and constitutionally. delegated ‘Anthotities BRS.

    

declarait in. the. enforcement af the , judgment. of this Private Civil

Action Fourth Fadicial Cireuit Case Number 26-2027-04- aiad Cart DCA Appeal 3027-

1538) for the protection. and preservation oF. (Alien Fried) Syteria.- Lawrence®™®

Estate lex loci ret site Wimucndn-Al Andalusia Northwest Amexem [Morocco] (see

Case Nawber. 16-2017-CA-2144 Dacket: ‘Bntry: At, Peclavant’s: filed, Accepted, &

Approved] Replevin: Bond RB 917 549153 U5} page 2, pages 6-47, pages 32-38, pages.
42°43). [see DCA . Appeal 1D17-1538 f Case Number 16-2017-GA-2144 = Notice'of
Default and Esteppel Wocket Entry. 18)15. iste 2 DOA Appeal. 1017-1538, et. pea Appeal.
4D17-28s2, and, ail annexes theratil; [see ‘Caveat: Declaration of Sinai Default
.Sadgment 16-2017-CP-40z6 [RE si7 549 159 US] (Registrar, (Probate Court) Recorder

Boc = 2027104679), OREK 17971, Pages 808-814)]. .

‘Notice of Appeal .
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OR. BK 18002 DASE 934

Case 3:17-cv-00881-TJC-JBT Document1-3 Filed 08/01/17 Page 53 of 191 PageiD 388

% Taw of Peace, Volume 4,” Headquarters, Department ofthe Army, Sépteriber 1979 Dagei-1}
(hereinafter eited. ag “Lora a fPeace™]

« Lew of War Manual ~ Departentotl Defense Ditettive: 2310 a8, DoD Lew af War Program 4; 1d. (2008)
fhereinaitet cited 28 “Lae af War"]

». “This Writ of Assistance is for (Alien Eriend’s).dedaranr’s exiforcement of judgment agdinst

  

forresponident) feitben) remtinee of Ransation sui ice in in the amiomitof Seven

iver, plus costs: inemrred in bitiging this action. This Writ of Assistance is alsofor the

protection and preservation of (Alich Filénd) Syterid Lawrence?" Estate lexloviret
site Molly's: Garden Counties; Tiuncuan Al Andaliéia, WNortliwest. Amexim.
‘(Moratea) from respondent{(s)". nets of ‘Trespass; Executor Be Son Tort; Uniswhul
Revetsion of Estate and. Hereditaments, and Unlawfal. Escheatinent. of. Estate. and.
Hereditaments in ‘violation af ot Beira Riesetional Law, Law-of Peace, Law af.
‘G:. The declarant seserves tlie right te seek.a deficiency against the réspondent(s) for any and all.
sims which may-rémain due to the declarant and unremitted after disposition of the collateral.
deseitbea ia Syteria Laiénez0"© Estate Title; Rights, and Interests Documents.
7» All Sheriffs, Chiefs, Consiils, constitutionally delegated authorities, aid officers of the
‘inlforinéd séivices of thie United. States have a ditty to support and defend the
Genaitcation ofithe United States, and all treaties before anid aby capt al themies

. (US: Gide $34at- Oath of ice), which ch edth oliver takes upon cominissioning:.

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Case 3:17-cv-00861-TIC-JBT Documenti-3 Filed 08/01/17 Page 54 of 191 Page!lD 389

 
   
  
       

i, AB, do: solemnly swear (or affirm) § that Twill Niport aT
‘State: ali fo -and domestics: . ‘am ATIC
‘to. the same; that I take this, ee tion ‘freely, swithont 3 any inental reservation. or ‘purpose: >of
evasion: ind that [vill well ahd faith disrhatge the du Fre officd

‘to enter. (So help me Gad)" , mee

   

 

-8:. Whoever, having knowledge af the actual couimiion fa Sony cognizable by & cont of the
United States, conoesils and does not zs soon a possible make kncwi the same to some judge or
otlies péisob dn civil or military authority under the United States, shall be fined under this title
- gp liprisoned tit more than thresyears, or both.

 

Rlements:

’ The afferse of condealirig afdlony: committed by another, bur without such previous ¢ éoricert
swith or : subsequent assistance tothe felon as would make the patty concealing an accessory
before orafter the fact. 4 Steph. Comm. 260; 48L Comm, 121; Carpenter v- ‘State, 6a Ark,
286,26 SW: 900,. Black's baw Dictionary alxdition —

 

The bare ca imbielédge at eoncéalment of ah act oftreason oF: treadonable plot, Habis withont
any assenteor ‘patticipation therein, forif thelatter elements be present t the party becomes.
principal. 4 Bl Comm. 1203 Pen. Code: Cal. 5 38:

Blacks Law Dictionary Bn Tidition

 

Byary. person who;: having knowledgé-that any of the wrongs. conspired to he' done, and.
mentioned in section. 1985 af this ‘title,. ae about to"be committed, and ‘having ‘power-to
“prevent or aid in preventing the commission ofthe same, neglects or refuses so te. do; if such
wrongfel act be committed, shall be Table to the party injured, ‘or his legal representatives, for

ail damages caused by such wrongfal act, which exch person by reasonable diligence could.
have ‘preventeds: and-suéhi. damages may. be. vecsvered. in am action. dir the case;-and ‘any:
nuniber of persons. guilty of sack avronefiul neglect or refissal may he joined as defendants in
the action; and if the death of any patty be tavsed by diy. sich wrongtel act and neglect, the
legal seprésentatives of the deceased shall have suck: action therefor; and may. recover not
exceeding. $5,006 damages. therein, for the benefit of the widow af the dacaiged, ifthere be.
Oné, and if there beno widow, then for the benefit of. the next af kin of the dedéased- But no-
ation imider the provisions of this séction shall he sustained which is not commenced within.

one year after the eatiss ofaction has ancrusd.., (RS: § 1981.)

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 55 of 192

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Case 3:17-cv-00881-TJC-JBT Document 41-3 Filed 08/01/17 Page 55 of 191 PagelD 390

@; ‘This Wilt of Assistance is im fall accordl-with the felloiwiig International ‘Treaties and

International Law:

The ‘Treaty of Peace and Friendship 787).

The Madsid Convention on Protection in Morocco (July: 3; 1880). designates the
status.-of Mordecan subjects, Moors. and Our faritilies, as Intemational Protected

_ Parsonsé: *

9 Cadified. at: [Title is U.8. .Cé11]-: Foreign ‘government
defined; [Title 16 U.S. -C8113]- » Protection of foreign
officials, official guests, and internationally protected
‘persons! [Title 18 U.8.08878)] _ Threats. and extortion
| against foreign. officials, official guests, or: jiteraationally
‘protected persons; [Title 28. U.S: ;081126] = Murder er
ananslaughter. ‘of foreign afficials,. official Buests, ior
‘internationally. protected persons: pritle. a8°U0.8,0§3204] —
‘Kidnapping; [Title 18: 0.8, 08877] — Mailing- threatening.
cqmiinnications from foreign. country.

The Universal Declaration ob Homin Rights (1948)
The American Declaration of tte Rights and Duties of Wien (1948)

The United Natiozs: Pécliration ek. the Rights Of the Child

(4959) .
‘She Universal Declaration on the Rights #fTndigenous Peoples (2006)

‘The Intemational Proclamation for the Original - Antochthonous Amoricdn
Moor Alien Republican Government Style and Form (2626)

The. international’ Resolution. ‘For Competence BY: ‘Condaet

and Virtue = Affidavit: of Bona. Fide. Moral Integrity and

Upright Character Lawful Status. (2016)

.Flerida Stand - Your Ground. Daw eodified at [florida
‘Statutes Chapter #96 §§- 7766 o12.- 776,09]

[Executive Order 137731 ~ Enforcing Law With. Respect to.

‘Eransnational Criminal Organizations, Federal Register

Volume $2, Namber- 259, Thursday, Hebruary 9, 2017:
(published Tueaday,, ‘February. 4, 2017}, pages 1069r —
10693.

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Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 56 of 191 PageiD 391

« Apostolic Létter Issued Motu Proprio (2019) 08 the jurisdiction of judicial
authorities af Vatican City State i criminal matters

© United Nations General Assembly Deélaration on the
Granting of Independence: to €dlonial Conntries

(Counteés} and Péoples 1514 (XV) 947% Plenary Meeting.
‘(a4 December 1969)

e Hague Conventions and Geneva Conventions. and all
annexes thereto

*

Respectfully and In Honon.

‘Vies Admiral Jamies W. Crawford HL, Judge Advorate General Navy
_ Redx Admiral John G. Hatmik, Deputy Judge Advocate General Navy
Coinmatid Master Chisf (Cade 04), JAG / NESC Inspector General (Code ona},
___-Speeial Assistant for Strategic Planning (Code SASP), Criminal izay(Code20)
i322 Paterson Avanne, Suite 3000, Washington Navy Yard, District of Columbia 20374-5066

Anne M, Brosinis, Acting Geniebal Counsel ofthe Navy.
_ Garrett L/Ressing, Deputy General CounselafiheNesy
2000 Navy Pentagon; Washington, District of Columbia 20350

Majox General Michadl A: Calhoimn, Adjutmt Genetl Florida Army & Air National Guard
‘St. Francis Barracks, 82 Mavine Street, St: Augustine, Florida g2084,

Rear Admiral Steven J; Anderson, Judge Advocaté General & Chief Counsel: U.S, Coast Guard
. | -CRIAG) 06-004. “HQ? room 2229-00 a
ir. Calvin Léderer, Deputy Judge Adivacate General U.S, Coast Guard.
. ; 0&-094D HOF room #R19-0D oo. ,
a _ COMMANDANT (C6-0¢2), ATTN: USCOASTGUARDSTOP721g-
2763 MARTIN LUTHER KING JRAVENDESE, WASHINGTON, DISTRICT OF COLUMBIA 20593-7219

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- ‘Secretary-General Antonio Guiterres
Deputy Secrétary-General Amina J. ‘Mohammed
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‘Office ofthe Staffiidge Advocate
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Jo: ose Ramon Cabanas Rotiriguez, . Ambassador
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Office of the United Nations High Commissioner for Human Rights. (OHCHR)
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This Affidavit is dated the First Day. of the Sixth Month
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3, AUTHORITIES ALLEGEDLY RESPONSIBLE

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Judicial Nticés and Evidence of Documentary Stamp Duty. ricin’s ath duces Fad = Notiéa & Evitenin’ OF 3929 Kh.

. Documentary Samp Dubepot
Judicial Notide of Absolute and Find} Contematon af General Execuitix of Mom's gih shticial FRad Jhelielal Noten Of abslve ond. | Zed Heb:
Syidite Hapheibat Estate Final Coolimetion of General Exacubix of Sytedia
oo. Heptolbah Eetets geil
Judicial Natide of Saqiéstrason af (ife-Renl 2nd Syierla Hepheibah Estate Séjuettratlon of Lite Rent and Estole pdt 4086 Kh.
Judicial Natipe of Aposioila Letter tastudd Motu Pragnia (2013). ioanié 4th dudicial Filed Judicial Nhe of Apostntc. [38S tn.
We Letter Issued haotu Fronio (2013). pul - 7

ain Addéridium Notice of Ls Pendens (Cadined Copy) = Dwai Gauiy | Now's Ath Judicial Reoondad dis Addendum Higics oftus [225 iy

and Testament of Syieria Lawrena-pdl:

 

No8se ot Abin o Gel Bet

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Florieta Registrar [Probeta Couns Rebordet Doce 2077086524, ORK

 

Pendens,pdf

 

 

17045, Page 6

 

 

2. WITNESSES.

identify, # possini, ihe winesies fo the afegad violations. ifthasg persons have given sistamenis fo tie judicial: autores, sand, fpassible, a single
copy af the withass sistemants or indicaia whélter pou wil, ba shle to send thom in the Adu indicat whether i is necastary io heap the entity af the

Witneésas conkktsatiat,

 

4: Pact Winess: Taquan Rabshe Gidiott-5

 

 

 

 

-B+CIDH

 
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wo PETITION © IACHR - 0000007743

 

2. Fact Windsé: Shepherdess Bartia Varden
4. Fact Witness: : Shidey Reed

4. Fact Witiss& Candia ¥ Wiltams-£1

5: Fatd Wiies& Geraanne Chics

6: Fact Watess: Paul Mury.

7, Pact Witness, Anthony Wiltems.

 

8. Br. Robert arg

 

 

SECTION V» OTHER COMPLAINTS LODGED:

"Pleda theitala whether hese fails have been presented fo tha Human Rights Commitice of the United Nations or any ether fatemational organization:

 

Na.

 

 

 

Uf pes, indicate which ofgantzation and the Méuils abtainad:-

 

 

 

 

 

 

 

 

 

 

 

 

NA __
Aikitional inteamation (tiga this spite for sny additional information you cilsidéy natassary).
WA. -
“SECTION Vi - PRECAUTIONARY MEASURES.
i4 ceridin serious and urgent sitiations, the Commission may esk @ Sista to adopl precautionary measures ta prevent Hreparabta hate tu peisivis.
indivate wtiother there is @ sétiots and amant situation of ek of ireparatie haim io parsons.
Yes :

Wes, please exptain the reasons.

 

 

 

Tresfiass Si Exodutat ie Son Tait; Revision of Estate and Heredhaments; Richndiriait of Fstata and Heréstearents.

 

Have Yau presented complains or requests in the compatant authoaliés regarding tha abeged situation?

ae

 

Yes

 

 

 

if thay have not been presented, please expisin why:

 

‘7-0

 
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PETITION = ACHR. ~ 2000037743

 

 

MA.

 

Please inchcata T the Stata hos granted any protection measures or whaihir you have requested zip.

 

 

Iie Fepenteily applied afc atitbned for proindtion miasure and have boon deniéd.

 

yor sitisbon is relat to tre death pani, Uezite whicinés trate is 6 schiaditéd axecuibon Gate. (ddim?

 

NA.

 

 

it youur-sitsation is related (9 2n atoiged forged digyppearance, pinasa indieata the date on which it purportedly oocured. (ddtiemm/yyy)

 

 

THOS

 

 

df your situation is related to a potential deportation or extradition, Hlease indicate whethiar a schiidulod dats exists. fowmmlyyyy)

 

HEA

 

 

 

dindiéate whith righis pou donsiier ta be at risk:

 

 

 

Estete Rights, Trist Indighrious Peoples" Human Righté, Nalaral Rights, Human Rights, Copjrights, Trademark Rights! Tillis, and inisreat

 

“SIGNATURE : highlyfavored syteriadgmnail ddan.
DATE : 97/0272097 03.43 AM ,

 

#-01DH

 
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: Page 78 of 191 ag

    

 

 

 

 

TAQUAN RASHIE 3s GULLETIO™® Estate

‘fauy and/or ali alphabetical andor auitesica! sarisfions and/or derivationsy

SYTERIA LAWRENCE©”® Estate

any and/or all alphabetical audiar numedieal yarisfins and/ar dértvations},

 

Notice to Agent is Notice io Principal. — — Notice ta ‘Prindipal § is Notice to Agent.
Applicable to all Successors and Assigns
‘Taquen Rabshe Gulleit-El, General Executor ‘Syteris Hepiizibsh-EL, General Executrix
‘1g the Inierest OE TAQUAN RASHIE GULLETT™ * Estate in the interest of SYTERLA LAWRENCE” ™ Estate
"Yo 6722 Arlington Expressway, Suite 67253 ‘), $122 Arlington Expressway, Saite 87243
Jacksonville Florida state Jacksonville Florida state

Tinteudn Al Andalosia No rihwest Amexcta (Mdroces} Yitnueoy Al Andalrsia. Northwest: ‘Ametony {Morscce)

RE ots sag 140 US RB 917 449 253 US:

Affidavit of Alien Religions Consul Association
‘a, First. TO: ALL PARTING AND TO THEIR CONSUL(S) OF RECORD TARE NOTICE that On
thé Record and for the Record, present is Taguan Rabshe Gullett-E], also called Maalik Rahstic
£1, and Syeiia Hephzibab-E}, also called Highly Favoted Shekinah EL, Divine Inimontal Spitit in Live Flesh
and Blood Natural. Man and Woman o€niajotity:on the Land, In Propria Persone by Sui Juris,
capacity, Jus Sanguinis; Heit Apparént by Fieshold of Inheritanes,a people of Our state
‘and of sound firm mind,

by Second, Our state, Original Autochthonous. American Moor Alien (Friend)
Repiblican Universal Governnient Form and Testamentary ‘Style [hereinafter
AAMARUC"®] is conferred ‘with all rights, power and authority fom Our Most High Creator
Divine Séurve for the Foiee Univeral Allah (All-Law) whom sustaiié: all protection and
provision for Life,, Liberty, Property, Family, Natural’ Environment, and Cultural Heritage:
Universal. Allah (Al<Law) does confer upon: AAMARUS"S the natural ability to propagate
Faitti, Hope, and Love, and extend the enilightenment of Truth-of Univeisal Allch (AU-Law]

_Allidavit of Religious Consular Agsoickation Sle O17 S04 340 US.
Aof3. ANT SH 159 US

 
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missionmiss.of Cu Most we Crentor Divine Source’ ‘for the Foree Universal Allah (AllsLaw) to
establish the faith of Universal Allah (Al-Law) throughout all of Ametica.(Al Morocca)..

Actep : 3 tanec:

e. Third. It is-hereby DECREED and DECLARED that -sdid. feligions cdusul association
‘Griginal Antochthonass. American Moar Alien ‘(Briend) Republican Dniversal
‘Government Form. and Testanientary Style does. accept.ail Tights, power and. authority
conferted arid the delegation of AAMARUS"S 2s its, Sonam, vand.as sis maitisteriel pUMpose,

humanity,

‘ds Fourth in aécord with The Hély Koran Circle 7, Thé zodiac Constitution
(Registration No. AAoeei41 ‘Truth Ai-Claiss.Ajand all aniiexes thereto,
‘The Holy Qur'an, “Phe Great Law of Péade, The ifoqudis Caénstitiition,
‘The American Declaration of Independence (1776), The ‘Treaiy. of Peare-and.
Friendship. 787). The Madrid Corivention oi Prétection ih Moroceé (Jilly: 3; 1880), Axticles of
united. states for Arneries Organic Cotistitution never) B Billaf. Rights of united States for América
Declaration. of the Riglite and Duties of Man (1948) ‘ihilusive “without. limitatién al ait aiméies
thereto, The United Nations Déclardtign df the Rights of the Child
(1956); The Universal Declaration on thé: Rights of Indigéabiis Peoples. (2066), ‘The
International. Proclamation for thé Original. Autochthonous- Amériéai Moo Alien. (Friend)
Republican Universal Goverment Fors and Téstanientary Style [AAMARUO"@] (2016); The
International Resolution For Competénte By Conduct and Virtiie- —
Affidavit of Boud Fide Moral litegrity.and Upright Character Lawful
‘Statiis (2616), United Natioits. General Assembly Declatation on the
Granting. of Independence to Colonial Countries (Countees) and
Peoples. 1514 (XV) g47th Blenavy Meeting (14 December 1960), the
Hagité ConveRtions: and the Geneva Conventions inclusive without
Hiinitation of all -annexes:-thereto.

Respectfully and In Honor.

Affidavit of Rebiaus Consufer Assocation sires Sap rez iS,
2of3 SHIT Ray Laas

 
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Verification
E Taquan Rahshe- Guillett-E1, also called Maatik Rahshe Hl, and I , Syteria Hephizibab-El dlsd cdlléd Hight
Favoned Shekinal El, Divine iimoital Spiitin Live Flesh and Blood Natural Men and Woniah of
majority on the Laud, In Propria Persona by Sui Juris capacity, Tus Sanguinis, Heir Apparent by
Fréchold of Inheritance, Original Autochthonoits Ameriéan Moor Alien (Filend) Republican
Universal Government Form arid Testaméntaiy Style [AAMARUC"8], do hereby dedare and
-affirda by-vittue of Divine Law, under penalties of perjury und er the laws of Our Most: Bigh. Creator
Divine Source for the Fores Universal Allah (Al-tawh, The Holy Koran Civele 7, The
Zctiaé Constitution, the laws af the State‘af Florida, and the laws of the United
‘States of America, that Larn competent to state the matters set forth, and hétéini, and that ail af the
Gicts stated are trae, c correct, complete, « cértain, not of misleading, a agntissible as efidenies: in

“ead ig upon on foi rhetoric as aywitnéss tothe veracity cf evidence preferred and profferéd, dedlarant
shall se State.
[State v, Shearer, 617-50.2d (Fla. App. § Dist. 19935)

‘This Affidavit is dated the Twanty-Seventh Day of the Fifth Month.
Sn the Year of Our Universal Allah {Alk-T aw}.
Fourteen Hundred Thirty-Seven. (Gregorian Calendar Year 2017 — May, 271

 

 

Tengen Rahske Gutire =z valsa called Moalik Rahshe i, Divine. Yomeartai Spi iritin Le Flesh and Blood
Syteria Hephzibah-El, also called Highly Favored Shehinah EL, Divine Immertal Spirit in Live Flesh and Blood.
Jus Sunpninis, Naural Man aod Woman af majority ob tie Lond, tn Propria Persone by Suiduris capacity, Heit Apparent
Original Antochthonous Américan Boor Alien Grtend} 1 Republican itelversal Goverment Faro and Testamentary Style

“fo 6722 Arfingion Expressway, Suile 67213, Jacksonville Mlorida state.
Timncpan ALAndulusia Nortinyest. Amexem {Morocco}

Witness:

 

Affidavit of Rellglous Consular Association 8427 £29 145 US
3af2 ABIL Si £83 US

 
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Vee O ng UT ton

Deo ssc Vaan Neralner AA da5 i ~ AA Cass A
ARTICLE |

‘The. 12 sighs of the Zodiac-and the code of mathematics scaling from zero: ta:
Aine, (0+ 9},-and the science of geametry. (Gh, comprise the Consttution of the living,
MOORISH fiation of Nerih America referred to ds, ‘Negroes who-riled the world ‘and
‘the seven: seas by. the 42. signs of the zodiat:and the science. of. Geometry, {G), for
eleven. htindred arid ninety-six years, to the {Amazon Dutch: German) Catholic.
‘priesthood: Fathers: ofthe revolution of 4799 | and the sisterhood: a Maung Chats.

The 12Juryman’s ofthe 4g; Union States society, and also the nine judges of the
Stipreme: Cotirt were folinded dpan the. MOQORISH nation 12 signe of the Zodiac
‘Constitution: and mathénidties Scaling frotn Zero fo nine (0-9). "Thus, without our Moorish:
‘Gonstitution, the: Magra Charta:~ + Emancipation Proclamation Union: Society of the my
-of white: supremacy defi initely. could bean founded 4863.

ARTICLE IL

Zodiac Constitution Birth: Right: of thé Moorish Arderiéans the. Beys and Els-

Since the az Jurgman's. af the 4B: Union States Magna Charta d@cument of white -
‘suprematy: arid fie’ nine jidges of their Supféme Court were founded Upon olir Mootish
Zodiac.12-signs mathematic Constitution, the lawmakers: haves no jurisdiction over'the:
frea MOORS=s the. Bays ; and Fis — in the inherited land of the MOORISH ration,

namely; U.S,A., Canada and- Central dnd South America.

The MOORISH American nationality and their sir names —~ Bey-and El, are their
inherited Birth Rights without a legal due process of. the lawmakers of the Union Society.
U, SA, because what aur MOORISH Fore fathers: Were, we are. that today. withouta.
doubt ‘of contradiction, ‘namely: MCGORISH!

ARTICLE (ik

‘Taxes and Military Exemption for the. Moorish American — Beys and Els

The. MOORS, teférréd to'as:-Negroes,, definitely, can-never: ‘become members,
and citizens: of the Union: Society of the 48: States, Therefore, they cannot'be forced or
idrafied inte the Union, L.S.A; Anny-or military service to fight for the Magna Charta
cede of white: supremacy. against themselves..

_ ‘Thedavanakers. of the 48 States Union order cannot force the’ MOGRS — the Els.
and Beys, to pay laves‘hacaiisé taxation without representation isa. supreme violation
‘ofthe MOGRISH Zodiac Constitution. ‘Birthrights- OF ISLAM: Wher the Unies lawriaker
‘denounce theirimmoral. Magna Charta- Cede; “and resort to the: MOORISH Zodiac

Constitution, then the’ Moors aré compelled ta pay taxes béca se every, one of the
hation willibe. equally represented by There arene roam In the science of ‘(Masonry =
the: Zodiac} for Mystic God, Teligious, warship. race; -color: ignorance, wal, Gime. slavery
and human injustice,

 
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ARITCLE IV

Adequate Erhployment and Protection for the. Moorish Americans

Every lawmaker.and the heads:of industry and. business enterprises of the 48.
“States Union order are: obligated: members: and citizens of the Magna Charta ‘Christian.
Church and Temple- system) | of Christthe King of the'Jesus; meariing; jury overthe
Wealth and éulture of the: ‘living MCORISH:naticn of North ‘America;

Therefore, by: the MOORISH -Zodias. Constitutia n, the. MOORS- _ the: ‘Beys‘and
‘Els, can'demand adegiiate ‘employment, food, @lothing, shelter, medical care,-equal
fights and respect and protection from mob-violenice rape and injustices; otherwise
without being obligated to the, Union Church ‘and religious system: of the. order of Ghrist-

the: ‘white’ son of idol af gad.

ARTICLE V’

‘iimoral Matiagé License Code ‘Against the Zodiac, Law of Natize.

“Truth, cannot be altered and: thereloré ‘need. no’ ‘apotogy. ‘and nelther doctrine
because itis the supreme mental ddcior itself; for the entire human family — Warden
“and | man.

£4} Thus thet truth is that the Sisterhood Christian Daughters of the: AMenCaN —
the Madtish: én. and women: from roanying ‘inte their Magna Charta.
‘Soiiaty- ‘af Awhite® ‘SUPE MACY.

(2)'Did you ever stop to think that woman and man are allready marriéd. by the
supremé taw.of natute ~ and thate mariage ficense is‘a: supreme act ‘of violation of
the law of nature?: The. riateral law onion between: womarrand man. ‘Spelistove. and

die reproduction of a. child: Which. a maiage fieanse plays! no.part in.

{3} Defi inilely there. cannot bé ary. itegitiniate children offspring fram woman and:man;
because woman is. the. Supremé gate of creation, of both: male-and: female’ children by”
the laws of nature which spells. (SLAM)< ‘or: i.Self Law And Master, the, caipenier and
woman. and: Sons: And "EVE" imeans the. heqative farses ofa woman and ‘Sofis,
‘fesponisibie, for EVOLUTION or. faproduction. of children. by the law of natiife: the ¢ ‘pope,
priest, and preacher, qidges of ihe: ‘Chistian. Society defi initely: catinot prove: that iheir
“ADAM” and "EVE" hada mariage license. Did you ever stop to think. that the taniage.
fisense' ‘code is. an.act of selling worian and man.back fo themselves? The bnion Magna
-‘Gharta. mariage: license céde unfortunately and: ‘ungenscicusly caused ‘the "ayhite- .
‘woman. fa be out OF fom the: human. family =-the Moorish nation, in, other ‘words. the

children fa) inherita tendenty 0 of crime,. hatred and insanity an ‘yarious. other diseases.

 
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ASLAN

‘The element of the,signs of the Zodiac and woman;and mans opposite: signs and:
firSt Maitriage. of tig: Zodiac: law of natura. No preacher and money 2 and license and
neither religion is necessary in the standard Zodiae marriage law.

IN. HARMONY: WITH: NATURE

+, Ares isficeand tibia ‘is-air

‘2% Taufust is eaiti: and Scompiois water
3. Genin i is air and Sagittarius:is fire

4. Carceris water dnd: Capricomn i is Sarth
‘Ss. ao is. fire. and d Acwsarius is ar
5

“The 4BB3: union: Bible: stony of EVE’ and: “ADAM ‘were.founded upon the-
‘Moorish: Zodiac twelve: signs law the: negative and the positive farces of naturé —
‘fernalé and male/ Woman andiman's secotid mariage'and.the elerent of the angles of
the signs. of the: Zodiac the standard universal law.

IN HARMONY WITH NATURE

4. Aries is:fire and ‘Gems is air,
2 Leos fire anid Libra.isalr.
‘3. Sagittarius is-ire and Aquarius is alr

‘Persons born under the opposite: signs and the angle § signs, are in-harmony-with
‘one another. every manner. Thus firsthand knowledge ofthe-sign- under which yait .
and-yolrmate were-homewill guide: yourdestiny ini ‘peace, bfogress arid happiriess.
forever. Letils remeniber that-thig nota theory, The Zodiaci isthe absoltite universal
standard: ‘of mamage: and burner gulderice. V Woman and inan “wail ‘know their duty toward

joom,

ARTI CLE VI

This one and only Universal Moral Law for Unity. Peace and Economic and Social
Progress

The: ‘-MOORISH Zadiac Constitution is the only univefsal ufichanged moral law far
the human family, for unity, humari equatity, respect, peace and economic dnd Social:
progress: Therefore, every MOOR — the Beys:and Els, mustbe guided'by this.

 
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.Gonstitution, and book, “Clack of Destiny” and do that whiok i is fight be téason:and have.
respect for: the ‘white lawmakers and: citizens of fie. Magiia. Charte'Union. Society: of the

43 States, inorderto demand respect from them.
‘The white’ ficoples of the Union are guided byt ‘their Magna: Chartd traditions and’

customs, and the MOORS are guided by the Zodiac Constitution'Law, Neverttiéless,
their. clistems and traditions,: including themselvas,. must be, respected by ihe. MGORS,
without subriliting themselves to any. of the Magna’ Charla customs. That whichis:
‘termed: the Christian law isa rule of a¢tion in recorded on paper and supported by
authority and force. The' Zodiac law of nature is ecordedin wisdém-6f woman and mani:
-and supported by meral inte! figence — ‘the greatest jaw.’ ‘Knowledge’ of Zodiac masonry
as shown if this Moorish Constitution; andalso.in my book “Giock of Destiny’ volume |
and jb vil) prevent a Moorish Arnenican he or she-ffon indulging? in‘crime, They ten
“would havé to-appear in the-Court Room te stand trial! Shoulda Moorish American who:
have this Constitution:and book [and I; indulge i in crime, such. ast Narcotiés; robbery,
forgery, prostitution, illegal whiskey | or alcatiol, iHagal schemes, garnbling, pedte
-bréaking, violence and disrespect for the'Law of the cily; county, State and Federal.
Theythen: have incriminated themselves and therefore will be penalized. This
Canstitition.and card and'book definitély do not protect criminals, Beware:

‘WARNING

“The Clack at, Destiny. Moorish American card: of identifi cation and’ constitution has:
“been regisiered in the Library of Caiigress and signed by the authar: €.M..Bay, H. ‘Coley
ER; -A.M. Bey, William Speannan Bey and Leslie Ferrell Bey. Are ihe only four. Modrish:

Americans of whoin hasbeen authorized:as solicitors by the author GM Bey. The.card:
and sonstitidion must be signed by-t tHe auifior. Beware of forgery orimposiefs:

A Moorish American cannot be Sonvicted’ on false actusationrameup charges:
Theevidence against: a Moarish American must be’ concrete proof beyond the. shadow.
of doubt: The Maorish nation of 180,000,000 of the:U:S.A., shall n6t be. destroyed. for.
lack of truth and knowledge ofthe law. and constitution of the MOORS.. "

ARTICLE Vil
‘The Moorish Amencans Freedom and legal rights j in the Christian union: Goust Fon:

_ fh the Christan Union Court Roori, the: ‘MOORS sannde be forced to femmdve thelr
Red Féz fram their heads; nor can they be forced to faige their hand jaké-an- oath over
the: Christian Bible. Neither can. the MOORS --the Beys and Els, employ ‘white! oF.
“Negra: laivyersito represent them. The reason for this ts: that “white” pebple and their
“Negro slaves definitely cannot represent free MOOGRISH, ‘Américans..

The: Negro is the- property: of thé Union slave holders. The’ MOORS must respect
“the court by. saying “| AFFIRM’. Here the courthas no’ jurisdiction’ over them which
automaticaly ‘makes them qualified t to: defend themselves’ by their Zodiac Coristitution

9

 
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nine months from conception’ to dirth which: makes you, ‘yourself, thé Gféat tl AM, the th rst:
‘andthe highest law of-self protection and self preservation i in- hanriony with: your. Zodige:
42 sighs unchanged Canstitution moral law-of 360 degrees squared by your number

‘nities, (8).

‘The MOORISH Zodiat Constitution is.feferred tain Christian.niason mythology
‘Bs, "The Holy Koran" or "Al Koran* . meaning earth earih; moon; stn andtieseven
‘planets of the chronology Zodiac record of the MOORISH nation of ihe North Gate—
North Ametica: The name, “Moharmed”, prophet, #éligion, Gad. Chiirch, Temple ‘and
Mosque, were ‘established. by thé Duish- -Anglo-Sayan’ Priesthood Francistan. Fathers.of.
‘Narth:Ameéti¢a who ‘overthrew the MOORISH society Gf SLAM between 1789 and-the-

Union of 1862.

. The MOORS —the Beys and Els, must never. atiempt: tc leach of lecture-in the
Christian institutions, hamely: Church, Jamiple: idsqlie, School and Hall. This is.@
“olation of the: Union sociely states right Mauna Chara code of Mary. and: Christ: The
truth ofitie, MOORISH Zodiac’ Constitution faw and nioral human principle definitely.
‘gon cts with the Christian’ Untion customs. and doctrine ‘of thé Magra Chafia from every:

tee ee

meaning: MAGNATE CHARTER of “white” peciles economic and-social atiraction only,
which had its beginning’ in the. ealonies of.his, ‘Michigan, Indian. and Hlinois th 1848:
ahd 1854 and will end in 1954. (Wa Alaikim As-salasm) Moorish Latin, which mean:
and With You be peace. (SLAM)

ifthe lavanakers- of the 48 union sidtes of North Arietics. Should attempt:
td ignore: the Mourish Americans ZoiiaciLaw ard birth fights of thé: Constitution. would
‘be. an act of's supreme. Violation of their awn Magna: ‘Gharta: Code.

C.M. Bey

 
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oo dered whoo ‘soda iM gitchleetiad7 ‘Ngteere 86 ployeaeeee A421
ch a, Geeecal and © eager Chacackes in Corte on 4 135

‘TITLE: 22: FOREIGN RELATIONS AND INTERCOURSE PAGE 954
Chapter 2. Consular courts |

   
 

piavisions: OF ‘hie. treaties af the ‘United: States with certain: foreign conntries. ‘The
ainisters.and-consuls of the United Stites in Ching, Siam, Turkey:

‘Moratéo: Muscat. Abyssinia. Persia, dnd the térritori¢s formierly 4 part of te.
former. Gttoman Empire inclnding Egypt. Duly appointed. iB reside therein.
Shall. In addition te other powers and duties imposéd upon them,

Resp ettively; byt the provisions of such treaties, Fespee ‘tively, be invested. vith
judicial: authority. described in this chapter, which shall appertain to the office
of minister and consul, and be-a-part of the duties belonging theréto, wherein,
-gnd'so far-as, the samé is allowed by treaty, and in accordance with the usages:
of the countries i in their intercourse with: the. Franks. ‘or other forei ign. Chiristian

we kee

The officers tnéiitioned j in Section 141 of this title are fully empowered to- asraign:
-and try, ic the manner provided for this. chapier, all citizens of the. United States.
changed with offenses against the dany,. commuted i in such counines, respectively,

 

Of themi is: authérized to i issue such’ processes as are siitable'and necessary. to casry
this abthorily:into éxécution, (R. S$, §.4084)

General Jurisdiction. in Civil cases.

Siich officers are algo qivested with all thequdicial authority necessary t6.cxecute
‘the ‘provisions of such treaties, respectively, im regard to civil fights, whether af
property or person; and they shall entertain jurisdiction in matters of contract, at
‘the port-where, or nearest td. which, it-was‘to be executed; arid ‘in. all other matiers,.
atthe port where, or nearést.to: which the damage complairied of was.siistained,
provided: such port be one of thé: ports. atswhich the-United States are represented
by consuls. Such jurisdiction shall embrace all controversies between citizens of
the United States, or others provided for ‘by. such treaties, respectively. (RS, §
4085)

 
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Declaration of Indépendénce: A Transcription

Notes The e following text is et, transcription af the Stone Engraving of the parcliméent Déélaration af”
independence {ifie dovitiient on display tn tie Rolunide at the National Archives Miseuin, / The speltirig.
and puncitiqtion refletts-the original.

 

“fin Congress, duly. dAT76.

The unaniniows. Declaration of the thirteen united States of America, When iv the Course of human
events, it bedemes necessary far one people 16 dissolve the political barids which have connected them.
‘with another, and td asstime amoag the pavers of the earth, the. separate and equal stationite which the
‘Laws of Nature and of Nature's God entitle tiem, a detent respect to the opinions ‘of niankind requires.
that they shoild declare the causes which impel then to the: stpardtion:.

We hold tliase wuthis to be selevident; that all mien are treated éghal, that théy are endowed by their
Creator with certin unalienable Rights, that among these are.Li fe; ‘Liberty and the pursuit of Happiness.~
Thal to secure these riglits, Governments are instituled aniong Men, deriving their just powers fromthe:
. consdat of the: sovemned,,—That whenever: any Form of Government Becomes destructive of these ends, it
35 the Right af tic People to alter.6 Gfto, sbdlish’ it, and.ta fi instituie new Goveridicnt, laying. its: folndation
‘of such principles and organizing its powers it stich. form, as fo them shall.seem mostiikely te effect their
“Safety: and Happiness, Prudence, indeed, will dictate that Governments:Jong established:should nist be
‘changed for light and transient causcs; and accordingly z ‘all éxperience hath shewn, that mankind are. more
disposed to suffer, while evils are sufferable, than to right theinselvés. by. abolishing the forms te which
they are accustomed, But wher-a’ png tain GFabuses and lusurpations, pursuing: invariably the same
‘Object evinces adesign to reduce them under absolistz Despotism, i itis theirright, itis their duty, te throw.
~off such Gavéernicnt, and to provide new Guards for their firtare security.~Such has been the patient
sufferance af these Goloriies; arid Sich is nol the necessity which constrains theni to alter theit lobvier.
‘Systems of Government. ‘The history of the present King of Géeat Britain is a history of repeated i injuries

‘and ustrpations, all: having 3 in direct abject the establishment’ ofan. absoltite Tyranny. over these Statés. To:
prove this, let Facis be submited to a candid world,

‘He hos refed Bis Adsentt Lows, the most wholesanié and nectésary for the pibblie 200d:

‘He has forbidden his GoVernors-ie pass Laws of Immiediate and pressing ifipottarice, imless suspended in

“their operation till his Assént should be obtained: and when so suspended, he has utterly neglected td
attend to them.

He has refused to pass other Laws for the acconimodation of large districts of people, unless thase. people:
‘would ingiuish ‘the zight of Representation jn the Lepisls ature, a: Fight inestimable te them and formidable

iHeé has called together legislative bodies at places unusual, unceniforiable. and distant from the depository
-of thei? public Records, for tha sole Purpase oF fatiguing tent dito camipliance.with his measures.

‘He lias dissolved Representative Housés repeatedly, Jor opposing With manly fireanéss his invasions of:
He. rights ofthe. people.

 
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He has refused: for: along time, after such dissaltitions, io catisé others.io be electexi; swhereby the:
Legislative powers, incapable ol Annihilation, have retumed tf the Peoples at large for theif exercise: thé
State réniaining in the mean time. exposed to allithe dangers ¢ oft ‘invasion from without, and convulsions.
Within.

He has endeavoured {6 prevent the population of these States; for that purpose obstructing thi Laws for
‘Naturalization’ of Foreigners; refusing td pass ‘ethiees 6 encourage their mignations hither, and raising the
‘conditions of new Appropriations of Lands,

He has obstructed the. Adiiinistratiin af Justicd, by. refusing his Assent to Laws [or establishing Judictary.
powers.

He hos niddehidges dependent c on his Will alaae, for the tenure of their offices, and the amountand:
payment of their salaries.

Bat aut their sabstarice,
‘Hé has kept aiioiig us, if times of peace, Standing Annies without the Codsent of our legislatures.
He has atfécted to render the Militeiy tadepéndenit of and superior te the Civil power:

He has combined swith others 14 subject us to a jurisdiction: foreign to our constitution, and

undcknowledged by: Gur fawss i giving bis ‘Assant ta their Acts’of. ‘pretended Législation:
For Quaiterinig larze badies 6fatmned tonps among nsi

Fot protecting them,, by-atnock THal from punishment for any Murders which they should commit on the
Inhabitanis of these Stated:

For ittposing Takes oh us without our Consent:
For “depen us in jiany oa of the benefits of Trial by Jury:

For abolishing thé free Systesi: ‘of English Laws:ina neighbouring Provineo, establishing therein om:
Acbitrary goverment, and'en ifargi rigs its Boundaries } 50 a5-1G rerider ital once an exainple anil fit
iissifument for introducing the same. absalute nile j tits these. Colonics:

Fortaking away our Charters, abolishing our most valuable Laws, and alizring B findamentally the Forms:
ofaur Gavernments::

For.suspending our awn Legi slatares, arid declating £ themnsélvés invested witli power ta legislate fori us in
al cases whatsoever.

sho.

 
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Heist this tie transporting large Ariniés of foreign Mercenaries to cOnipleat ihe works ofdeath,
desblation: and tyrahiiy, already begun with’ circtimstances of Cruéity & perii dy scarcely paralleled 1 instic
most: barbarous ages, and totally anworthy he Head ofa civilized nation.

He has Consthdined dix fellow Citizens taken Captive on the high Seas to bear Arnis apainst their Country.
is become the executioners of their friends and. ‘Brethren, iirte fall themselves by their Hands,

He has excited. datiestic’ insiirtections  ainones. Gs, and has endéavouréd te brin iz on theinhahitams of our
‘frontiers, the merciless Indian Savages, whose known role of warfard,i is an iuidistitiguishéd déstruction of.

alt ages, sexes and conditions.

In every stage of these. Oppressions We have Petitioned for Redress in the most litmble tetas: Our
repeated Petitions have been answered: only by-repeated injury. A Prince whose character is thus: marked.
by every dict which ray define a Tyrant, is unite be the Tiler of a free: people;

Nor lave We been wanting i 6 attentions to our British brethren: We have warmed them from fime-te time
of zitempts | by their lopisiature to extend an unvamintable jiirlidiction j over.us.. We HiaVe reminded them. |
ofthe | Giscinmnstanées oféur emigration aiid Scitlément here, We have appealed to iheie native justice and
magnanimity; and we have conjuied them by the ties of ourcomibion kindred to disavow these’
usurpations, which, would inevitably taterrupt our connections and correspondence, They’ too have been
deal to the voice of justice and of “corisaneunity, “We must, therefore, 2 atgliescé in the necessity, which
denouness ¢ Our, Separation, and hold them, as we hold the rest of mankind, Enemies:in War, in Peace.
Frient ds.

We, theréforé, thé Representatives: ofthe united States of America. i in General Congress, Assembled,
appealing t ta the ‘Supreme! fudge of the wwarld for the rectitude ara Gur intentions, do..in the Nanié, ind by
Abthonty. ofthe good Péopis: ofthese Colonies, solemnly publish and declare, That these Lititted Colonies:
-are;and of: Right @ught tobe Freeand Independent: States; that they:are. Absalvad- from all Allegiance te
the Britith Crown; and that all political cannéction between then and the Site of Great Beltain i and
cughitte be lotalty. dissolved: and that as Freé and Independent States, they haye-Aull Power to: levy War,
.conclade Peace, contract Alliances, establish Contmerce, and to do all ather Acts and Thinas-which
lndepesdent States may orient de. And: for the support of this Dechiration, with afi Tinh reliafice ofthe

OU

Honor.

 
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BY AUTHORITY OF.coNGRESS

 

 

 

 

 

 

 

 

 

 

 

 

 

Pablic Statutes ak Large
NITED. STATE ig oF AMERICA,

ORGANIZATION OF THE covenwamarr IN. 3789; FO MARCH 3; 1615.
‘GSBBATGED Ty WROMOLeGIial ORDER
we,

MEPERENGES ‘TU. THE HANTER OP RACH ACP-AND-70 THE -SURSEQUENT- AGTS
‘OY THE SAME SUBIECE.

- BMD
‘COPIOUS. NOTES OF THE DECISIONS.

ar rE:

‘Gonrts of the Lipitor Stokes
consThone 'THosE. ACTS, AND pow. tHE SUAIEGTS oe THE. hkwa.

won 4g
FEE LO, TR SoxnES TS on EGE Pons;
avira.
FULL GENEL TREX ae THE WHOLE WORK, ER. TES CoNCLUDIT i FOLTIE

porters wire

” ae Sanstivetien xf. tke Stites ‘States;
ana ALS,
TAREE, fyi La7r VOLUME, Coe inisa crepe or TH LOE RELATE rapa TeaMagr,
PAEOTSG AW THOMTACE, Tee sR CATE, Ere.
EDITE BUR ¥
RICHARD: PETERS, ESQ.

coteeryop, AE TAN

ened ral irvine annie ea be) ee mereenyge Hite browtse ie woes bt pointed, ct bent rovttaieeds
Pe prea at eed zit eee TH eit.

‘VOL, VILL.
BOSTON:
LITPLE, BROWN AWD COMPANY,

 

1867. 7

 
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- KFSo

_ US.

wh 8
qh SP

 

Evtered according to act of Congress, in the year 1816, by
‘wares Ch. Tarrez & Sanus Bouws,
Tn, the Gletk’s ofike of lha- District Court af tke Distict of Marrschusetts

 

or GF tomes
SEP 26 (999-

      
  

  

 
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TREATY GF PEACE AND FRIENDSHIP
 Betrsien ihe United States of Amettta, and His Fraperiae

Bajesty ‘the Emperor. af Mordao. (ay

Janiry, 1787. ‘I's all Perspna fo whom those Pretehta shail Rome OF | be made known,
ert. Wireseas the United States of: Aménea, in Gonz assembled, bi
their common bearing. dais. the wpe day of May, ore thousand
-peren hundred and , ioongtrt sropes to constitute:
‘Denjunix Hislastagirbet Thome Jefiereon, ther Ministers ‘Dienipolane mt
fiary, giting ta them, of 8 ranjorit of them, fall penenes to confer, test
snd pepociate with Lic Ambsasedar, Minter, er Commissoncz of his.
Nejeny ibe Emperor of Aforoceo, conceming = heey eran of-amity and
sfminercsi to make and reeeire propositions fir treaty, and io
canelads and sign ihe sxmne, irafiemitting i to the United States in Cane-
gress astembled, for tint Gaal safifieation; and by one other “comeis-
zion, bzaris dato the elarenth day of Bitech, one thoussnd cern Busi
dred mad eighty ise, did further.t empower ‘the said Ministers Plenipoms-
. Gary; or a ashaty of them, ip write. uridér thhic hands and Seale,
«ta Bppdint Such iggent is rhe paid bosiness 0s they might think: mopar,
“with garbority under the directions aed Instractions of the sard Slinis~
: tars, fo cormmenee aid prosecute the aiid meqocistions bid conferences
for the and ealy, prinsded that the said treaty shield bo elgned by the
- exhd_, Binisters > And whereas we, he aad, Tokar Adema aad ‘Thomo:
Jelzxson, two of the ssid Ministers Plenipotentiary (the said Benjamin
‘Fronkiia being abeent) by wilting under the and and sea) ofthe said
Tobn, ‘Adem at Ennion, Odtober the Afb, ong thonsand seren endred.
and sighte-fte, and of thr end. Thoons Jefterem: ai Brides Ociabor the
elorensh at tho same year, did.@ ae eee Tees Bee ; Spent tn che
eee aforesaid, givieg: him: neers tharcio. ect oy the said said
‘getond Sommission, we were puhocee tn fo give, and fhe son
Barclay, in pursuance: thereat hath 1 sxlicles fox". treat wey ae
wally and commerce: Lebweca the Gaited. tates-of America, and hia
aise the Beiperor of Alorante, which articles, writtel in the Archie
: langoage, conknged &y his said. Hejeais t tha oper of of Moerocca, and
ued with bia royal weal, being transl ope ofthe eid
Waited Stotes of Ammzics, tice, together wikine attestation esets annexed;
“are in the following: words, 5, lp Wits

Ora)
EAE, | -
ia the Name of Aningerr Gon...
This is of Prace gad. ‘Feandshy astabfished het 1s.
and the tina ee of Americs, whisk is confirmed, and which we
“have ordered te he written in this book, and scaled’ gith ons rove ard, .
ai gor court of BMovoces, on the. ivedty Sith day's of the i ae

of Slieban, fs: the-year:onn thenund rro-k dred,
a toma nee C ot irtsting in God t

 

 

 

 

. ARTICLE L
We Seitare itint both th pati have. agreed thit thie. Lieity, consitiing

2 8y eh asting porpess thirst: menthorid,"" passed Hatch 5, ATE:
Bat §, aa ral tpg Bar ths
ta ah Morac, yeas We, pew, 48 ne e apnpriaied fer eGectlng a neguitation of the tour

_ nog

 
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TREATY (ite MOROCCO. ite7. 108
of tronipfive aiticles, shall be idseried Gn this Louk, and: delivered 15. Eopite’s!

the Heomble Thomas Barelsy, the agent of the United States, now at Consens ca tha:
Gur court, With. whose approbation it has heen. made, aad whois duty Fe
authorized om theif part to teat with as concerning aii the motlere con-.

‘pined thirein,

- ARTICLE, | |
Uy either f-the parifes chal bé ot wor with any nation whaterry, tha Neidter pig
-@ther gartyatell net take a coremisijon froen the eoenty ner Sight under shall take colar
theix colours, pe i thy examy of
-ABTICLE IL. ae
~ Sr either of the patties shall be al war with any aaiioe whaterer; ind Teegniston i:
sakn apeize halen sane te that nation, and there shall be found on baird . Fane OF ca
subjects or.eflucts belonging to cither of this parties, the sobjecia wuall:
‘be nensde Wbety, cat phe effects refamed to ihe weer... And Hany
cords beloneiog to cay palios, with whois either of the partes sill be
ai war, shall:be loaded oti vessels belonging to the other party, they chal
pass freccend ammefested, apithest toy attempt being tade:to the or:
daisin them, BS
A, signal of pia shall be given to all gessela belonging ta both partieg,. Sider pee
by Which they ae to be Lngwn when they sect at sea a07ths coms bepress:
mpanider of & ship of war-of either party sual Dare other: abips under "
his convey, the declaretion of the'comemander thal‘ alone be saftcicat
te exempt any of then: fom examination.

ARTICLE -V_ a |
_ Ufeither of tha parties shall Ge at war, and shel] meet a veeeel a pea: flor vessels .

keloiging. to-the otiter, Wis agréed, thet ian examination iW tobe Bell bere
eager it shall be dose by sending x bout with two or thrée taen onlys pais =ae
rand Jf-eay gun eholl be Gsed, and injury-done-without reamm, the ~~
offinding party stall make good all damages.

Ffany Moor chall Sting Ghisens of Yhe United States, ar their effetta, Cikzens oftha-
‘ya his. Majesty, the citiaras shall immediately be set ot Hoarty, and! the U5 coeur,
fiscts restored yand in Vike manner, ifany Moor, not a eibject of tbosg Peter
_daesinions; shall make ptizé of aay of tie oltizens of America, or them
afenty, nad bring theen inte any of: the ports of his 2fejesty, they shall
“bd immediately released, os they will thent be convidered. oa under: his
Aidjesty’s protection: .

Apritie yan a

If any vessel of either party shill pit inte 4 pert.of the Gther, and -Vestely went
haya eeeasad for prowisinns ar other supplies, they deal] be’ foraithed ina suppiien, 26.
‘withoat any interruption or, molestation, ° pa sakes

ef in} veel of thie United States: shell meot with 2 dimster af 203,. Provdoais
ant per ints one of our ports i repair, she shall be at Wborty to land Beat pitts
and re-lood har entgo, withent paylig aury-doiy-whratever,.

ARTICUB:ES,
Hany vessel of the United Stated ehall be cost on hota on any part:

of, eue-poasts, sha shall remain vi the disposition of the owners, and ne.

age zhidl alempt.going pear. hoy’ witlsant their approbation, 2s ah= is.
ae 4 :

 
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ite: TREATY WITH HORGGDO. 52.

Regain tx thén eogaidertd garticiidarly index Gur protection; sad if-any wenn! of
saat tie tha Toited States whet "bg. dared ta saat: ipto’ oar porls by sites of;
being forced ‘Weather, or otherwise, abe chall not be compelled ta land her exrge,:bat -
imager = ahall remein in deanquility bod! tha ‘commander shall think, proper 15,

_ Proceed on his voyage. - ,
toe AREIORE

Veerlspro- Hf any vextel of alther of the pariies shail hare an impagcment with a,

leptedincere vessel belonging to aay of the Christicn powers within.gon. shot'of the

Ms __Sorip of tia ether, the ressl sa engaged shall be defended 20 protected’

"88 Tench at possble Got she o fo safety sand if any American vessel
shall ba cet oa mhorsan the eqast of. Wadaonn, af any evist thoresbont,
the. peng @ belenging io bex shall be. protected and assisted, ant], by
the slp of God) they. shell be sent to their country. " :

Friviegerof [fare shell be at war with any Christian power, and any of cer resaels
gperisese gol Boas tho: ports of thy United States no tease] onging ta -tha
‘ ‘@nemy, shall follow. undl twentydegr hoor afer the departure of cnr

“eosrdlag nnd the sume regulation shall ba bheeryed towards the Ameri-.
oan vessels galling from our ports, be Hlistr enemies Moors or Christiane,
,obeeniwer. Uf amy ehip.of war belonping to the United Steles chalf pot into any°
Pea ts of oor ports, 3h gall not be examined on any pretence: whatever, eran
-empinad, though abe should bere fogidve slaves on boat. mar shall the governor
oF cotoinander of the pline cdmpél then to be brought om ahoow oa may:
Pretext, riot xequire sup payment for them,
Siecle. I aship of-war of either garly shall pat ints @ port-of the other and
‘Asberined slots, it shall be retuned rom the fort with an equal aumber of gan
Rot wihmarrorieg. = equal amber OF G38,

Coommtsen _ “The commerce with ‘the United States shail be on tho dane footie
Generhe Sts the commerce with Spein; or ns that with the moe: fereured natioa
ured mica. Sor the tine binngy and tel: citizens abell be respenied aud estestaed,
" and have full liberly $0 Dass sod rerass der conatty amd’ gesporte whee
rex they pleas, without interruption, =

Cok ARTICLE ZY,
Paige” Mierotiants of doth Countries shall employ olf dich Satéenpieedére, and
DEE RNIy | "Fadl other persons to nail them in thet boriness, a= they shall Tok

[Ne comevinder of 9 vemed aball transport his board .
- Snother tesval; he shall not be detained B port jonger. thaa Bs ney
an gor cel

think propér; tod all persons empl in cading. &

‘of In any.othex Isbonr whalever, shall be gaid =f Eke cnt: Borda .

“Rot morg and noe les. reais be paid at the customary rates,
ARTICER EVE,

Jacemolwen Iv icore.of a wer. between the parties, the pelicnize are ot to be:
os ae ‘made slaves, but 40 bs exchanged he for another, -exptates ‘Groene
tiutexchanged, “lice for officer, and one private man for another: sud if there sh
‘prove a defielaney on either side, js’ shall. benmade up by the payment
‘OF one hundred Mexiean dollars far é2ck § wanting. And it 35
“greed that sll prisoners shall be exchanged in keeles tnonths from tha:
‘Hine of their belie taken, and that his exchange my be effected. bya

“‘Metchant or any vther pérson anthorived ‘hy eliker 9 ihe pasties,

 
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TREATY: WiTH MOROCCO. len. 108.
ARTIOLD XVIE inshinsi
‘Mevehdhta shell not bs ‘compelled'ta Hay Or sell anny Lind of goods aes .
fui, mach 2a they eicill Gigk ef aacy bey and of af
ut euch hey atl as are pr hed ie bar inde a ats of ated
ARTICLE XVHL

AH gooda shall be weighed and examined ‘befixe they ark ection. cresty
board, and to axoid'all detention of vesiels, rin Befine they ‘sbail after: aie
wards be suade tralia 3t shall Stet -bé rordd:that contraband goods - ome xraton *
chave been sent on board, in which ease, the persons whe took dhe ost Byatt, aad ne
trakead goods om board, shall be punished aovording tothe asige ond cow of fad
easter of the. country, mad ‘pe-olber person ahsterer sali be infered,
rer eal thi Slip ‘or Cargo i incar wy penalty or damape whatever. -

ARTICLE REZ.

Mo vessel shell be detcined jn port on any piclanca whatever, nae be ésjets
\bliged to take cd board aay aades aoe the moet ha eee eee
eee ea ny to agted fos the Seight of any goods

ARTICLE EE.

Win af the citizensot the Dalied Stues, or mh persin’ tinder thels Tow diipstes
Seas ire, S a Biles oe OP 1d. Comet ghalk whall bas aeicled,
ide: hetwoen the partes, end whaicyes the consul what Tequize any’
‘iil or nesistaices fon mir eet ‘to enforce Lia decisions, if nicl
‘be immediately preanted to

. ARTIGER RI.’

We é.citizen of tha United Steter dyoala Kill oF wanod & Mont, ar, a O% Haw eiees
the conti , Wf a Moor aholl-kil or wonnd a-citizen of ihe United dull Lepr
Sete, t the; ax of of the ‘counizy shall take place, znd eqai) jovica aball.
be sendired, ths: cones] amnion at - the: thattcind if any delinquent
shall ‘mike bis exespe; the eons) shall riot be anawerabt fot him ie
apy manner whaterer.,

ARTICLE X3i-

Wan American cltiien shall dis ‘tn, our- county, and no will ohall Bow euaws.
appeer, the consul ehall take possession of his effkets: and if there qhall ies ae
be ne consel, the effets ahall be di id the handa of some person. . ‘dagond of
worthy af trast, watil ths mays appear whe has» right ie demsnd:

‘thom: but.if- the heie-io the person deceased be present, the p r
etal be daivered to Lim without intercuption j- and if a will sie

"pears the prey exty shall decrtnd agrevable ‘to that will. as SOON a
aanl shell declare the validity eieoh. ~

ABTTOLE SCE,

The consuls of the United States of Ameti¢a, ehall reside i any mom. “Consulekid

port of iz dominions that they 2 Bhall think proper; and they whelf Be ther prunleges.
. jand-enjay all the privileges which tha ‘ceosula of any other.

‘nation enjoys and if any of ious of the United States shall con-

treet any dehes aren ents, the consul shall not be in R SHY MaNHeT

aeeodntatls for them, onles be shell hava givea-a promise in waiting:

fer the payment ov. julbting thereof, without shich premise in wnkag,

-bo application to him for zug redress shall be ba Henley

 
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108 ‘TREATY WIPR.MOROCCO, 1187.
ARTICLE XXIV.

Repsisiions in EF “ary differarices shiall arise by oflier party Jaffinging on any of ths
eagofmer articles of this treaty, peste aad harmony shall remain notwithstanding,
yy the fullest fore, onli] a frendly. application oeball be made fr an
Rea pement, and until thatepplicetion shal] be rejected, no appeal ‘shall
Ye.made'td.arma. And if war shall hreuk out between the parlies,
ising onils shall Be. granted 14 all the. subjéels of both parties, to die-
‘pose af thee efiecte and retire with their property. ‘And it ie farther
Geclered, thal alatexer tadelesieds, ia tends ox otberiice, ‘Shall be
‘Ranted te ang of the Christen Powers, the aitisens of the Unlied States.

: be equally entitled to thea. .

| ARTICLE XEY
Dusine ‘This treaty-ehall continng in full force, whbithe help of Goa, for Ay

trey. Fears
“We bare delivered tis bock isto the hands of the ‘belirementinnsd.
Thomas Rarelay, om the fire day of tha bieeed month of Tamadis, in
abe yest one thonsand tira bandrad, ” a
‘[ certify tbat. the 2anexed js 3 true-copy of the -transkilion oiidé by:
‘Tnase Oardoza Wonex, jnterprelor at‘ Morocea, of. the irealy his
‘tween the Evaperor of Mosocca and the United Sitesof America.

THOMAS BARCLAY:

ADDITIONAL ARTICLE.
a, Groce to the enly Gon,, . - .

_eneh of ; Jz. the underwritten, the seryant of God, Tshor Dead Abdethank Fen-
US sere nish, do certify; that His Imperial Majesty, my mises, {whom God pre.
ected ‘gerva;) hating ‘concluded. treaty of peste and covumeres with tho
United Statés of Ameries, bes ordered mie, the hetier to complesi is,
‘and in ndditien of tha tenth article nf the treaty, to declare, Phat i
any seaieh belonging t6 the Uulted Slates, stall be to any of the ports
‘of. dis Majesty's dominions, or Within goo-stiot of Lis farts, she shall be:
protected a5 mach as zecsiblos, and no vessel whalever, brlonius either:
ta Moorish or Corislian Power, with whan the Talted Ststex maybe.
at war, shall bo permitted to follow ar enesee her, ex we now deem the:

. tizers of Anieticn om pood Gilead
_, And, in cbolicnce: to bis Blajésty'¢ eGminands, 1 cectify this decknra-
‘ton, by patling my Ieud ad sea} ta it, on the eivhteanth day of Ram

'aa,{a) in the year one thodsand bro ‘inmdréd.

The servant of the Hing, my master, whom God preserre, .
TAHER BEN ABDELKACK FENNISTL.

Edo costify that the bore ie n true copy of the transition made at.
Hotozeo,'by Isasa Corder Nunez, inferpieter, of x declaration
made and zigand by Sidi Hane Taher Fennuh, ia additiaa tn. the
treafy bolretn the Emperor af Mozenco and the United States of"
Aunerica, which declaraiion the maid ‘Taher Fesnish made by the:
arpress directions of hit Bajos,

 THOMAS-BARCEAY,

~ patio of the sar of the flrgira 1286, ensinienced any the Sdh 346, tot the gent af ont

 
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TREATY WITH MOROCCO. Wei. 105.
Now, kxow ve; That we, tho eid Jokn Adams a2 Thome Jofiae

sou, Miniétérs Plenipotentiary aftiresaid, do apprare and conclade the:-
eid treats sod Sheed ne end Hiaaee ‘herein contained, TESErving

7 oth pee ie fates. tn” 3 ; .
ne en ca seep Ne United Zistes in ‘Congress assembled, for

‘le testiineny whetedt, we bare signed tha rane with our names and’
seals, at. tha pisces. of our. Trepective residence, ated at the deter

 exprened ander our digaetares tespectively..
JOHN ADAMS, _ (tem!
Lantos, Sentry 25th, exer, “7?
‘THOMAS JEFSERSON,. ft.a}
Poth omy Late (ta)

win, it.

 
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RIGHT OF PROTECTION IN MOROCCO.

Gonvention signed at Madrid July 3, ‘7880:

Effective from: July 3.2880 ~

Ralifications exchanged. af Tatgier May 7, 188i

Senalé ddvice and-consentie rasifedtion May: 5, 268F .

Ratified by the President of the United States Ma ay 10,2881

-Proclaimed' by the President of the United States December 21; 1OBL

_ Ratification of the- United States deposited at. Tangier March §, F882"

Amendment, ‘Tmplementation, and letminaiton: in pari: Provisions. af
the General Act of Alpesitas af April.7, 79062: ‘prevail qver any.
conflicting - provitions;: article. 22. iniplenienied by atticle 60 of
the ‘General Act: “‘extraterritoricl juridiction in Aforacta.relin-
guished by tha United States October 6, 1956: article 15 relating
to. ‘Morarcan nationality absilere and-without! effect®

"22 Stat 817; Treaty Series 246'

[rmanstarion]

“His. Excellency. thie President of ‘the United States of America; ‘His Maj:
- ety. tic Emperor of Germany, Bing of Prassia; His Majesty the Eroperor.of
Austria, King of Hungary; His Majesty. the King « of the Belgians; His Maj-
-esty the King of Denmark; His Majesty the King of Spain: His Excellency
‘the President of the French Republic; Her Majesty, the Qticen of the United
Kingdom of Great/Britain and Inland: His Mafeay, the King of Tealy; ‘Hig
Majesty the Salta of Morocco; His Majesty the ‘King af the Netherlands;
His Majesty the King of. Portugal and the Algarves; Bis Majesty the King of
‘Sweden and'Momway:.

“Having recognized’ the necessity af establishing, én fixéd and uniform basts,
‘the exerase‘of the sight of protection ‘in: ‘Moroceay. and: of: seitling. certain
‘questions’ canmected. therewith, have appointed’ a& thelr ‘Plenipatentiazies ‘at
the conference assembled-fer that purpose. at Maddd: to wit:

“His | Excellency the President.of the United States of. America, General
Liicius Fanehild, Envoy Extraordinary and Minittes Plehipenehtiary of the
United ' Btates: tar Eis Catholic: Majesty;.

irs 486, pork a AGES tee ure, 189 of the General Ant:

-® Befattment of State Bultsiin, Nov, 25, 1856, p. 84,
* Sen foohidte 9,5. 77,

FI .

 
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2 MULTILATERAL AGREEMENTS, 1776-1917

Fits Majésry’ the Exiperot of Germany, King’ ‘at Prussia, Count Eberhardt
ae ‘Solis Sonnewalde, Knight Commander of’ the ‘fitst class-of his: Order,
‘of the Red Eagle with oak‘leavés, Knight of the Tron Gross, ete, te; his

a Extraordinary and’ Minister’ Plenipotentiary Héar’ His - Catholic
ie

His Majesty the Emmperat of Austiia, King é of Hidgery: Count Exiannel
Eudolf, bis Privy Councillor in ‘actual secvice, Grad Gross of the Impefial
Order. of Leopold, Knight of the first class of the Order of the Tron’ ‘Crown,
cic. tcc, His. Envoy. Extraordinary and ‘Miniter Plenigotentinry near His.
Catholic: Majesty;

His Majésty'the King of the. Belgians, Mr, Edward Anspach, Officer: of
his Order,cf Leopdld, etc; tte; his Envay ‘Extrairidinery and: Minister
Plenipotentiary near His Gathakie: Majesty,

His Maicty the. King of Spain, Don Antonio ‘Citioves del Casiitin,
Knight of the: distingtished' Order of the. Golden. Fleéee, ctc.;: ting ‘President
sof bis Cound! of Ministers:-

His Excellency the Président of the Frenth Republic, Vice-Admirdl Jauras,,
Senatar, Kaight } Commander. ‘abthe Legion of Honor, tte;,'ete., Ambassador
of the French Republic near His Catholic Majestys.

Her Majesty the Queen of the: United Kingdom. of Great Bai itain and
Treland, thie Hororable Lionel Sackville Sackville West, her Envoy. Extranr-

didaty.and Minister ‘Plenipotentiary: near His Catholic: Majesty, who. is
likewise aiithorized to sepiesont His, Majesty the Kite of Denmark;

“His Majesty the Ring of Ttaly, Count Joseph Greppi, Grand Office? of the
Order of Saint Maurice and: Saint Lazarus, of that ofthe Chown of Tally,
ttc.; etc, his “Envoy Extradrdinary and: Minister Plenipotentiary: near: His
Catholic -Majestyy.

-His Majesty: ‘the'Snitan of Maracéo; the Taleb Sid Moharstied ‘Vargas,
hig Miruster of Foreign Affairs! atid Ambsscador Bxtraordinaty;

“His Majesty the King af the Netherlands, Jonkheer Maitrice de Heldewier,
Commander af the Royal Onderof the Lionof She Nether Knight ‘of the
ear, His Catholie Majactyy ne

“His “Majesty the King: of: Portugal and the .Algarves, - ‘Cénmt. de Cast
Riherrd, Peer of the Realin; Grant CYoss of the Order ‘GP Chris, etc, ett,
Be Envoy Extraicdinary and Minliter-Plenipotmntiary near His Catholic
Majesty: |

His: Majesty ‘the King: or Sweden .and Norway, Mr. Henty Akerman,
‘Knight. Commander af the first Gass af. the: Order of Wasa, ete, ‘Glen, his
‘Minister Resident near His Cathalie: Majeny;

 
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RIGHT OF PROTECTION: IN. ‘MOROCEO—JULY 3; i880. 33.
“Who, in: -Vittué,. of their fill powers, recognized as being in:good ¢ and dit:
form; have agreed upon the follawving articles:

ARTICLS ‘et

‘The. conditions wider which ‘provéction.mby be conceded are those. ésrab-
lished in thé British aid Spasiish treaties with the Government of ‘Morocea,
and 'E in. the convention mudé betiveen tat Gévernment, Fiance and-otlier
powers in’ 1963, ‘with the modifications introduced by the Present convention.

Apr, 2:

Foreign Represiaiatives at thé head of a Legation may select their Inter-
preters and. einployces friim among the subjests of Marneco ot others.

‘Whete protected persons shall‘be subject-to-no ‘duty,. impostor tax: what-
every other thast these Stipulated in articles $2. and 13:

ART. g

‘Consuls, Vice cofisils isioF- Cciinilar ‘Agents having charge ofa post, aid
residing within ihe texeitory. Of the Sultay af “Monocea, shall be allowed to.
select but one: interpreter, ond soldier and tivo servants ftom among. thesiib-
‘Fects.of the Sultan! unless they May require 2 native searetary,

“These protected persons shall, in like manner; be subject to'no duty, i ine.
Bost or ‘tax whatever, other. than those’ stipulated § in. articles, #2. arid 13.

Ant: &

Tf a. Representative shall’ appoint a: sibjéct of the Sultan to the’ office: of
‘Consular Agent in a towt: on. the coast, stich: agent: shall: ‘be respected and
honored, as = shall the members .of bis family eccupying ‘the.same dveliing
with him, und they, like him shall be subject té no duty, i impest or tax what-

ever, other than those: stipulated & in articies 12 and:13;. but he slia not have
the tight to protect any subject of thé’ Sultan other than the: inembers of his,

ows family.

ta U. S. note of. Feb, ‘U5: 1994, addressed’ to the! Feenels Ambassdar.at ‘Wathington,.
tated in past: -
a “The provisions of the cobyrniion of 1863 appair io ‘be siilistantially. the same-ns the
‘regulations relative to protection adopted bp-common-consent by the Negation of France:
and the Governziedit af Morocco, August 19, 1863," yeprinted in “Treaties in ‘Foreey. 10s,
vat-the end of ihe Madrid‘ foinvention, +» « The: Oritish and Spankh treaties mentioned in
Axtele T of the Madrid convention are presumably the general neat of December 9,.18565;
between Great Biitaly and Maroecy, and the imaty of commetcs an daipvigation of Novem
ther 26, 1061; between Spain nnd Mozoceo” (1934 For. Rel..909,}: ‘For background, see
Fackworth 554.
* For texrof the 3863 sequiztions, 7 ftp, 78; for the Betieral inesty of Dee: 9: 1856; between,
Great Britain and ‘Monoceo, see Britith snd: "Foreign State Papers, vow, 46,-p, S96: ‘For-thes,

treaty. of commerce tind navigation of Now. 20, 3861, Setween Spain and Moroeeays sec tid. ee:
vol 53, p. 1083,

 
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74: ‘MOLYILATERAL AGREEMENTS, 2776-1917
"He may, hoviéves; for the exercise af his functions, | havea protected soldier.

Oificers in. acting chargé éf Vice. Consulates béing subjects of the Sullan,
‘shal, during, the exercise. of their Fimetions,. enjoy the same rights as‘Con-.

sular Agents whi aré subjects of the Sultan,
AGT, 3:

“The Government.of Motdecd récognizes the-tight af Ministers ‘Chargés .
PARaires and ‘other Represcatatives; swhich isi granted 6 then: by treaties,
to select the: persons: “wher they: employ, cither in their own service or that
Ab their governments, unless such persons. shall be sheiks or other. eniployees
of the Government of Morocco, § seh as soldiers Gf the line or af the cavalry,
‘in addition téthe Maghaznias In cominand of thelr guard? In Bike manner
they, shall not be permitted t to employ any subject of ‘Morocea who is under
‘Prosecution,

Tt is understood thar. civil sullé. commiéncéd“beléte protection; shall ‘be:
tamninated before the courts which lave institiited ich proceedixigy: The.
execution ‘of ibe sentence shall suffer. no hindrance. Nevertheless, thé Ineal
authorities of Morocéo shall take tare to. communicate, without delay, the:
senténce prantunced, to the: ‘Legation, Consulate ox Consular Agency ipon
which the protected person isdependent.._
commenced, before protection owas withdrawit froin, hem, theis: case shall
Betried d by the court béfore which it was brotighh. -

The right! of ‘protection shall iiot'be exercised’ tawatds: persans-imnder
Brosesution for an offense: ‘of eritie, | ‘before they have been tried by the: dite

bas been executed.
Axes 5
Protection shall extend: to the family. of the person prarécted. E His dwelling
shall berespected.

Tt is understood. that the family 3 is to consist paly i of the: wife, the children,
anid the minor relatives dwelling under the samé roel.

Protection shall not be hereditary, A single exiéption; which was estab.
‘Behed by. the canyention of 1863; "but which is not to create. precedent,
‘shall bé maintained ini favor of the Beichimol family.

‘Newertheless, if the Sultan of Mordzco shall prant another extention, each
od the: contracting. powers shall be chtitled en claim 4 a sitidlar contession.

ARTE

Forcign representatives < shall iaform the: Sultan’s Miiivicen of Foreign:
Affairs, ‘in writing, of. any selections of an employee mail by. them:

 
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i

_RiGHT’ of, PROTECTION EV MOROCCO—JOLE: 3,. 3280" #.

‘Whey shall furnish airhmally ¢0, che Said Miniwée alist of the named of the
persons protéctéd by them, or by their Agents throughout 1 the States of the

Sittan of Morosxo,.
" 'Ehis list Shall be-eeinemiitied ta the!Tocal’ authorities, who shall. consider

AS persons e enjoying protection only those whose names are éoutined therein.

Apr, E.

‘Coamilar. officers shall transmit each. Year to the authorities of the ditrict.
dn which they Tedde' < It, Gearing’ ‘their Seal, of the persons protected “by:
them: These authorities shall transmit it io the Minister of Foreign Affair,
to the end’ thats Hf it-be not confortiabile fo the regulations, ¢ the Representa:
tives at Tangier nay beinferniedaf thefact.. os

A cosular officer shall ke required to give immediate infomation of any”
nee that nidy-have taken: place’ among, the: persans. protected ‘by his.
Consulate,

Aer, 9

‘Servants; fainkitis and: other native. employets of native sceretatizg and
Interpreten shall-aot enjoy protection. The same shall be the-case. with
Moéricsh employees orsérvants offoreign subjects.

JNeverthéless, the Iocal-anthorities shall not arrest an employee:2 or servant
of a mativet alficer in the:strvice of a Legation. cr Gonnilite, or of a foreign:
subject ot protested Person, without having notified the authority upon + which
hvistependent-

‘Ef a-subject, of Maracta dit the. seevice-of & foreign subject. shall kill of-
wound any person, or violate his donticile, he shall be arrested intirhedintely,

hut the diplomatic or. consular arithority under which He is shall be notified.
withont delay.

 

Anr, 10.
Nothing is chanped ‘with, rigard to the Shiaton. of brokers, ns established

by the: treaties and by the: convention of’ ‘1863, except what is- stipulated:
Telative to taxes, ini the following z articles,

Ast. i1*

The sige to: hold: property, is. recognized. in Mores as belonging. te all.
forcigniers..

The  plirchiase of-propérty niuit take plite awith the previdiisesnseitof the. -
 Govertiment, and tha tile of such property sball'be subject 19 the forms pre-
scribed by tie lays ofthe country.

~Sigpiensied by arty 60! of. Geaern Act ef ‘Algecttas ar Apr 7, 1906 {ES 456); post,

 
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“FE: MULTILATERAL BRAL AGREEMENTS;: 1776-1517.

_ Any questing, that misy arise concerning this right shall be detided decard-
ing to the samc laws, wilt the privilege af: appeal & is the Minister of Fortign
Affairs stipulated in the treatics.

; Agr, 127"

Foreigners, and protected persons whis are-tic-ceners.or tenants-of cali
vated land) 28 well a3 brokers ‘engaged in agtiéulfore, shall pay the: agricuk
tural tix: They. shall send-to their Consul, annually, an état statement of
what they pastes delivering into his hands thé amount of the tak.

‘He who shall wiake 4 false Statemént, shall. be fined double the aniauiat of”
the: tax. that he would regularly have ‘Been obliged 20 pay. for the property.

"The nature, method, date. and apportionmént:of ‘this: tax shall. form the
‘siibjéet-of a special’ ‘Pegtlatlon Abatween. the Representatives ofthe Powers.
nd the Minister of Foréign Affairs of His Sherectian Majesty.

Agr. 137

: Foréiguers, protected . parsing and ‘brokers owning. + heaits. of burden: hall,
pay what is called the gate-tax, | The apportionment arid the manner of cole.
lgeting this tax whith is-psid:alike. -by fordigners and yatives; shall kewize
_ Forni thé subject, ofa. spécial ‘regulation between the : Representalives of the.
” Powers and ‘the Minister of Foreign Affairs of His Shercefian Majesty.
“The. said tax shall not. he increased without B new egreement with: ‘the:
Representatives of the Powers,
Ant, ‘14

The mediation of i interpreteis, native sectetaries or soldiers of the: different.
'Lexations or’ Consulates, when: ‘Persons aft conténied whoare not“ under
the; ‘protection « of eran, or Gonslate 4 shall te peste. only when

‘enrsular authority.

 

“9 Remilatiins in tSécutlin of art. 12-were signed at” Tangier Ror, (S80, PRET. (Great.
Bats aie Papers, 2882, G $163 ;'Britich ond Feraign State'‘Papars, wol72; p, 636:
TRegulations In exitubion of ort 19 were sicnid at Tangier Mar ‘30; REBT (Great:
‘Friis: Commend, Pagers, 1882, EY S168; atid ond Farsigi Stare Papers, ‘ol, 72,2. IE .
Geert). and on June 2,-4896-{Gustay ‘Relof, Das. Sjentecrehin, vol. UXIV, p. $27"
(French):
_ The word “26 wastomitied inthe gatulalion of: the convention as itwae printed:
in, 22.Stat: 823. Amémorkadum | in ‘the. fles.of the Department of ‘Stats dated Apr. 28,
‘ 1635, take: nofé.of the error in the English tenslation atid Wirectd Heat the constetion.
bemade? in the “pamphlet copy of the convention.

 
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RIGAT OF-EROTECTION IN. MORGOCO-JULY 3, 1680. 77
Arr i?

Any subject of Moracés who: has. been-natiiedlized in, 2 foreign coumtry,
and-who shall returi #4 Moraicca, shall after having remuiined ‘for 2 length.
-Of time-equal to. that which shall ‘have been. regularly: necessary for hitt.to
obtain. sich Hatiralization, choost‘ betweén: entire. submission a: the; Jaws:
of the Eiipire and the obligation to. quit Moroeco, unless it shall be proved.
that his naturalization f ma foreign country was obtained with the ‘consent
Of the Governtient. af “Morocca.

Foreign ndturalization heretofore acquired by subjects of Morocco accord-.
ing to the rules established by the’ laws of cach country, shail be. continued to
Shem as regards ail its effects; without. any céstriction,

ART. 46:

‘Wo igtegule? or inidfficial protections shall be grantéd in future: ‘The author
ities of Moroceo will recognize no protection; of ny kind: whatever,. save
aSich'adis exprésdly provided: for in this convention.

_ Nevertheless, the exercise of the customary xight of protection stall ‘he

reserved for those cases. oily in Which iit may be desired’ to zeward ‘signal.
‘Services réndered by.a native of Barocco aa aforeign 3 power, or.for other
altogether: exceptional reasons.

“Dhie-Minister-of Foreign Affairs at! Tangier shall be previously iiformed.
“af the nataté of thé services, and ndiified af the intention to reward thei; in
ander. that ‘hemay; if need ‘be, present his Gbservations: thereon; “yet the final -
detision shalt be reserved ior the Goverament t6 which the service shall have
‘been. rendered: ”

The number. of persons thus protected shalt not éxcééd. twelve for each.
‘power, and this number is fixed as the maximum ‘unless thé consent ofthe
. Sultan shall be obtained.

‘The Ratus of pecsotis wha Have’ obtained | protéction in-virtue af the custom
which js ‘heaceforth te. ‘be, regulated, by this stipulation - shall. be Withoitt
‘Emiitation’ of the mrimber of Persons belonging. th this class and ROW-5o pro
‘tected, théSine for themilelves and their families as that which i 33 established
for otber "protected, persons. -

*A U5 noe of Mar, 17,1959, sddreséd to the Morieen: ‘Ministry. of Foreign Atfaix,
eeforsed te 3 note fem the: ‘Ministry dated Oct.-8, 1958, tn-which the Bmbarcy had ber.
Jnformed that the Moronan Governaent had decided tn Sdiztke iil prestriptions relating to
‘Monéctan nationality Frotm thé text of the Madrid convention: Thedl.§. note od, in parts.

“The. Govermamt.of the United States of: Aaserica, having: unilaterally velitquished:
genta q Tights in Morocen sith the’ ‘weeniergence of Morucce 4 inte fidependence in 1956,
considers that in Hie with historical developments Article XV" of the Madud Conyention-
“05 Protection, vf.1880-hss become pisolete end ‘without elect.

"The Government of the. United Stnter takes due cognizance, therefore, of the action:
‘taker ‘by thr Marecan: Government, ag set’ forth ‘in” its above cited Note, which “the.
United. States ‘Gevemuint: understands” to refer: only to Article” SV lar the’ Radia
Conyintion on Protection of ERE0"

 
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78 “MULTILATERAL. AGREEMENTS, 1776-1917
Abi: 1?
The. night to the-treatment of the ies fayoréd nation is rectignized by,
‘Moraétoas belonging to 2 allthe powérsrepresented 2 at the Madsid conférence,
Aer. 1a
“Phis: corivention shall bé ratified: The-2atifications shell be exchanged at-
“Tangier. With as litle delayas posible.
By. exceptional consent of the high contracting, patties the stipulations of
this, convention shall take effect on the day on which‘it & signed at Madrid:

In faith herebf the respective: plenipoicatiaries ‘Ahavesigned 1 this conyen-
tin, aived haye thereunto affixed the seals of their arms.

Done at Madrid, 3 a thirteen’ originals, this third day ot Tay, éhie théiisind

eight hundred and cighty..
[Farthe United d States:] FFor the United ‘Hindom. dnd tor Tien-

. Bugis Faron fezax]: anark:}

7 Ft “LS. Samcvite2 | “Waar ‘[szarl:

(or Gemmaiy:) (orlulys] }

E. cE Sonus. feear], Si Gator: ‘feeatt:
(For Auneia- Hungary: 1" Lo, For Moreccs: 3]

ER Lepons ‘[arany, al Wanpait Rene s

Bdetun: yo ig Bead

“on” aay guentst
[For Spaia:] ; 7"

AL Gfvowas ord. Casriztc ‘femiz], For Portugal: J feeaxy
‘Gor Frances] i. Perec Sen an aewad i] |

Jaoais ‘[euaz] ‘Asruiicane [eeaxj-

. fedyernoil]

Resoratiaws RALASE TO PROTECTION ADOPTED BY tosmmn compen SY THE Eqnasion
gE ERARGR AND ‘tits. Gormunitht of “Moraoce, Araisr 19; 163

Piotection Is Tndivideat atid teizporéty.

Te Eonremsently doe not in general apply ! ta thé yelatives af he: ‘persod protected.

Ye may apply ta bis family, ‘that i to azy, po his wife aod children jdiving undsr.tha
tome saok,' Jélasis 2t the longest fora pemon's Iiatinz, and is never" hereditary, with
the zingle exception: of the Renchimol family, which has furnished far Beveral genmations
and st] Sorabches persdna whe att in the copacity-of Brokers ajid iaterpretats for the pait:
at Tangier, +

Peonicted pevtona are divided jnte tao elegans, *

_. The first clast comprites natives the Hind and: French
de 2 Pt employed by Legati ar by the various

ay, Maley 0226.. For: background tb acctptaites prior tothe: ‘Madiid toavéation of
-Tegulitions relative ‘to protection, ste G. Fr. dé Martens, Noonrow. senuenl péndial de
Sraithy (2d: series}, wok VI, 3 525.

 
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RIGHT-GF PROTEGTION TH MOROCOO—JuLY 916i" 79

“The aeeotid class coniiind of nadve feitors, brokerd, ot agents, eoployed by Fiench
mershants for, their business affairs. It is ntoper here to refer tothe fact that dhe’ term.
merchant is only spplied to a poxun carrying onthe import or export bade on a large

- scale, either in his own mame of as tht agent of others - oe
“The number of nathie brokera enjoying French protection is imited to twa for each:

By. woy-of exception. commercial ‘firm having eitublithmedis ia diffrent ports may
have two brokers attathed 0 each of thele establishments, who may as euch enjoy French
erdtection, . oo co ns a
"French protédtion i uot éxteaided t9 natives éeiployed by French: citizens fivsgeicalinral,
ecedpstions a
. Nevertheless, in consideration of the existing state of things, sad Uy agreement with the -
authorities of Marocen, ths beaehit of the protection which: Fas hitherto bees granted fo
‘The pacsons referred toin the foregeing paragraph shall be extended ta the said persons
for evo months fram thefirstai Septeniberons, ow
_ ies, moreover, ‘anderstood that agticaltural Idbottrs, herdsmen, of dther native peak.
‘ants, 5h the service of Eaeach citizens shall not be legally proiccuted without inmediaté
information thereok being communicated to-the. competent-consiiar offcer,.in order that:

’ the latter may protect the interestiof biscountrymin, 7
“Tha Uist of all-protected persoas shall-be delivered-by-the proper: conrulsie to the
conprtent magistrate of the plate, wha:shall. Ukéwiie be infonined of any thanges that
asay tubsequendy be rmadéia the dahl tit. se Loo
_, bath protected périon shall be finished with = card in French end.in Arabic, mene
Toning his name and stating the services. which sreute this piivilege'ta him |“
~All these: cards shall be issued ‘ty the Legation of Erance-at Tangits.
Tanoun, Aug, 29, 1863.. ,

 
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ae eeee

‘CONSTITUTION: OF THE DNTTED. ‘STATES 3

WE thd Propig.of tha United States, ‘in. Order te Torm-.a more
perfect. Tinton, establish  Justios, ‘insure domestic: Tran
provide for. the rommon. defence; promote the getieral elfare,.
and secure the Blessings of Liberty to oureéives.and our Pos-
terity, do ordain and establish thie Constitution for the United:
Sites of America”

ARTICLE T,
‘Secrion t. All: legislative Powers herein Fa on Niall be weated'

ine Congress of the United Statés, which. consist of a Senate:
and House of Representatives.”

+The Ea
dope Pee eee Conetifstion Spas Gate eae aigned by Gen by Gen, 2, apinton dis

econ
= Pecraently ralited Ey Treo Se eee 3, ing, aed mse
Penosyivama, December 3 oA Sew arte poemaner LIBS dnmary at TTBE:

Cannectint. dennary' 9, 3 HIBS, Maseachraseity Felraary acre, Mary i, April “28,2788;
‘Sooth Carnitine, May 25, 1785; ime 3
The Caustibaten ele es ee saci, ta Shins 25; 178s: New York, Faly 28,
eGo & Cavaling, Nesember 2 1789 Tan 2 £90: ond amt Sorisary.
Sin Neg 1785, a cammuittie if Canibiuss page o vepoit TEAMED ws sdietetion fi the ‘dt
Hes of nledsratzon. Snk wo achon was toheo on a sand fe pas nl ie Bata Lagoa
fo the ‘Ya Jagpory 1786, the of Ulesinds pesaed 2 cesclition pre-

i for the agpsiehoest of Gro commision, whe or sop Sires of thes, ahauld amet aca:
iretaren Toa ees ore reine ieee Pad
be-agreed ups, in telor dato exnslderstinn the tzyde of tha Untbedt Sisto jo mmeticr

fi A {
iid ie Beplssnbesr pa thy tenes nel tian ctv ef dosuaciie os the Se tar ike mesting. bat
aly Grav ether Stabes “mess vegesse yl Delaware, 1 Line York, eae edd Peneayl-
SEIMESSIOREAA ap ated Uy Mazmdmectis, N ee Seen Carding, and!
Reda Istnad fallod, ip at sireninsteenees of aa partial Lg sepreeraiation, the con
mnisdosers yresent 3 pas 2 report {drawn by Bc, ilamilion, of New. York} rapressing their
oferimors preoveleting (hat 3 f oright ex cscontally tend to advance the inierests af the Union ifthe
States by waikh they were respectirely. dalagated wonid sontus; ade fet heir enden tera ta pro-
oie the eoasmmreane of the Siales, in the Septiniment of # eomumisraners bo ruret, ak Vie
dlptin oa the poonid Moey af May fll Thing; te take ierto tonsidiery tient Hie situcstanes of
te doyiss fuch Rother proviiione as zheghd sppear to them mecesotry
the Gatien ee Po Remit Chaveeminent aidetaatd $2 the exigendier of the Union y nd to ee
tn ley thong oid attemwarde cnaticd ty the Page in Compress amembiad pe Shela
a ty thent snd confirmed by the Legsiabavs of erery State, wound
= Gere He of Fobra, abigted 3 Lave af’. eanywaticia, an
av amy, sesdlullon Us aver alls. mp and
the-Legisle of those Biztea which hed not ‘ateeady duns on (ait tho crevpiion of Thode:
tgp’ On the | 25th, of May, Seren States Raving.
Gearze Ws y sensed deleeates, On, the 2 ly elected Bed the peretian oF:
dha gropeced conslitutlog wes torammcuced, Oa Use ft af September, F787 the Constitution sx
Siete, yet Neer Sp a Banad ty all Lhe members fy rcegt Wee Gerey sf Masa
cee nid Mesar=, and ah, pt Yirnia.° Thr ihe sornrentinn tran
walhtnd. i to Dungy with o rweletion ataGag hes the pngonad Sonera edeml florermment should
| Cookie:

it

 
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‘2 .CORSTIUTION OF THE UNITED stares:

SEGHON 2...The House of Representativés shall be coinposéd'of
Members chosen-every- second -Year by. the Peiple of the several
States, andthe Electors in'ench' State shall have the Qualifications
peauiss 2. for-Electars af the. most umerons-Hranch. of the State.
Lagisianire, Sa, : . oo.

Na: Person shall be a-Representative whe stall’ xiot have’ al-
isined to the Age ‘of twenty five Years, and: been'seven Years a Cit-
izen bi the United States /-dnd wha shall not, when clectad) bean
‘Tnbuhitant of that State in which hé shall be chosen.

“Representatives. ind ‘direct. Taxes’ shall -be- appartioned. among
the several States. whith: may be included within this Uni, as-
cording to-their respective Numbers; whith shall be determined by.
adding ta the whole Nuinber of free Parsons, including thase bound
‘to Service far a Tenn of Years, and exeludinw Indians not taxed,
‘three filths of all other Persons2 The actual Enumeration shall be
wade within theee Years after the first Meuting ‘of the-Cangress'of:
the United States, and within.every subsequent Terni of ten Years,
in. Buch Manner as they shall by Law direst. The Nomber of Rép-
Yesentatives shall-not exceed ene for avery. thirty ‘Thousand, but
each State shall'have at Least ona Representative; and until, sdch
enumeration spall be made, the State-of New Hampshire: shall be.
entitled te-chuse three, Massachusetts -cight, Rhode Island and.
‘Providence Fldntations. one, Connecticut five, New. Yori: six, New
dersey' fom, Pe Hvania sight, Delaware.one; Maryland sex, Vir-

gisis’ tea, North-Cardlina five,’ South Catalina’ five, and’ Georgia

“When vacancies happenin the -Rapresdhtition from any Ststa,.

the Exscutive Authority thereof shall issie Writs of Election to fl.
such Vaconsies, " °

‘Sfhe Héusa of Representatives. shall husé their Speaker and:
other. Officers; and shall have the sola Power of Impeachment. —_

SECTION 3, +The Senate of the United Stites shall be composed
of two Senators from each State, chosen'by.the Legislature thereof.
‘for ste‘Yeurs; and each Senator shall lave ane Vote, - Fo,
. SEimediately after they ehall: be: assembled. in Consequence of,
the-Riret Election, they shall be divided an. equelly.as may. be into
tirve Ciecses, The Seats-of the Senaters of tha Gret Class -shall-be:
vacated:at. the Expiration ef-the second Year, of the second Class
at the Expitition, of the fourth Year.and of the third Class-at the:
Expiration of the stxth Year, so that one’ third ‘may be chosen every:
be-gut in bperadd tery itker, ‘(Ciss i tha of Septusation, YTRT, dle
recied tie Cansthaiion 20 Batted Will the rgccetheer Sal Late eee ee
(tateiitted ta the severe! Legistatores in ordcr tn be eshmitted toe qunpention of deletes
ches iin exch fe by Reg poopie tered ts eanfarmily to the wiles of the carentic” = |
= Ua the 4th of Marck, V7Hg the day which bad teen Gised fh‘ ommmencine the openstiins of
Gaver Taner ths ree Gonskitatian, it had teen, retest the posrenbinas ehoeen in each
New dersey, December 15, T78;; Geargia, iomarg %, 1766; Corraeclicnt, Jenvery 9, 4208: Mast
sachurests, Pobruiry §. 1768; Maryland, Ard 22, 1758:-South Curling, My 23° 118: New
Asmpabize, dana 21 1788s Vargas, Jane 25, 2758; cond Neo York; Joly 2S, LBA". |

ths incrred Conprres, on the 22th of dnnunsy 3°06 shat Borth Carglien bad enti.
“Ged the Constitetien Nowonber 21, 1720; aed be infec an the tet of Jane, 17S)
dhe Coors Jucursy Id Eat Sad pet by ana ee Sa
Sretekrad vind edited ued tata this Unto baat her rma cole meer oe United Siu inte

yuhe part ef this clanse selaling tn the jotde af opportionmest ef representatives among the.
several Stoles het Sen oftieced br xection 2 of amendment 5, ie Ge Lees, aay incomes
carthont sppertionment by amendment XVi tate .
“his clade bas born aifected by date £ of cenentdmeit XIE

 
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CONSTITUTION OF THE UNITED STATES" 3

second Year; and if Vadiicies Happen hy Resieadtion or otherwiso;.
‘during ‘the Hecess of the Legislatures of any State, the. Bxécative:
thereof may make temporsiy-Appointments natl thé next Mechug:
ettho Legislature, which shell then Gll'such Vacancies* = -
*¢io:Person shall Se a Sénater who shall uct have attained: te thr:
Age of thirty Years, and ‘been. nina Years a Citizen of Eho Dnited:
‘States, and who shall not):whes elésted, be dn Inhalitant-of that
‘State for which he shaillbe chosen. _ ee
. “The Vie President of the United Stated shall be-President of
ithe Serste, hut shall have no Vote, udless:they be equally. divided..
*Yhe Benate-shall chuse their ther OMiters, atid also“a Prest-
aént: pro tempore, in-the- Absence: of ths ‘Vice President, or whe.
he ahall exercise the Office of President of the United States. _
. @The Senate shall have the-sple Power to try. all Impedchmenta..
When eitting for-that Purpdso, thoy shall be. on -Osth or Afirma-
Gon. When the President of the United States is.tried; the Chief
Justice shall preside: And'na Parson shell be convicted without the
‘(Concurrence of two thirds of tha Membera-presenl”
_ *SJudgment-in Cases of Impeachment shall not. extend Farther.
than to removal fom Office, ond disqualification te “hold and. enjoy.
any Office of honor, Trust or. Profit- andor. the United States: bit
the Forty éonvicted shall nevertheless be Tiahle and subjert to dn-
diciment, ‘Trial, Judgment pnd Punishment, according to-Law.
‘BECTION 2..}Ths "Times; Places and Masner of holding Elections.
for Senators and Representutives, shall be preseribed-in each State:
by the Legislature thereof-but the Cangress ai} /at‘any. tide by.
Law maka or alter suth Regulations, extept'2s to-the Places of.
chusing Senators. . ae
_ 8The Congress shall dssemble at ‘Isust/once in every Year und
such Meeting shall be.on the’ first Manday ia. Décember,” uiless.
they challiby Law appoint «different Day. 9
‘SECTION 5: tEach House shall he the Judge of the Elections, Ré-
furs and Qualifications of itaown Members, and.a' Majority. of.
each shall constitute.a' Quorum-t6 do-Business;‘but 2 smaller Num-
ber may adjourn from day to.day, atid mayibe authorized-fo compel
the Aftendance-of ‘absent ‘Members, in such Manner, and wncéir-
such Panaltiés ae each House may provide. - °
“Each Houss may determine the Rules ofits Proceedings, ptinish

    

its | Metnbers for disorderly. Behnvior,‘and, with tie Concurrente of
inva thirds. expel a Member... . oe ee
_ABath House shall keep. e.Joiiriial of ite Priesédings, sind from.
time: to-fime publish the-same, excepting such Parts aa may in
their Judgment, requiré Secrecy, rnd the Yeas and Nays. of. the:
Members of either House: in any au. tion shail, atthe Desire of

£500)
‘dine HAG.of those Present, be entered onthe Journal. _ .
. ‘Neither. Housy; ‘during the Session of Congress; shall, Wwitlonit
the Consent of the other, adjourn for moaré than ‘three dye, ane ta.
any étiier Pldca than thet in which the two. Houses shall be sitting:
,, SECTION 6. * The’ Senators and’ Representatives shall receive’ a
Compensation for their Services; ‘to be ascertained by Law, and

"The Clacse hoa Bean aieeted by dance ® of cement MYTH.
‘Thi daves hac bea ateaed Gramonineer ee ~ trea

 
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a IGONSHTUTION OF THE ONTTED. StATES-

aid tut. of fhe Treneury of the United States.’ They shall in alll
‘Cases, excep’ Trdason, Felony: and Bréach of the Peace, ba privi-
leged' rom Arrest during their Attendance at the Sessian of their
Fespéctive Hotses,.and-in going to-and returning fem the same:

nd for any-Speech.ot Debate in either, House, they shall vot be

" smesliafied incaty other Flare ee

* Ne Seunter or Representative shall; during the Time far whith
‘he wag elected; be appointed to any. civil Giftco under the Authority:
‘of ihe United States, which'shall have heen.created, or the Emolu-
‘ments whereol shall have been encrassed ‘during such time; sud nd
Porson holding any Office’ under. the United. States, shall ‘bea.
‘Member'of either House dixing his Cortindance in. Office:

‘Secrian:7.' LA] Bills for. raizing Revenue.shall originate in the
Honse.of Representatives; bat the. Senate may: propose or concer
with Amiendmests ason other Bills. - ,

_? Every Bil which shall have passed the House. of Représenta~
‘tives and the Senate, shall, before it hecame a Law, hé presented:
to the Peesident of the: United States! If he:apprave he shall Sign:
it, but if-net He shall retnen it; with his Objections to-that House
in which it shall have ofigineted, who:shall cnter the Objections at
‘large on ‘their dolirnal, end: proceed’ to reconsider it' ¥ after mich.
Reconsideration tye ‘thirds ‘of. that House shell asree to pass-the
Bilis shell he pent, together with tie. Objections, to the. other
House, by Which it-ghall ikewise be reconsiderad, arid if approved!
‘by Gyo thirds af thet House, it shall become a. Law, But tial such
‘Gases -the Votes. of bol. Houres shall be determined by Yeas. and
Nays, and the Names of the Persons vating for and seainst the Bill
‘shall be-entered an the Journal of each House respectively. If any
Bil shall. nob be returned by the Preéident within ‘ten Days (Sin-
‘days excepted) after it shall have. been presented to. him, the Same:
‘shall be:a: Law, in Hke Mauner a5 if ha hed signed. it, amless tha

Congress by their Adjournment. prevent its Return, in which Gase
itshallaotheaLaw:.

.. SEvery. Order, Restluticn,.or Vote id which the Contiirenté of
the Sengla and House of Representatives ‘may. ba necesenry (except
one question of Adjournment} shall be presented ta the President:
be appraved by hi, br being disaperored torts aaa ional
appreved by him, or baing disapproved by him, shall'be repassed.
by.two.thiris of the Senate and House of Representatives, accord
ing ‘ta the Rules’ and. Limitations prescribed In- the Gase-of a BT,
ECTION &..>The Congress sliall have. Power To'ley and tollect.
‘Vaxes, Duties, Iniposts anid Scises,to-pay tha Debts ‘and provide:
for the commen Befence and general Welfare ofthe United States:
but all Dates, Imposts and Excises shall be uniform throughout
the United States; 0 es
2Te barrow Money on. the credit of the United States:
‘Ta tepulate. Commerce. witht foreign. Nabiang,;.and among. the:
several States, arid with the Indian Tebes: Te
‘*Te establish a. .aniform ‘Rule of Nateralidation, 2nd uniform
Laws iu tha subject of Bankoupicies throughout the United States;
. &¥o.coin Maney; regulite:the Value thereof; and of foreign Coin,
and Ssc-the Standava suard of Weights and Meazurés; “*

 
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8T Provide for the Ponishinetit af counterlaiting the Securities
‘aod curtent Coin of the United States:.

*'Te establish Post:Offices and post Reads
_, “To pinninte the Prgress of Stienve and. useful Aris, by seciring

‘for linited ‘Times ta Authors and ‘Inventors the,exclusive Right to.
their respective Writings and Tiseoyeries:: . ~
 8To constititte Tribenalsinferior ty the siipreme Courts. .
To: define: pud- punish Piraties and Felonies cimmitied on. the
‘high Seas, and Offences againgt. the Law of Nations.
‘Ta: declare War; grant'Letters of Marque and Réprisil, and
quake Rules conterning- Captures on Land and Water:
‘2% tise and Bupport: Arntieg, ‘but.no Appropriation af Money
to. that Use shall be dor a longer Tarn: thin-two Years: ,
25To provide andl mzintaina Neve: 7
_ “To make Rules for the Government and Regniation-of the ‘land!
aninaval'Forces; dy Las oe ae
. 8'To provide-fur calling forth the Militia te exéents the Laws‘af
ithe Onion, suppress insiirrections and.répel Iwasiéns; __
STa provide for organizing, arming, 2nd disciplining, the Militia,
‘aul! for gaverting. such Part of them as:may ‘he employed in. the
Service of the Untied States, reserving to the States respectively,
the Appoinitment.of the Officers, and the Authatity of trairtg the
Militia according fo the discipline ‘preseribed hy Congress;)
‘To exertias exclusive Legislation in all Cases whatsoever, over
such District (nit exceeding ten Milés aqdare} as zuay; by Cesbion
of. partitnlar’ States, ‘and’ theAcceptance-nf Cougress, become -the
Seat of the Government of thé Uutted States, -and'to exercise like.
Authosty over all Places purchased by. the Consent of the Lesisla-
‘ture of the Stale in-which the.Sanie shell be, For the Erection sf
‘Forts, Magazines, Arcendls, deck-Yards, and-ather necdfal ‘burd-
Thay . . .
thy aniske all Laws which shall be necessary and proper Tor car-
rying inte Execution the foregoing Powers,'and ali othér Powers
vested by this Coustitution in-the Goverumént of the United
States, orinany Department or Officer tered?
_ SECTION. “The: Migration ‘6¢Temortation of sith. Pursoo’ 48-
any of-the States sigw oxisting shall think propér.to-admit, shall.
not be prohibited by the Congress priar-te the Year ane thouzand:
Sight. hundred and eight, but a “Tax‘sr-daty, may be imposed ou
each Imporistion, not exceeding ten dollars for exth Pernou.
*The Privilege of the Writ of Habeas Corpus shall not ‘be sus:
pended, wiles when in Cases of Rebellion or Invasion the public

Safety ring reuuire if,

“No Bil of Attainder or ex-post facto Law ahall be passed.
_*No Capitation; or other: direct,:Tax sliall he 1aid, ‘unless in Pro-.
partion “ta the Censtis or Entimeration herein ‘before directed to be

tskén.? - a Lo . _
aie. Tox or Dlity shall be tas on Articles: exiortéd ot

“No Preference shall -be given, by, any Regulation of Commeres or.

ste *

Revenue tothe Paris.of one State over those-of. another; nor éhall:

 
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& CONSENMIUTION OF THE UNITED STATES’
‘Vessels bound to, or from, one State, be.obligtd to'entet, cleat, Gr
pay Duties in another, coe

“Ne Money. sball ‘be drawn from ‘the Tréasury,. bul. ini -Con~
sequence of Appropriations made by Law; ands regular Statement.
and ‘Account of the Receipta.and Expenditures of all public Money
shall'be published fram tumietatime, == |
_ ENo Title of Nobility shall be sranted by.the United States; And
no Person holding. any'Ofice of Profit or ‘Teust under tem, shall,
without the Consent of the Congress, amcept of any-present, Emola-
ment; Olice, or Title, ofany kind Ratever, from any ‘King, Frince,.
oricreiga Siste me, -
_ SECTION 10.1.Ne State shall enter inta any-Treaty, Allinned,. or.
Canfederation; prant Lettersof Marque “and Reprisal: coin’ Money;
emit Bills of Oredit; wake atiy- Thing -but gold.and-ailver Coin a
Tender in Payment of: Debts: pass-any Bill of Attaindes, ex post
facte Law, or Lay impairing-the Obligation of Coutratts,-or grent-
any Title of Nobility. co .
_ eNo-State shall, without the Consent ofthe Cougeress, lay any
Tuaposts or Duties on Imports-or Exporis, except what may be abso
Tutely necessary. for executing its: inspection Laws! and. ther ast
‘Produce af all Duties and Enposts, Jaid by any. State on Imports or.
‘Exports,.shall be for the Use of the Treasury of the United States;
and all sech Lawes shall be-stbject tothe Revision and Gastral of

£ o Congress: - ok

‘SNo.Stote shall, without the Consént of Congress, Jay any Duty.
ak Tonnage, keep Troops, or Ships. of War in time of Pesce, enter
inte any Agreement or Compact with another State, dr with altar.
fign Power, ‘or engage in: War, onless achislly invaded, sr in such
imminent Danger as will not admit of delay.

SECTION L 1 The executive Power, shall. he vested in a President.
of the United Statcs:of America. He shell Heid his Offite during the
Ternt Af four Years; and; together withthe Vice President; chosen
for thé seme Term: he elected’ an follows

{Exch Staté shall apgemé, in such Manuer ds-the ‘Legislature:
theresfraay'Grect, 2 Number: of Electore, equat to:the whole Nurc-.
ber-of Senatars and Representatives fa whi the. State mey- he en-.

titled in the Congrese: bat ne Senator or'Representative, cr: Person
holding ‘en. Office of ‘Trust or Proftt wader the United. States! shall
be.appeinted an Elector. , og
©The Electors shall meet in their respettive States; and vote by:
Ballot for.two Porsong, of whoni one at léeaet shell not ba an Inhab-
Jtant of the same State with themselves, And: they shall make-a.
‘List ofall the Persons-vated for; arid,of the Number of Votes for:
each; which List'they shall stan ‘and eertity, and transmit sealed
to the Seat of the Govarnmant of the United. States, dirdcted ta tha
President of the Senate: The Fresidentiof the Senate shall, in the-
Rrestnee of the Senate aid House of Represiitztives, ope: all the
Certificates, and‘the Votes-shall then be esunted,' The Person ‘hav-
iag-the grestest Numbe® of Votes shall be the President, if such.
Number bé 2 Majocity of the whole Number.of Electors appomted;
mrid ifthere bie more thin ane who heye. such’ Majority, and have:
an ‘equal Number of Votes, then the House of Representatives shall

 
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2ONBTEEUTRON OF’ TRE TMITED STATES e

inimediotely- diuse by Ballot ane-of them’ for President aud if 04.
ae have a Majority, then from the Sve highest an, the List ‘the:
‘said. House. shall “in: like Manner ‘chuse the President. But in
chusing the President, the Votes shall be taken: by States, the Hep-
Wesentation from each State having one “Wate A. quidem for this
Purposs shall consist: of a Merber or Members. from. tio thirds of
tha States, and s Majeriby of oll the Sistas shill he sonessery. ta
a Choice. Ta: avery Case, after the Choice of the President, the Per-
aon hevin# the greatest Nuribar’ af Veter of the Electors eholl he.
the Fied | ident: But if. thers ‘should remain ‘two or more. who
have equal Votes, the Sentte shall chiee ‘from them by Ballot the
Vite President®

27h Congress mn muty. ‘determine thé Time of chosing the Electors,
and the Day on which they shall sive the Votes; which Day shall:
be the same:throughout the: United States.

-8No Person: {a Debiral bern‘ Citizen,, ‘ot a-Gitiven of thd
United? States. at-tha time of the Adoption: ‘bP this. Consbtiutian,
shallbe eligible'te the Office of President; neither shall any Person
be sligible te thikt Office who shall net have attained to-the Age of
Gates Sk five fants, and been fourteen-Véors.a Resident. within the

ni
p ty Guest ta Ril af ths Rrediént fom! Offic, or of bis

eM of lity ta owes: ed
ides.of-the said Office? the Same. shall daynlve of the-Vicé Presi-
dent; and the Cangrées may by Law provide for. the Casa of Re
méval, Death; Resignation or. Inabihty; both cf the President and:
Vice President, déclaring: ‘what: Officer. shafl then act as President,
end ench Officer shall act accor yy until the Disability: he ob
moved, ora President shall he elected.
?Thoe President shall, at stated. ‘Times; receive! for his Services,-2
. Compensation, awhith ‘aball. neither ‘be’ encreased ‘nar ‘diminished
uring, the Poried ‘for which he shall have been slected, and he-
Bhall: oaks Tkreive within that Peried any other Emolument 4 from the
Opited States, or anyof them: ©

#Belore hig enter on-the Execution of his Office, ‘he shall take- the:
‘following ath or Affirmatidus—T do solemnly swear for. affirm)
that Twill frithfully exteutarthe Office of: Président af the Unitett
States; and-will to the. beat of apy. Ability ye preserve, protest and de--
fond the Cosstitation ofthe United's

SBEUTION 2.’ The President shall: re Cominaiiler ¢ in Chief. of the
Acihiy att, Ney “at the: United States, and of the Militia of tha sev.
eral ‘States, when. called ‘into’ the. saetnal ; Service. af. tha United
‘States; he Thay Teqnite the Dpiniis, ay wating; ofthe principalD
fiter in-éath of the executive Departments, upen iany: Subject lat:
ing: to the Duties: of their. respective Offices; mid he shall have:
Pawerto: prent -Repricyss and Pardons far Offences against tie-
United States, except in Cases, of: ‘apeacharent..

‘He shall’ have: Power, by and’ with the Advice and. Consent “Of”
the Senate,.to make Trenties; provided two thirds of the. Senators:
present sonéoy and'he shall nominate, aid hy and with the Advice
and Consent’ of the Senate, shall appoint Ambassadors, other. pub-

aThis pleat deanalpeene “STE.
"SB eee eer peda mend

 
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5: CONSTITUTION. GF TRE UNITEA STATES:

1s Ministers anid Cansile, dudues of the supieine Cuuit and all
other Officers of the United States; whose Ap ointments are not
‘herein. otherwise provided fir, anid whieh sh: ‘be ‘established by
Lawz. but: the Congress zany by Law vest the ‘Appointment of ich:
inferioy Officers; as they: think proper, iat the President alane, in:
the Courts of Law; ot inthe Heats ofDepartments, © =
whe President chal pave Power. ta "El up all anaes that
may happen diting the Recess of the Senate, oy gran ing Coniniis-.
sions We ich shall expire at the End of their next Sessiom:
“SECTION 2: He shall from tine to time: give to the Congress Infir-
mation of the State of the Union,.abd recammierid to their Consid-
eration sich Meznures.as he shall judge necessary abd expedient;
he smoy,.on extraordinary Oecssioris, ‘canvene- both ‘Houses, ‘or-ei-
ther of them: and in Case of Disagreonient behyeen-thiys, with Reo
‘spect to.the Time-of Adjournment, heomay adjourn them to. such
‘Tme-asthe hink-proper, He. shall reesive Ambassadors and.
other public Ministers; he shall take Gare that the Lows bie Tailh-
filly ‘executed, and shell. Commission ail the Officers of the United
So _. ae oe oe .
., DEGHON 4. The President, Vice Prssident and Sil-civil Oficeis of
the United ‘States, shall be removed ‘Irom: OfGce on: Impenchment
fire dnd Conviction oh Tresson, Bribery, or other high’ Crimes and

‘Misdoiméanora.
ARTICLE TH,

SECTION L The judicial Power of fhe Unated: States shail be.vest-
ed in one: supreine Court, and in‘such iiferior Conris‘as-the Con:
gress ay from fime.te time ofilaii.ang establish, The Judges, both
af the supreme and inferior Courts, shall ‘hold their‘ Offices dariic
‘po0d Behavicur, and shall, at stated “Times, receive for fete :-Barv-
ies, a, Compensation, which chal net be diminished ‘dining. thir

‘Continuines muGiice. a ee

‘SECTION. 2.1 The jadiciat' Power shail axtend ta all Cased, ta Lav
sud Equity, prising tinder this Gonstitution; the Laws of the United
States, and Treaties made, of which shall bo made, under their Au-
thority; —to all Cakes affecting Ambassadors, ather public Ministers
and Conguls;—to. aff Cases ‘of admiralty and maritime dorisdic-
fidas—to'- Controversies. ic- which the United States will: be eB
“party;—ta Controversies between two srmare States;—hetween :s
Stete and Citizens of. aligther State;°—hatween ‘Citizens of df
ferent States;—between Citizens of the sama Stale claiming bands
‘miter Gronits of different States, and between. a, State or the Cit.
zens theteof and foreign States, Citizens or Subjects.)

., 7dn all Cases affecting Anibasssdore, other, public: Ministers and
Consuls, ;and those in- which a State shall be Party, "the suprenie
Court shall have original Jurisdiction. Tn ail the ofher Gases. ore
mentioned, the.supreme Court shall have appellate: Juriediction,
"both as ta: Lisvcand Fack;-with su wcontions: und ‘under puch
Regulations uathe Congress shathmake, - |

*The Trial ofall Crimerz,. exeentin Casez.af Tatpéachment, shell
‘be ‘by. dary, and. such Trial shall-he held-in the State where the
said Crimes shall haye heen eommiitied; ‘but when not coumnitted

WLS Hates bar een alfected by dmeidownt XL:

 
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COSSIITGTION. oF THE bivrrED. STATES, 4.

svithin ary State, the Tyisl shall be.atsnich Place or Places da the:
Congress miny by: Law have directéd, _

‘SECTION..3. 2 Treason againat ‘the. United States, shall: sondist
ently in levying War-sgainst them: or in adhering to their Enemies,
iving them Aid and Comfort, No'Persan: shall Be cotvicted of Trea-.
Bun unless .on thé Testimony of twa Witnesses tothe same overt:
Act,.or on Confession £ inapen Court’

2 The Gongreas shall have Power to-déclare: the Purishment of
‘reason, but no. Atteinder of "Treneot -shail  seoek Corruption - af:
Blond, or Forfeiture except. during, the Life ofthe Person attainted:

ARTICLE. ve

‘Seovow 1. Full Psith-and Orsdit'shall be- ‘given -in-gach. State io
the public Acia, Records, ‘and judicial Proceedings of. every other
‘State. Aud the: Congress may by general Laws prescribe the Man-
nero which ench.Acis, Records snd Proceedings shall be proved,
andthe Effect thereef. ©

Secrion:2..2 Ths itvens of each ‘Btate. shall be entifled ‘ta. ali’
Privileges and Inininnities af Citizens inthe several States.

2A: Person ‘charged in aiiy Siate with ‘Trdaasen, Felony, or other
‘Grime, who shail flee from Justices, and be! found jn another Stste,,

shall on! Demend-of the executive somoved ‘of the: State: from
whiehhe fled, be delivered: np; tebe removed tp the. State having.
Jurisdiction éf fie Cvimne.

Ne Person held. ta Service oo Labinir in¢ ane State; under the
Laws thereof, estaping into: another, ‘shall in, Consequedce of aby
Law ac Reguiatian therein, be- discharged Servite ar
‘Labout,.but shall be delivered up on Claim OF ‘the Party te wher.

such Service or Labour 3 may be duet

. SEQTION 3.“ New States may he admitted by. the Coagiéss inte.
this Gninn; ‘but n6 new, State be formed ar exected within the
aanibdiction af-eay other ‘State: ner any State ba formed by the
donttion of two or. more States; o¢ Parte of States, without the Con-
‘Sent of the Legisiatures of the States coneerned as well as 6f the
Conrress:  -

="Tiia Congress shell Have Power: to dispasa_ of and make. all ncaa:
fal Rules and Reguistions respecting the- Territory oe other Bsod-
erty belonging ta-the United ‘Tae and To this Canstitz-
‘tion shall he so constroed' ag to Prejudice any © ims rt the United

“States, or of any particilar. State:

_ SECTION: 4. The United States shall guaranteé ‘to. every Siate in
this 'Uhifon: 4 “Répoblican Ferm of Goverment, and shall-protect
enth of them against ‘Tnyasiong; end‘on ‘Apoliestion of the ‘Lasiat a
tire; ar of the Ezeentive (hen the- ‘Legisiniure cannot he convened}
Against, domestic Vinleice,

Angle Ye

ee propose. ‘Amend ee te ee ee nen or, on
‘the Seen leation. of: Legislatures -of two thirds of. the several
& call &: Canverton for proposing Amendments; which,

. arr ee Mason tie tees nfficied ipumendment XL.

 
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16 CONSTITETION OF THE UNITED STATES

in. either Case, shall Ke valid-ty. all Intenis. and Purposes, as-Part.
-af this Constitution, when ratified ‘by the ‘Legislatures -of three:
fourths of the several States, or by Conventions in three fourths
thereof;.as.the one or the: other Mode of Ratification may be min
posed hy the Congress: Provided that no Amendment which may be
fosde ‘prox’ to. the Yeer.Gne thousand eight: hundred and -eight

all im. any. Manner affect: the ‘first. aid fourth Clauses.io the
Ninth Section’ of the ‘fret Articley.dind ‘that no-State, without its.

Consent, shall ba deprived ofits equal Suffrage in the Senate,

ARTICLES VL

_ 2 All Debts eotitracted ‘and Engagements: entered into, bafare the
Adoption af this Constitution, ‘shail ba ns valid epainst the United.
‘States under this Conatitation;.as under the.Confederstion,. _

.* This Constitution, ‘andthe. Laws.of the United States which
ahall Ge made ‘in Porstante thereof and. all. Treaties made, at
Which shall be made, under the: Authority of the: United “States,.
shall-be the. supreme Law of the Lend; andthe Judges: in-every:
‘State. shall be‘ bound theréby,; any Thing in the. Constitution or.
‘Laws of any State té the Contrary notwithstanding. on.

.. The ‘Seontors and Representatives befere mentionad; .and-the
‘Members of the several State Legiglatures, and all-executive,ang
juditial Officers, both.of the United. States: ‘and of the several
‘States, shall be bound by. Oath or Affirmation, to support this Con-
stitution; bist no religious Test shall -ever.bé required us 2) Quali-
fiestion to any Offica or pubbe Trust under the United States.

ARTICLE YI.

_ The Hakification of the Conventions of ning States, ahell be stiii~
.aent for the Establistiment of this Constitobea-betwean the States-
seraifying the Same: So oo
DONE in Convention ‘by tha, Onanimous Consent of the. ‘States
resent the Seventeenth Day of September in the Year of-our

Lane thousand seven hundred aud Eighty seyen and. ef the:
independence of the United States of America-the Twelth
: In wroness whereof We have hereunte subscribed air Names,
G°, WASHINGTON—Presidt..__
“and deputy from Virginia

 
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ARTICLES IN ADDITION 400, AND AMENDMENT. GF, THE.
CONSITIDTION GF THE UNITED STATES: OF AMERICA,
‘PROPOSED BY’ ‘CONGRESS, AND RATIFIED - BY: "THE:
LEGISLATURES OF THE SEVERAL STATES, PURSUANT.
TO SIFT “ARTICLES OF THE ORIGINAL CONSTITU-

AnnCLE (hys>

Congress shall make: mo Taw Pespecting an establishment. of Feli-

ta < oF r prohibiting: the free Grercise thereofi or abvideing the free-

Bech, or of the press; of the right of the Seareed Peaceably.

toa ate le, and. to petition the. Government for a: anf griey-
Wines,”

ABTICLE TIT]*

A yell: ‘regulated Miia, heing necessary th the secitrity of a.free
‘State, ee Tight of the people, iD keep. sam te te Arms, shall nat be .

ARnieLs (1)

Ny ‘Soldier shall, in. Hime of peate be quartered in-an
without the consent of the: Owner, nor in: tite of WHE, o in: a
manner to he preseribed by law:

ARTICLE iy. }.

Tight of the Heaps ta‘be securein their perséns, houses, pa-
ners "an effects, against onreasenshls 5 enrches and;acizuras, shell
not bo violated, "and-n0 ‘Warrants shalt issue, butt upon probable:
catise, su portad by Gath: ar. affirmation, and. partic az deserib-
ing the place ia be searched, and the persona of; things to 32 seized:

ARTICLE [Vi]:

No: spereon shall'be held to answer fer a tapitel, or athistwisa inf.
Tans, rime, unless on a presetitment ‘or qudictmént ‘ofa Grand
‘Jury; éxcept in cases arising in-the land or naval fares; .orin the

OT he Best don mendiestts of the Gonstitutless of ther (sited States aod two others, of of

os A So ae eine ert eines ares
: 1

Be brat st Aen amendments wire ratified she Ding Bites ah aed iho ns of rmtidicn.

thers? were supe Preaidont ta Cone

sek erty, Noveraker 20, 17R eae ee oes cremated ty Garntiza, Detember 2,

‘Efe; Benth Caratina, Ja 18, 2790, New i 2720; Bel a.
‘Fa, Viel Hew Fork, Fekuaty $5 Tea i Perey Hethesivicin Kara, vir Meda inland. Sima “hy
TMB,  Vermneast, ct, November 3, Tai: nod Wir gai ireinin, December 15,1791. ,

> umn te” subasdy ratified tptsistores, ‘Bitcochusetiz, Murch 3
Sade March 18. Aste. 2d Go Ae leeiaaionss of

15, 1955) ond Commentiont,
nea sa, 48th. iith, $5th, and 36th articles Cf amonieny bad cosibers asclgned + them.
i333

 
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i. CONSTTUTON OF THE UAITED STATES.

ilitia, when in actuel servied in time of War or public danger: nor
shall any person be sabject for the saiie offence'te be twice putin.
Jeopardy of Efe or limb: nor shall bé-compelled' inary edinmal case:
te be a withess against himsélf, nor ho deprived of life, liberty, ar
property, without dus process. of Inw; or hall private property be
take for public se, without just compensation. ,
ARTICLE [YL]
‘fn ail beimainal prosecutions, the accused shail enjoy the ight t6
B speedy and public-trial; by an impartial jury. ofthe Suite and dis--
rich Wherein the crime shall have. been committed, whith district.
shall have been previously ascertained by Jaw, and te be informed.
of the nature. and cause-of the accusation; to he confroited with the
witnesses, against him}.ta hive ‘compulsory process for obtaining

Witieeses in-hies Exvor, and, to heave the Assistance ‘pf Counsel: for
his defense, . re
ARTICLE [VI]:

‘Ta Suits ‘at, commoa taw, where the, value in controversy shall ox:
‘vend twenty dollars, ‘the sight of trial by jury shall be’ tidserved
and vio fact tried by @ Jory, shall be otherwise re-sxumined in. any

Court af the United States, than-decording to the miles of the com-
mania, AAO Mie fhe
Anno [VOL]
_ Exeéssivé bail shall not be required, adr excessive fines imposed,
mor ere) and anusnel Fonishments:3 feted - .
Anricie 1X]

jibe eittiindiation in the Caistitiction, of cortain xights, shall not
he construed 'té deny. or disparage others retained by. the people;:

_ The powers not-delegated to-tha United States by the Constitn-

‘Hou, ner probibited by it ta the States, are reserved to the States:
respechively, or'te the people. _

The Judicial power, of the United States shall not ba construed
“to extend’ to zaly anit in law. or equity, commenced’ or presented.
fgainst one of the United States by Citizens of another State, -or-
by Citizens br Subjects of any Foreign State..

PIOPOSAL AD RADIATION.

_ The cloventh amendment to the Constitution of the United Siatce was prencsed
“te the Togislntures of the several States by the Thind Congress, oa the 4th af March
T75 and was ficclared. ina mésange from the President ta Cao dsted the Sth.
of. Temusny, L738, ‘ta Fieve ‘bees, mabiied by: the Ingislatures of fourths of the
. Tho date: of ratification were: New-York, March 27, 1794; Rhode Island,
Marth 32, 1794; Comectiont, May #,.1794; New Wamnshire, dune 16, Tat: Massey
thusetta, tine 26,1792; Vermont, between Oeiiber @ 1704 and Novamber 9, 1 TSE.
Virginia, November 18; 2794: Georgia, November 29,2794! Kentucky, December 7,

 
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United Nations Universal Declaration of
Human Rights 1948

United Nations (UN}

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Article 5

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ee 8
AMIME Be a ee ee ee ee ee LE
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fstde Bo. kk ew ee ee www Re ee.
Arttie Ss .

- Po ee ee em me me ee ee
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Arie oe cee ect bin ner yer e newness
t * . . * * + . * y - . . . . am mmm
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AMC 1B. we ee ee bee dd bb eke de be Be ec ec am pee won arb:
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icle-15 :

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AMHGE IB so... ks aed bo din ce a ae ee ead GbR bbws
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Ga ee eee ee

oS TTT rp eas s 4
Article 20° .

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idle 35. Dororehotorepip a bea we nee : wet bas
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-fniied Nations Universal Déclaiion of Human Rights 1548

‘Universal Declaration of Human Rights.
‘United:Nations
Nate:

Adopted and proctaimed by General Assembly resolution 217.4 {Ill} of 10 December
1948:

‘On December 10, 2948 the General Assembly of the United Natitins adopted and. pro
Claimed. the: Universal Declaration of Hunan Rights the full text of which-appears if:
ithe follavviig: pages. ‘Following this: histdric. actthe Assembly: called upan.all Meriber
‘countries to publicize ‘the ‘text of the. Declaration. and. “te. cause it to be disserninated;
Sisplayed; Tead and expounded principally t ei schools and ather educational i institutions;

. without distinctian based off the political status of countiés of territories.

i Prearfible

Whereas recognition:of the inherent dignity. and of the equal and inalienable rights: OF 2
all members of the hiiman famiyis the foundation of freedom, justi ce and peace in the
world,

’ Whereas disregard and contempt for hurnan rights ‘have resulied in barbarous acls. +
Which have: obtraged the conscience of mankind, and tie avert of @ world in which-
human ‘belfigs shall enjoy freedom of speech. and belief, and freedom fron, féar and
want has'been proclaimed as the ‘highest aspiration ofthe. common people,

Whereas itis essential, if manis notio-be compelled to have recourse, ag.alast resort, .s

to febelllon’ against tyranny and i oppression, that harman. rights should be- protectediby —
the rile: of law,

Wherdas. it is essential tg promibte the develépment of friénily relations bétwéen-na-. >
fons,

in fundamental furan rights, i in the dignity:and ‘worth of the human person anid inthe:
equal Tights.of men:and women ‘and have determined'to promote social progress and;
‘better. standards of fife in larger treedom,

‘Whereas Member States have pledged theméalvas to achieve, in co-operation with Te 5

United ations, the promotiorrof tinivéisal respect for and pbiservance of human rights.
and flindanientat treadamns,

‘Whereas a cimmon understanding bf these tights and freedoms is: ‘of the greatest im -w-
portance. forthe full realization of this: pledge,

Now, Therefore THE GENERAL ASSEMBLY procigiins THIS UNIVERSAL DECLARA- 4

creer

TION.OF HUMAN RIGHTS a6 a common standard of achievement forall peoplés and:

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Wniled Nalinns Linversal Déclaratiog of. Hunan Rights: 1948. _

all hations: tothe end that every individual and every ofgan of society, Keeping this Decé
aration constantly in mind, stall strive by ieaching.and: ediicatinn ib -promcte: respect
for these tights and freedoms and by progressive measures, national and international, a.
to Sébiifé their “universal and effective recognition and observance,. hath. armang “the
peoples of Member'States themselves ahd ariong the: péoniés of territoties under their

jurisdiction.

: ‘article 1 aaa.
All buman beings. aje bom. free and equal ‘in dignity ; and fights. They ‘are ‘endowed =
with' reason and éonscieiice and: should act iowards on andtier ii.a spit of orath-
erhood..

Artist & a e

‘Everyone Is entitled to all the Tights: and freedoms set firit‘in this Declaration; without. 3
distinction oF any ki nd, ‘Such a face, ‘eolour, Sex, language, religion. political OF. ‘giher
‘opinion; national -or:social.onigin; property, binh or other status. ‘Furthermore, no-dis-
tinction shall be madé on the basis of the: political, ‘jurisdictional of international: Status.
of the couriry or. teritary io which a person belongs, whether it he. independent, | trust.
‘non-self-goVeming: orunderé any. other limitation of sovereignty.

Article 3: *
Everyone tiaé thie right to 16, libeity.and séturify of persdn. 2
Article a: te

\No ate Shall bé heid‘in.staveny ar servitiidé; slavery. aiid: the- slave ade shall be pto- 2s
iHibited in-all ther forms.

Article 5. ~
Noi one shail be: Subjected 9 torturé.or to. cel, inhuman or. dagratiing treatment oF -2
‘pulnishniert.

Artiéte 6. 33
\EVerVone has thé right 16 recdgnition evverywhere as a person beloré the law, a.

aa. lexmercatotia.org 2

 
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. UUnitéd Nations Univarsal Seclaratioa of Hurian Rights 1948:

Article wi

all are eqjiral hetore the faw and are. entitled ‘without any. disciimination to equal protec. =
Hon of the law..All ae entitled to equal protection against any discrimination | " violation:
bf this Deélaration arid: ‘against any incitement io such diséfinination.

Article &:

il

sites =
‘No. one:shall be subjected ta aititvany arrest, datention dr dkile. a.
Article 20 mi

\Everyoneiis entitled in full. Bqualityte a fair arid: public: hearing: by ai: independant and: x
imparial, vibiwal, inthe determination of his rights and sbligalions.and.of any criminal’
charge.ageinst him.

Article 21.

tt:

4, 'Evéryone. charged with-a peal aitericé hes 4he right to he prasiimed innacent until.
proved guilty: according to law,in a- public trial at: which: he has had: allthe guarantees:
‘Nécessaty forhis deténce.,

2.-No.one shall beheld quifty.of any penal. offence on. accolint ofany actor driission. 4:
which did not constitute: a penal Offence, unter rational Gr international law, at the tie.
When it Was Commitied. Nor shall a-heavier peralty, be imposed than the:cne that was.
‘applicable : at the time the: ‘perial’ offence Was committed.

‘

‘Article 42: a

‘No-one shal} be. subjected’ ta arbirary interterence with Nis privacy, Tamily, home.cr =
-borrésporidencé,. nor. ta attacks- upon his. Herintir- and reputation. ‘Everyoné has- “the: ,
Tight to the pidiection of the law against such i interlerence or attacks.

Artisie 43. G

1 Everyone has the right to freedom of movement dnd sesidence within the! berders of 2B.
each: state,,

2. Everyone has‘the right to leave any country, including his Own; and te retinnets his.
country:

i

aah lexmeréataria.dig 3

 
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_ ‘Uniied Stations Usiversel Declaration of Haman Rights 4048.

Article 14 “9
1, Everyone has the fightto : seek arid ta. enjoy il in other countries asylurn from persentr «4
ion.

2. This fight’ may not be: invoked in thé case of prosecutions genuinely: atising Fon
inon-political crimes: ar trom acts contrary te the: purposes 2 and: principles. of the: United

“Nations;

Astidia 15 &
‘i. Eyeryone has the fight 1a a. frationality. a
2. Na one-shall.ba ‘arbiranly deprived: of his nationalty ner deniéd. the right to change as.
his. nationality.

Altice 16 ab

4; Mea and women of full agé, withoiit any limitation diié to face; hatlonality. or feligion, .n
have the right to-niafryand fo’ found'a family. They are-entifled 16 equal righis:'as ty.
“marriage, during manage’: ahd at its. digsdlution..

2, Marriage shall\be entered into. only with the frée and full nonsentof the intending 2
‘Spouses:

‘3. The family j is ihé-fatural and fundamendl. group unit ‘at. society: and is-eritilad to «1
protectie on by socialy and the State:

Article 17 te.
4, Everyone fas the sight to.dvm property-aloné as well-25 Jn dsstciation with pik: «s
2, Noone shall be arbitrarily deprived of his property: si
Artiéle 28- es

‘Everyone! hasthe rigfit re readamn ‘Of tholight, constiente and religion, this righitingisdes. 82
‘freedain ta change his religion: orbeliefpand freedom, sither ‘alone or In community with
others andi if. public of private, to manifest, his’ religion. or beliefin: teaching, practice;
worship-and observance.

Article 18 te.
Everyone has the fight tes! freedom ofopinion and expression; this right inclidles freedom! te.

‘ta - hold opinions: without interference. and:to seek, recelve and impart infomation and:
idéas ‘thrauigh. any media. and pegardless of, Pontiers,

350" exthercatoria.org 4

 
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_. ‘United Nations Universal Declaration of Hurian rights 1948.

Article 2: ‘

4: Everyone has the right to freadam of peaceful assembly and association:
.2.. No-onid may bé comipelléd to belong to‘an association, 5s

Afticie 21:

e

4: (Everyone fas thé- Fight; to take part in the goveriment of his country, directly oF a
through freely: chosen. representatives.

‘2. Everyone has the: right ohequal’ access to public: service in his county. zi

3, The will ofthe peopie shall be thé basis of the. authority. of government this\Will ‘shall. 2
bb e¥piessed in périodic and genuine ‘Slections which shall be by universal and equal
-Sufffage and stiall ie held hy secret vate orby equivalent free voting procedures..

‘Article 22 ish

‘Everyone, as a member: ‘of sociaty,. fas the right to Social: ‘secuty and is entifed to =.
féalization, throligh national effort: and intermational- ce-pperafian and in. accordance:
with the organization -and resoutces of exch. State, chthe economic, sécial and’ ‘outtural -
Fights. indispensable fer his dignity and the fied development oF his personality.

Arti¢ie' 23-
“L, Everyone has the rightto work, to ffée cholée of employment, to justand favoutahle. ©
weonditions of woréand to protectin against unemployment.

By Everyone; “without any discrimination, has the right io equal pay for equal work.. és

3. Everyone wo woiks: has the. fight. ta just-and favourable temuneration. ensuring - es.
for himself afd ‘his family. an existences worthy. ofthuman dignity. and: supplemented), if.
necessary, by other means: af ‘sadial protection,

4. Everyone hasithe right to form. and fa join trade unions for the protection ‘of his. =.
‘interests.

Article 24 cs

Everyone fas-the right to rest and leisuré, Tacluding reasonable’ fiitation ‘of working a
‘hours and periadic. holidays. with pay

Article 25 a

2: Everyone: has the-right te & standard of living ailequang'for the health ard wall.

rat lekxmiendatoiia.org. 5

 
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United Nations Universal Baclataion Sf Human Riphis 1948.

beirig. ot himself arid nf his. family, including food, clothing, ‘housing: and medical cart
andinecessary social services, and ihe. Fight: to security in the.event of Unemployment,
sicknéss; disability, widowhood, ‘Old agé or. othe? tack. of jivelifindd in. circunistafices.
beyond ; his control,

2: Matherhoed and chitdhodd are entitled ta Special caré'and assistance, All childfén, x.
whether bam in of cout of wedlock, shall enjoy the same Social protection.

‘Artiéle 26- 7.

tay and furidarnenta ‘siages. micthentary Situcation shall be: ‘carnpulsory, Technical
and’ professional education. shall be-tiade: generally available and higher educstior
shall be equally accessible to all on the'basis of mérit.

2, Education shall: be dirécted ts the full development of thé ‘human personalityand >
40.1 Strengthening. OF respect’ for: human rights. arid ‘fundamental freedoms. It shal.
promote understanding, tolerance and friendship among all nations, facial Gf religious:
‘groups, and shall further the activities of the United Nations ‘for. the miaintenance.oF

_ pedce..
_3. Farenis have a pltor right ta cheose.the kindof edvaticn that shall be,given to thelr 3
children.

Articia 27 wi

t. Everyone. has the right freely. i. Paititipate 1 in the cultural: ‘ie of the eorimunity; te 2
enjoy rihe arts ani.té share in scientific advancement and its benelits;

2.: Everyone has the fight to the protection of the rictal and material interests Tesulting . tt
¥fOM ariy: Scent ic, Nterary or artistic productign: of. awhielihe js the duthor

Article 28° ie
Everyone is entitled to-a'social and intemationial order iri which the rights and freedonis. x
‘get forth ithis ‘Declaration canbe. fully realved,

Article 29 =

1. Everyone has dutiés tothe commun ity. In which alana the tree: and full development ‘x
Of his personality j is possible;

2. Ig the exercise of-his rights and fresdonis;: ‘everyone. shall be Subject only to-such, #
imitations as are determined. by law solely far the pu rose of Securing die recognition
and respect iar the: rights and freedoms of others-and of meeting the just requirements.

of moral ity. public order-and thé: general. wéllare ina democratié Society,

ne fexmeicatoria.cig . §.
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Wnited Nations Universal Dablarasbn of Human Rights 3848.
3. These sighis.and freedams may in nowase Se exercised. conitary te the purposes. =
and principles of the United Nations.

Anticie 36 7
‘Nething it ini his Declaration Taay be interpreted as implying for ary. $ State, group Orpersan si

anyrightio engage tn any activity arto’ ‘perfonin any act aimed at the destruction of ay
‘Of the ights-and freedoms set font herein;

oa lexnieigatiria. oii. ?

 
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AMERICAN DECLARATION OF THE RIGHTS.
AND DUTIES OF MAN

(Adopted by the Ninth Intemational. Conferericé of American states,
‘Bogots; Colombia, 1948}

‘WHEREAS:

The Améftéan peoples. haye acknowledged ‘the dignity. ofthe ‘Individual and
‘thelr national constitutions recognize .that: juridical -and political instituilons, which

regulate life Ia human society, have.ds their principal alm the protection of the essential
ights of man andthe creation of circumstances that will permit him to achleve spiritual

and: material progress and attain hapbiness;,

_._ ‘The American States:haye'dn repeated oucdsions recognized that the essential:
Fights of man.are not derived from Wie fect that héJ5.a fatiorial-of'a Certain State, but,

ere based upon attributes:of his humer- personality;

‘The international protection of the.rights.of man-shiould be tie pHindipal guide’
ofan evolving American law; * : principal

| The. affirrgation:of esséntial human rights.by the Anierican States: together: with
the Quardntees givén:by the Internal regimes ofthe states estabilisti thé initial system-of
protection considered by the Americar States.as.being suited to the present socal and
juridical ‘conditions, ot without a-recognition. én thelr pait that they should creasingly
Strengthen that systefn inthe international field as conditions become moreJavorabie,
The Ninth Ihternational Conferanze. of American States.
‘AGREES!-
AMERICAN DECLARATION of THe RiciiTs
AND DUTIES OF MAN |
Preamble
_ Allen’ are'‘borm free and equal, in dignity. did if rights, and, being endowed
‘by nature with reason aiid consciefice, they should osnduct themselves as brothers dna:
“fo another.
The fillfiliment of dutyiby each mdividual, is.a prerequisite to-thé figtits. of aif.

Rights ‘and ‘duties-are Interrelated‘in. every social and political activity of man. While
fights exalt individual liberty, duties express the dignity: of that fiberty:.

 
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‘Duties of a juridical haturé presimpose others OF @ moral nature whitch: support.

item (f-orincipie and topstitubs thelr. basis,.

‘Inasinuch.as spiritual development isthe supreme | end of human existence and
the highest- expression: ‘thereof, it isthe” duty. oF man to “Serve that ‘end: with afl-his-.

Strength and-resatinces:

Strice culbird. is. the. highest social ‘and historical -expressian- ‘Gf that spiritual
develdpniént; it Is the.duty of man te preserve, practica andl foster culture hy avery

means whhin his power.

‘And; sirice moral conduct constitutes, the noblest flowering: vof culture, it is the
duty of every man always.te holdttin high vespect.

“CHAPTER ONE

‘Rights:

Attide!, Every human. being has thé right.
“te fe; ‘Hberty: ‘andthe security of his person:

‘Artide-d1.. All persons are equal before the.
jaWy.and have the rights and duties established.

‘in -tHis. Declaration, without. distinction as to
‘face, Sex, language, éreéd or anyother’ factar,.

Artidé TH. Evéry person ‘has the right:

freely to profess a religiods faith, and to
inanifest and practice it both in public and Ini
private:.

Arided¥, Every pérsdn Has the right-to

freedoni of investijation, of épinioh, ahd of He-

-éxpression and dissemination: of ideds, bY. any
medium whatsoever.

Artide:V. Every- persan bias. the right to-

the ‘protection of the faw..against ‘abusive

attacks upon his honor, ‘his: reputation; and his’

pHvate-and farnily life.”

‘Right t® protection. af hdrior;,

Right to-ifé, linaity anc.pérsonal: security.

Aight to.equality before laws,

‘Right to féligidus fraédony and Warship.

‘Right: to freedom of. lnvestigation,. apinion,.

expression: and dissemination.

personal
replistion, arid piivate and. family life:.

 
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‘Artide VE. Every person has the right-to
estab ish. family, the basic element of sodety,
ang to recalve protection. therefore.

-Artide NIE. All. worneni;. during . pregnancy

‘and: the altsing /periad, and. all.children’ have.

‘the right to special protection, care’ and. ald.

Artide VEL. Every pefsin has.thé right te.
‘of. the-
State of which fe is a national, te. move: about’
Sraely within such tervitary,. and nat te feave it.

fix. His. residence .within’ the- territory:

except by his Aw Wilk,

Artide TX; Every-person: has. the right to.

the tavl olzbllity of his: hame::

Astide %; Every person has the- Tight to
Hie. invidiabilty. and transmission “oF ‘his
<arfespondence.

Artide HL: Every person has ‘the right to.

the preservation of his health: through sanitary
and social measures: relating th food; Gothing;

‘HOuSIAg wand: médical cBfe,to the extent

pennitted by public and community resources.

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Right to 2 family and to protection thereof.

Right to protection for mothers and children.

Right td résidence and miovemént.

Right ta inviolability. of the home.

Right. te. the. lnviolabllity. “and transmission» oF

‘correspondance.

‘Right'te the preservation of haaith andite Wwell-
‘Being.

 
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. Article XI. , _ Every. parson: ‘has the right to: Right to education,
an -edtcation,. Which. ‘should be based on -the-

principias - of. liberty, morality and: human.

solidarity,

‘Ukewise every person has the: right to an:
education: that ‘vill prepare hita to -atbain: a
Wecent life, tO ralsé his. standard of living, and
fo bes Useful member.ofsdcdety,.

_ The: ight to an éduration indudes the
In “accordance: ‘with: natural’ taleats, “ENE. ‘and
the desire Eo. ublize ‘the JeSOUrcES ‘that the:
state or the -coriinunity [Sin a position ‘ta
-provide..

_ Every ‘person has ‘the: right .to: recelve,.
free, at least-3-primary education.

-Aitid® SIL. -Every-person has the right to: Right to the benéfits of.cutture:.
take part i the: Cultural life of the community; ,
-to enfoy te-arts, and ‘to. participate © in the
benefits ‘that result from intéllectual progress;
espedally sclerufic discoveries,

‘He likewise has the right! to the protection
of his moral and material Interests as regards
his lAveniiens or day “literary, ‘Ssdentific. or
artistic works. of which he is the author.

<Artide SEV. Every-person has.thefight-to -Right- cic work and fair
work,: indér-proper. conditions, and-to follow -reruneration.
his. Voration freely, .insofar as. existing
eonditions of amplayment permit.

 
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Every person who works-has-the sight to
fetelve. such -refuneration as yall; in
proportion to ‘hls capacity.and skill; assure him
‘a-standard of ling suitable for Hingelf and for:
his family.

“Artie XV: Every personhas:the right te:
leisure: time; to wholesome recreation, gnd to.
the oppértinity fer advantageous: use af. his:
frée. dmete-his. spirithal, clitural and physical.
benefit,

Articia XVI. ‘Every person. has the.right-to
Social security whiciz Wit protect hini from: the
“‘fONSeq ences - Of. uhemployment,. old ade,. and
-any, disabilities arising fram causes “bevond his.
tontrol tak make It physically or mentally
‘Impossible for him: te earna liking:

Artide XVEl. Every person has the right fo.
bé recognized. everywhere a5 2° person having
fights: and obligatiaris, and. to: enjoy't the: basic:
tiv nights. ,

. Article XVEE.. ‘Every: person may.resort to.
the. courts. to. ensure respect ‘for his: legal:
Aghts.. There should iHkewise: be. ‘avallable te:
‘Aim. a “simple; brief procedure whereby: the:
“courts Will protect. hin from acts OF authority
that, torhis. prejudice, viplate. “any ‘fundamental
tonstitutional rights.

Right to leisure Gmé and to the use thereof.

Right ta sacial Security.

Right te recognition of juridical personality and.

cal! rights:

Rightto a fale tal:

 
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Arid XIX:
the: nationality’te which he is-entited bylaw
and to change jt, if he -soiishes, for We
“nationality. oF any: other country. that is: willia
to grantit 6 him.

Artide %%:
‘Capadty is’ Entitded. te partidpate:
government of Als. county, directty or thraugh:

his representatives, ‘and te take part in popular:
alections,. which: shall-beby:sécret, ballot, and

Shall be honest, parledit-and free.

-Artide XXL. Every. person hes. the right ta
-pssemble peaceably With ‘others. in a formel
public meating | Gran. irformal. : gathering, in

connection with-matters of cdtpmon Interest of.

arty: nature:

Arde XXIT. Every pérsari has the Fight to:
‘associate with. others to promote; exercise.and

protect “his. legitimate interests of a palitical;.

economic,  réliglous;  -sadiaf, cattural,
“professional, labor unfon or other nature.

Artidé XXIl:. Every person has aright to.

own such. private’ property vas. meets ‘the.

essential needs oF decent living and helps to.
qhaintain the: dignity. .of the individual ‘and .of
‘the home..

Artide -XXIV.. Every person hes the fight:

ie submit respecttal petitions ta any competent

authority, for’ reasons of. elther’ general or
private - ‘interast, and the fight to” ohtaif a
‘prompt decsien ‘thereaa.

Every ‘person has the: right ¢ to.

“Bvély ‘person having - legal :
in: -the:

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Right £o hationality.,

‘Right ofassembly.-

Right of association..

‘Right to. property.

‘Right of patition..

 
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Asda XXV.. No person. may be: deprived. Right of probéction frorn Srblirary arpést.
‘Of Bisitiberty except in the cases and according.
‘og the procedures. established: ‘by pre-sdsting
‘ave.

No. person may. be deprived iof liberty for.
ricnfullliment. of obligations of-a. purely -dvil
character.

-Every Individual who-has bésn deprived of
‘hig-liberty has the-sight to'have thé: legality. of:
'his-debantion: ascertained swithout. ddlay by a.
court,.and the right to be.tried. without vndue:
aalay or, otherwise, to: be‘ released. He-also.
has the right to. humane -treabnent’ during” ‘the
‘dine he is inv custody.

Article XO ‘Eyery accusd .pérsdr.is. Right to dus process of lave
prestinved to be innocent unl proved guilty;

Every. person dccuséd: Of an offense Ras.
the right td .be- giver. sn. Wnpattial, atid public
hearing, and te be tried by carts: ‘previously:
‘established: in ~actordante - vath’ pre-gxisting
laws, and fot to -recelvé -crtiel) infamotis ar:

Unusual punishment.

Artide XVII, Every person has the: Aight) Right af asylum.
in case Of pursuit not resulting from-orlinary =
Cres, ta seek dad. ‘feceive asylum in. foreign:
‘territory; In eccordance with ‘the ‘laws of each
country and with international: agreements.

Artide: Sonviiz, The rights: at: Madi dre Scope ofthe Hohts ofan.
limited by the rights of others, by the security
ofall, arid-by the just. demands. oF the general
Awelfaré dnd the adVantément of demotracy..

CHAPTER TWO.

Duties:

 
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Aide SS. TE is the dity of thé Dutids 16 sodety..
lWidividuel- So. to conduct himself-in retfatian: to ST
others that-edch and every. one may;fully- form
‘ahd ‘deyelop his pérsoriality.

_ Artie XXX. IEis Ge duty-of every person Guiles toward children.and. parents,
'to-did, support, educdte and-protect his milnor
children, and it is te duty of children to. honor
“thelr parents always and to ‘aid; support and
ipratect. them vihenthey need

Artide XXAL Tk [s: the -duty ‘of every ‘“Duty.to receive instruction:-
person to acquire ‘ak: ‘least an eleméntary
reducation.

Aitide: XXXIL Jt i$. the duty of every: Out thvate..
person to. vote in the-popular elettions of the
‘country of which he ts'a national, when: he. Is-
legally capable of dolnig 50,

#atide X00: Tt is: the duty of every.
.perton id chey tha Ist’ and sther legitimate Duty &o obey thé law.
commands of the duthorities' ‘of His. country sid
these of the country In which het may be..

Aide SV. feds. the duly of every Duty'to serve the community and the nation.
-able-bedjedi person to. render whatever civil and ,
jnifitary service his country may: Tequire: for ‘Its
defanse and: -preseryation;. and, in'case of public
disaster, to render such services as may be in
‘his power.

eis likewise his: duty to held any publle
‘office.to whlch he may Be: elected by. popular
vote! in the state of which he is a: national,

 
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Attia. XXMV. Jk: is EH ‘duty of every: Dulles witli respect. ta..secd security’ and
Berson. to cooperate With the: stzte and’ the welfare..-
cOnmminity With respect to-secial- security. and
Welfare, in-accdrdaiice with his ability and with

-edésting ‘drcumstances.

‘Afticle ‘XXXVI. Its the duty. of every - Duty'to pay taxes:.
‘person to pay the: boxes established. by law for ue
he suppart of public services,

Article. XCOWHE Ibis die duty. of avery Buty tower.
person ty Work,. as far-as his capadty ‘and
possibilities ‘perriiit; If order. te abtain the
means of ‘livelihdod “or te behefit his.

‘gorrtraunity,

Anidé. XRXVET: Tois:the duty of every ‘Duty tecrefrain from: political activites In a
Mnetstr te: refrain: from: ‘taking | part-1R: pollal -fareigc country,
‘activities.that; according te ew, are reserved
exclusively: to the citizens of the-state in which
He isan allen.

 
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(DECLARATION OF THE RIGHTS OF THE CHILD

[Prociatin bed by

This wits tha

“fie Convention on the Rights of the Chie! was entered inte

iWhefees thé peoples pf ihe United Nations have.
spin ee Nong

General Assembly Rasofutian TIED) of 20 Nevernbar 1959.
basis ihe bau atthe Coavention ofthe Rightsaf ihe Ghid:
adooled by iia UM General Assembly 30 years Jaler an 20

ince

. a

November 1980... .
ut on 2 September 7990, f
interests .of thé child shall be the parameunt:

‘in «the Ch . d other faith in ‘considerstion,

fundamental human fiphis and in the dignity and: oo.

‘worth of the histan person, and have deteqnined: “Frineipfe3. | een gg ee ;
to promote Social progress and helter.standards She.child shall. be enktled. from. his: bith to 4
of ifs In larger feedom, | cume and a nationality,

'Vhergas the United Nations has, inthe Urtyersal Pracipie 4 . eee ae eee,
Deckiration. of Human Rights,-prociainied that The child shall roy the benefits -of -sogal

everona = entifed is ail hte fohts and freedams:
3

security He shall be entitled In grow and develop

t forty therein, without.distinetion of ary Kind, ‘in healthy: to this end, specs] care and protection.
gush - as raee, color “Ser, fen oe. ‘religion, shail'ba provided both to-hin and to his mother,
-poiifeal of alter opinion, nadénal or social ongin, including etsaunts pre-natal and past-natel core,
‘propery, bith of other status, ° ° “Tha. child shall: have.’the. Aght to adequate -

ee a gt ge see -futitien; ‘housing, «mcreation © and’ medices,
Whereas ine child, by reason of his piesica! and Seniges. "

‘Mental Immaluity, needs special safeguards and a

are, Incuding: appropaaia legal: “protection; ‘Principio 5... og ce te

before as wells after birth, " “The child ‘who. Is physically, mentally or socially
To ‘handicapped shall ba given the special treatment: .

. Whareas Ine néad for Such special saiequands .

nas bern stated In the Geneva Deciarater of the
Rights of te Child of 1824, and recognizad jn the
Universal Geclatalion of Rumen Rights and in Sie
statutes Of specalized agencies and Intemational

ahizations’ cancemed: “with ths “welfare of

?
“ghildren,

‘Whereas mankind Gvwak-to the child the best &.

education and care -rexpdred by- fis. parteuler-

- condition.

frincipleé . , ee
The ..child; for he Rand hamioniaus
development of his. personality, nests love and
-Lnderstanding: He shall, wherever passible, grav
up in. ihe care and under tha responsdslity af his.
parents, and, in any case: in.an-almasphere of -

has to give; affection and.c! mars! and material secunty;.a
. aN oe wild” ef tender years shall’ ‘not ein
‘Mave fhareiore, ° -exceptonal circumstances, be separated from his
- ¢ -— ‘mather: Sogely and the pubis authorities shall
The General Assembly: ‘have the duly to extend pariioiier care to children

'Pmciaima this Declaration .ofihe ‘Rights of ihe

wilhout a family,and to those without adeqiste
Means of support Payment of State and’ other

. Chitd: fo ihe” end .thatihe- may heave. @ farey assistance yds the maintenance of children
childhoed and enjoy for his own. good and for ibe Of large families ie desirable.

dood afigocialy, ihe fights and freedoms herein : vem

“Set forth, and calls-upon-parents, upon men aad!

women: as individuals. and upon: ‘volumiany
organizations, focal authorities: and . national
‘Govemments fo recognize these nights and tive
for thelr abservence by’ legistative. 2nd other
measures progressively daken in gcourdance with
" the following principles
Pinglple I = a Loa ee ee
The child shal enjoy al ihe Aghis set forth in ihis.
Declaraticn: Every chin, Wtiioet ary exreption
“whatsoever, shall. ba grititied “io.\.inese rights,
wihout distlncian or discrimination on acount of-
weoe, color, 56x, language, relighin, -polilical ‘or
‘giher opinion, nabenal of. social origin: property,

-glementary . stages.

Principia ye eee ep cece ,
The ohild'ts enttted it Tedeive. educslion, which
shall be. Fee. and conipulsery, .at-lesst-in ihe
“He shall be. given. “an
edudetion which Wil promote his general cullure
andenable him; one bagis of equal opportunity,
to develop his abilities, his individual jutigament,
ard his.sense of moral-and socal espansioily,
‘and tp become 2 tisetul member of society,

The Hest Interests ol the chitd shall ba the guidmg:
plingpla of hose responsible for his.educaiicn.
and guidance: that rezponsibility fies'in the first:
pléce withhis parents.” me

‘bith or other status, whether of himself or af Ins’. The chiid shall have ful) opportunity for play and
family. , recreation, which should be directed ta the sare
oe ‘purposes as education: society and: tie- public.
Primcipiez:; es: Shot “endeavor io: promote the
‘The ehid shall enjo Special protection, ond shall. ‘anleymentef this aight’ © ~~ sures
‘Gene % a

be ghveroprartunites and , by law and.
by. other, means, ‘ta’ enable fim to. develop:
ehysicaly,. - mentally, morally; spiritually ~and
‘socially ia heathyahd nomial mannerand in
conditions ‘of -freaiomi.and:-dignity. In ihe
venaciment af-iawe for: this porposa, the “best

Fel Bayes 7, Water Abpea.

Principia B Ley .
The child shall in all crcumsiances be among the
frst to receive protection and fei, ~~

aig

 
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Syinciples ee,
The child shal. be protected apainst ai} foris of
‘neglect cnielly and expinialien. He shall cot be
“fhe subject of traffic, in any form, 7

“The Child shall nel be admitted: t4 employment:
Sstore an appripriste minimum age he Shall ‘in
fe case be caused or pannitted to engace iG any
occupation oc employment which would orejudice-
iis ‘health or’ Gen, or. interfere with tis

physical, mentalar more! development,

- May foster racial; religious and

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‘Prineinie 10: oo, cae cen. '
The child shall be protested from practicos which -
ether fan of
‘discimination.He‘shall be‘brovght up in a spirit-
“of ‘understanding, tolarance,. fiendship among
.peopies, peane end universal brotherhecd, amin.
If ennsciousnass that his enemy: end: talents.
‘should be devoted fo-the service of his: fellow:
men, .

CONVENTION ON THE RIGHTS OF THE CHILD:

adopted and oneried for si
ee opera se

nature, raliination ahd accession by
ution 34/25 of 20 Nevarmiber (86: -

Silty ina force: 2 Seplember 1990, in accordance with Anite SE]

‘the General Assembiy,.

Recalling: Is previous. resolutions, especially
resolutions 28/66 ‘of 20 December i978 ‘and
-€8112-08 @ December 1688, and those of the
‘Commission on Haman 1 Rights ard the Economic
and Socal Council related ta.the quebtion-ef a
“qonivention on ine rights of the ¢ "

Taking note..in partictitar, of -Conimission or
Human Rights resolution 193a7-oF 6 March
41888, by whith tha  Comnmlssion -decded to
fransmit the draft convention on the figtts.of the

-chid, trough the Econtmic and Social Council.
fp. the ‘General Assembly, and’ Economic and:
‘Sagat. Counc!’ resolution 19879 of. 24 May

Reafinming that: children's tighis. require. speciat.
' protection greg call for continucus improvement of.
he situation of children all over the world, as weil
as. for “thelr ‘develepment! and education’ in-

conditions qfpeacsandsecuity,

Profoundly. countered. that. the :situation. of
“Children ti ey, atts. of the world remains
Gyicalss-2 result of inadequate socal conditions,
{ disasters, armed conilicts,, exploitation,
iiterecy,” hunger and <isabiity, and: convinced
“heb ingent: and’ effective -neliona! "and:
intemational action is malted for, Coe
djadiol -of- fhe - important’ ple .of “the United.
Nations Ghidren’s Fund-and_ of that of the United:
Notions in oramoling ihe wellbeing of children
van their development" "0"

Convinced thatan iInsemationsl convention'an the:
aghts. af" ihe: child, as "a" staadari-sti
accomplishment of the United Nations in the fie!
of shuman- ights,. would cmake- a” j

T

ive.
contribution te protecting’ chiluren's- nights -and
ensuring theirwel-beng,

mind’ that 158° marks: the thigeth:
ofthe Dectaration of the Rights of tha:

Beaving: in
ath
the “itenth: “anniversary -of the

Child 7 and.~ the
‘Intemational Year of the Chid,

4. | (Express¢s: ite appreciation in ihe
Commission --on- Homan. : Rights for: having
Conguded the. elaboration of the draft convention
“et the gights of lhe enitd;

S200 Sewn, Walle Met ereeyet

6
- subrait

2  _ Adopts . and’ opens for signature,
‘ratification and accession tha Canyénticn on the
iRighis:of the. Chid contained in the annex fo the
.present resoiutiény *

“3... Gall. upon: all -7tember. States. tg.
‘consider signingand rativing oF ecoeding tothe:
Convention as a matter 9 priority rid expresses
the hope: that it will come ints -loles-at an early"
ater a

4... , Requests | the . Secrelary-Geneal: ite
‘provide ail the focililies and assistance necessary’
vor, dissemination’ of information on ‘the:
‘Convention,

‘Sh Invites. United ‘Naticha. agencies and
Jiganizalions, 25 wel as infergovemunenial and.
fo-govemimeEntal organizations, th inteasily thelr
fois wih a view. to disseminating infonmstion,
‘on the: Convention “and: to pecmating: “itz
understanding, "

_ ‘Requests’. the. .‘Se

c the, “Secretary-General!-to:
at ie ihe General Assembly. at |ts. forty-fifth:
session 3 report on ihe. status of lhe Convention.
Jon ihe Rights of the Ghild:.

7. Decides to consider: the report :of the:
‘Beceatary-General ai its:forty-ffh session under
an ‘item ~ entitled: "implementation of" the:
‘Convention on the Rights ofthe Chit, ~~

Gist plenary Meeting.
-20 November. 1889"

‘Convention on the Rights of the Chita

" PREAMBLE

“Salons.
the humen famey

=465=

The Stites Paitiés to the present Convention,
Considering - that, ii: aéeondance with ‘the,

iprintipies prociained in the Charter of the United
‘ recog egnion ofthe Inherent dignity and af,
and inalienable rights of all members of
is ihe foundetion.of freecom,.
justice and peace in the werid,

‘Seating if. mind-that-the peoplesiat the United:
‘Nations have, in ine Charter, eatimed their faith

the equ

 
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nome CASE at17-cv-00881-TIC-JBT Document 1-3 Filed 08/01/47 Page 142 of 197 PagdiD ATT

United Nations. Declaration
on the Rights of Indigenous Peoples

 
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— base a 17-0v-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 143 of 191 Pagal s7ghe.

Resolution addpted by the General Assembly

[without reference toa Main Commitee (Af61/1.67 and Add_i}]

61/295. Wuited Nations Declaratian on the Rights of
indigenous Peoples

The General Aseinbly,

Taking note of the recommendation of the Human Rights Coun-
cil contained in is resolution 1/2 of 29 June 2006,' by which the
Council adopted the text ofthe United Nations Declaration on the
Rights of Indigcnous Peoples,

Reeaifing its resolution 61/178 of 20 December 2006, by which
it decided vo defer consideration of and action on the Declaration
te allow time for Ricther consultations thereon, and also dedded ta
conclude its consideration before the end of the sixty-first session of
the General Assembly,

Adopss the United Nations Declaration on the Riglits of Tadigenous
Peoples as contained in the annex to the present reschition.

lath plenasy meeting
13 Seprember 2007
Amnex
Bnited Nations Declaration on the
Rights of Indigenous Peopies
The General Amemily,

Guided by the purposes and principles of the Charter of the United
Nations, and good faith in the fulfilment of the obligations assumed
by States in accordance with the Charies,

Affirming that indigenous peoples arc equal to.ail other peopics,
while reoognizing the tight ofall peoples to be different, to cansider
themselves different, and to be respected as such,

 

*See Official Revendiaf the General Aisrably, Sixtyfirst Serre,
Sepptoera? Ne, S3(A/G1 {S35}, part one, dap. Hee, AL

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—. ase al L?-

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Affirming ako thar all peoples contribute to the diversity.and ach-
ness of civilizations and colores; which constitute the comnion heri-
tage of humankind,

Ajfirming, fiursher that all doenines, policies and: practices based on-

or advotating superioricy of peoples oc individuals on the basis of
national origin or racal, religious, ethnic or culoeral differences are
racist, scientifically false, Iegally invalid, movally condemuable and

‘socially unjust,

Reaffirming chat indigenous peoples, in the exercise of their tights,

‘should be free from discrimination of any Kind,

Concerned that indigenous peaples have suffered from historic iyas-
tices a5 3 gesult of inter alia, rheir colonizadon and dispossession
of their lands, termrories and resources, thus prev: enon them fom
exercising, in particular, their right 10 developrienr in accordance
with their own needs and interests,

Recagnizing the urgent need to respect and promote the inhercot
nghts of indigenous peoples which derive from their pofitical, eco-
nomic and social srructures and ffom their culoures, spiritual madi-
tions, histotes and philosophies, expdsially their cabins os their lands,
teritorics and resources,

Recggaising alse the urgent need te respect and promote the debrs
of indigenous peoples affirmed in weaties, agreements and other
constructive arrangements with States,

Wefteming the fact that. indigenous peoples arc organizing, whers-
selves for political, ecnnomic, secin! and eufrurat enhancement and

in order to bring to-an end all forms of discrimination and oppres-
sidn wherever they accur,

Convinced that conmol by indigenous peoples aver developments

affecting them and their fands, territories and resourees will enable

them to mamizin and strengthen their institutions, cultures and tra-
ditions, and to promos their develapment in. accordance with their

“aspirations and needs,

Retognising that respect for indiggnous knowledge, culoures and
traditional practices contributes to sustuinable and. equitble devel-
opment and proper management of the environment,

Emphasizing the contribution of the demilirarization of the lands
and territories of Indigenous peoples to peace, economic and social

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Progress and development, anderstanditig and: fricudly relations
amotip nations aad peoples of the world,

Recognizing i in parttayiar the ight of indigenous families and com-

munities 10 retain shared responsibility for the upbringing, taining,
edneation and well-being of their children, consistent with the rights
of the child,

Considering that the rights affirmed in treaties, agreements and other
constructive azmangements between States aud indigenous peoples
aré, int some situations, matters.of international concern, interest,
responsibility and character,

Conddering ado that ivatics, agrecments and ober consmmuctve
arrangements, and the relationship they represent, are the basis fora
strengthened partuership between indigenous peoples and States,

Acknowledging that the Charter of the United Nations, the Tmerna-
Honal Covenant on Eeonontic, Social and Culpural Righr? and the
Entemational Covenant on Civil and Pélitical Rights? as well as the
Vienna Dedaration aod Programme of Action affiem the fireds-
THcHtal importance of the pght io self-detcrnination of all propies,
‘by vite of which they freely determine their political status anc
freely pursne their economic, social and cultaral development,

Eraring in mind that nothing in this Dedaration tasy be used to
deny any peoples their right to self dctermination, exercised in con-
formiry with international law,

Convinéed that the recognition of the rights of indigenqus peoples
in this Declaration will enhance harmonious and cooperative rela-
Goas berween thr State and thdigenous peoples, based on principles

ofjustice, democracy, respect for human sights, non-diserimination
and good faith,

Enrgeragiag States to comply with and effectively implemen ali
their obligations as they apply to indigenous peaples under inter
national instruments, in particular those related ta human rights, in
consnitation and cooperation with the peoples concemed,

Empbassing that the United Nations has an inipartant and continu-
ing role 10 play in promoting and protecting the rights of indig-
enous peoples,

# See esobttion 2200 A (XU annex,
24 /QONEISZ/24 (Part I, chop. HI.

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base at

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Helieving thar this Declaration is « finther important step forward.

for the recognition, promotion and protection of the nights and
freedoms of indigenaus peoples aad in the devclopment of relevant
activities of the United Nations systenr in this field),

Recognizing sud reaffirming that incigenous individuals are ent-
tled without discrimination to all human sights recognized in inter-

national jaw, and that indigenous peoples possess collective rights.

which are indispensable fer their existence, well-being and integral
development as peoples,

Recognizing that the situation of indigenous peopies varies from.
Tegion to region and from country to county and thar the signifi-
cance of national and regional particularitics and Yarious historical
and cultiiral backgrounds should be taken inte consideration,

Soleisuly proclaimsthe following United Nations Deelorion on the
Rights of Indigenous Peoples as a standard of achievement to be
pursued in a spirit af parinemsbio and omcual respects.

Articie i

Indigenous peoples have the right ro the fall enjoyment, as a collec
Ove oF as individuals, of all human rights and findamenral freedoms
aS. recognized in the Charter of the United Nutions, the Universal
Declaration of Human Righes' and inpamational human setts lane
Article 2

Tadigenous peoples and individuals are fee and equal.to all other
peoples and individuals and have the tight to be fie from any Kad

of discrimination, in ube emeeciée of their rights; in particular thar
based on their indigenous ongin or identity.

Arvicte 3

Indigenous peoples have the right ro-self-determination, By virie
of thar aght they freely determing their political starus and freely
pursue their economic, social and cultural development

Jrticfe d

Indigenous peoples, in exercising their dghr 10 sclf-determination,
have the sight to. suronomy orself-goverimentin matters relating to

“Hesofition 217 A {itt}.
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sheir internal and local affairs, aswell as ways and means for Enanc-
ing theis autonomeus functions.
Article 5

fadigenons peoples have the right 16 mainin and strengthen ' their
distincr political, legal, economic; sociaf and. culrural institutions,
white retaining their ight to parteipate ‘fully, if they so choose, in
the political, economic, social and cultural fe of the Snite.

Artrrte 8
Every indigenous individual has the righr to a nationality:

Article 7

1. Indigenous individuals have the sights to Bk, physical and men-
tal integrity, liberty and socority of person:

2. Indigenous peoples have the collective right to five in freedom,
peace and security as distinct peoples and shall nor be subjeceed to
any act of genocide or any other act of violence, including forézbly-
removing children of the group to another group.

dirtscle. &

I. Indigenous peoples and individuals have the right not ta be
subjected te forced assimilation or destruction af their culoure.

2. States shall provide cftctive mechasiiéms for prevention of, and
redress fors.
{a} Ari sction which fas the aim of effect of depriving them
oftheir integrity as distiner peoples, or of their culm values
or ethnic identities:
{8} Any action which has the aini-or effect of dispossessing
them of their lands, cercitenies or resources;.

{c} Any form of forced population transfer which has the aim
or effect of violsting or undemmining any of their shes;

4) Any form of forecd assimilation or intégration;

{e} «Any fanm of propaganda designed to promote or facie
-tacial or ethnic discrimination directed against them.
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Article 9

Indigenous peoples and individuals have the sight to belong to an
indigenous community of nation, is accordance with the iraditions
and customs of te community or nation concerned. No discrimina-
don of any kind may arise from the exercise of such a right.

Article 18

Tadigenows peoples shall not be forcibly eenoved ftom their lands or
tensories. No relocation shall rake place without the free, prior and
informed canscut of the indigenous peoples cancerned and after
agreement on just and fiir compensation and, where possible, sith
the option of rem.

Article 1i

4. Indigenous peoples have the deh w prectiseand reviralize their

oultural traditions and customs. This includes the right to maiarain,,
protect and develop the pact, present and future manifestations of
‘hen entrares, such os archatelocical and historical sires, arteficts,.
designs, conmmonics, wchnolegics arid visual and performing ars
and Hterarure.

2. Sistesshall provide redress through effective mechanisms, which
may include restinition, developed in confimetion with indigenous
peoples, with respect to their cuttural, intellectual, eeligions.and spir-
ima} property taken without their free, prior and informed consent
of in violation of their laws, traditions and customs.

Article 12

i. Indigenous peapics have the right ta manifest, practisc, devrlop
and teach their spiritual end religious waditions, costoms and cer-
emaGnics; ite ight so maintain, protect, and have access in privacy
to their rehgious and culnzral sites; the Fight to the wse and conta]
of their ceremonial objects; and the right in the repatiirion of their
-humay remains.

2. Sates shall seek to enable the secess and/or repatriation of cer-
tmonfal objects and human remains in their possession through fair,
munsparcat and effective mechanisms developed in conjunction with
indigenous peoples concemed:

 
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hose 3h17-ev-00881-TIC-JBT Document i-3 Filed 08/01/17 Page 149 of 191 PagdlD gadle—

Article 12

4. Endigenous peoples have thet ight to revitdlize, ase, develop and
transmit ta Aintree generations their histories, languages, oral und
tians, philosophies, writing systems and lneratures, and 19 designate
and retain their own names for communities, places and persons.

2. Stues shall ake effective mieasures to endure that this diglit is
Protected and algo to ensure that indigenous peuples can understand
and beunderstood in political, iegaland administrative procecdings,
where necessary through the provision of interpretation or by other
“Appropriste means,

Article ££

1. Indigenous peaples have the right te establish and control their
educatianal systems and institutions providing education in their
own languages, int manier appropriate to their cultural methods of
teaching and fearning,

2. Indigenous individuals, particularly children, have the sight to
all levels and forms of education of the State without discrimina-
cor.,.

3. States shall, in conjunction with indigenous peoples, take cficc-
tive micasurcs, in order far indigenous individuals, particularly chil-
dren, inchiding these living ouride their cormmunides, to have
access, When possible, toan cducation in sheir wn culture and pra-
‘vided in their own language.

Article £5

4. Indigenous peoples have the night ta the dignity anc diversity
of their cultures, traditions, histories and aspirations which shail be
appropaately reflected in education and public information..

2. Stares shail mie effective measures, in consultstion and coopers
Hos with the indigenous peoples concerned, to combar prejudice
and climinate discrimitiazion and to promote tolerance, undersiand-
ing and gpod relations amorig indigenous peoples and all other seg
meng of society.

Articie 16

1. Indigenous peoples have the right te establish their own medizin
their own languagesand tp have access to all forms of non-indigenous
mera withoue discrimination:

“sy
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 150 of 192 |
— hase dar. ~cv-D0881-TJC-3BT Documenti1-3 Filed 08/01/17 Page 150 of 191 Pagdip 485'___.

2. States shall take effective mezéures to ensure thar Sete-owned.
media duly reflect indigenous culozral diversity. Stares, sithout
prejudice te cosunng full ireedom of expression, should encour-
age privacy owned media to adegdately rcHeetIndigendus culrordl

diversity.
Article I7
iL. indigenons individuils and peaptes have: the nght to enjoy fully

all sights established under applicable international and domestic
labour law.

Z. States shall if consulmtion and cooperation with indigenous:
peoples sake specific measures to protect indigenous children from
economic exploitaion and from performing any work that is likely

to be hazardous or to interfere with the child's education, arte be
harnful to the child's health or physical, meatal, spicienal, moral ar
social development, taking inte account their special vulnerabiliry
and the importance of education for tice empowerment.

3. Indigenous individuals have the sight not to be subjected to any.
discriminatory conditions of idbour and, inter ali2, employment or.
salary.

Artitie TB “

indigcnons peoples have the sight to participate in decision-making
in matters which would affecr their sights, through repirsentatives
chosen by themselves iy a¢condance with their own procedures,
as well as co maintain and develop their oun indigenous dccistan-
making instimrions,

Article 70

States shall consult and cooperate in pond faith with the indigenous
peoples concemed through their own frpresentative instiqutions in:
onlerio obtain their fee, prior and informed consent before adopt-
ing aad implementing legislative or administrative measures that
may affect them.

dirticte 26

i. Thdigenous peoples have the ri ighr to maintain and develop their
pali itical; economic and social systems-or instigations, ta be secure:
in the enjoyment of their own means of subsistence and develog-
ment, and to-engage Geely in all their eraditional and ather eco-
nomic activities.

 
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2. Indigenous peoples deprived of their means of subsistence and
development are eniitled to just and fiir redress.

Article 31

4. Indigenous peoples have the Hight, withoar discrimination, to
the improvement of their economic and social conditions, including,
inter aliz, in the areas of education, em Ploymicor, vocanona) tiniag.
and retruining, housing, sanitation, health aad secial security:

2. Staves shall mke effective meisires and, where sppropriam, spe
cial measures to ensure continuing iiprovemieny of theiz economic
and socal conditions. Particular attention shall be paid ta the rights:

and special needs of indigenous elders, women, youth, children anid
persons with clisabilities,

Articée 22
3. Particular ntention shall be paid to the rights and special needs

of indigentus elders, women, youth, children and peBans with dis—
abilities in the implemenration of this Declaration.

2. States shall tke mcasures, i codjunction withindiecnoys: penples,
Sp ensure that Indigenous womea and children enjoy the fill promction
and guamntces against all forms of vicines-and disodmination.

Article: 23

indigenous peoples have the right to determine and devclop pri-
orides and strategies for exercising their righe to development. In
padtiquizr, indigtnous peopics have the vight to be actively Involved
in developing and detennining health, housing and other economic
and social programines affecting them and, as far as possible, to
administer such I Programas ihronga their qn institutions.

Artirt: 24

1. Indigenous peoples have the ight to their traditional medicines
and to maintain cheir health practices, including the conservation of
their vital medicinal plaints, animals and minerals. Indigenous. indi~
viduals akg have the fight to access, without any discrimination, to
all social and iralth services.

2. Indigenous individuals have an equal right ro the enjoyment of
the highest attainable standard of; physical and mental health. Seates
shall ake the necessary steps with a view to achieving pro pressivcty.
the full realization of this tiohe
Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 152 of 192 |
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Article 25

Indigenous peoples have the right to maintain arid strengthen thee
distinctive spiritual relationship with. theic tidigionally owned or
otherwise occupied and used lands, weritories, waters and coastal

seas and other. resources and to uphold theic responstbilides to
foture generations in this regard.

Article. 26

1. Indigenous peoples Have the fight po che Jands, terrivori¢es and
resources which they have traditionally ewned, occupied or other-
wise used or acquired.

2. Endigeious peoples have the tight to own, use, develop .and
contro] the lands, tersixocics and resourees thar hey possess by-rea-
sot. of traditional ownership or other tradidional occupation or tise,
as well os thasc which they Have otherwise acquired.

3. States shall give {egal recognition and protection to these bands,
tervitorics and resources. Such recognition shall be conducted with
due respect ta the customs, traditions and fand tenure systems of the
indigenous peoples concerned.

Artizle 27

States shall establish and implement, in conpmetion with indige-
nous peoples concermed, # fair, independent, inspartial, open and
tanspitent process, pivine duc recognition in indigenous peoples”
laws, traditiogs, customs and lend tencre Systems, (0 recopiize aad:
adjudicate dié dighrs of indigenous peoples pertaining to their funds,
territorics and resources, Including those which were uaditiondlly
owned or otherwise occupied or used. Indigenous peoples shail have
the right to participate in this process.

Artic: 28

1.. Indigenous peoples have the right to redress, by means that can
in¢lude restitution on, when this is nor possible, just, Gir and equita-
ble compenscufon, forthe funds, terraces and resources which they
have traditionally owned or othecwise occupied or used, and which
have been confiscated, taken, occupied, used or damaged without
their free, prior and informed consent.

2. Unless otherwise freely agreed upon by the peoples concerned,
compensition shall take the foun of lands, territories and. sources

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equal in quality, size and legal status or af monemry compensation
or other appropsiate sedress.

Article 29

1. Indigenous peoples hive the sebtso the eonsereation arat pro-
rection of the environmentand the praductive capacity of theiriands
of territories and resources, States shall establish and implement
aSISTInCS propramics for Indigenous peopies for such conservation
and protection, without disciimination,

2, Stats shail take effeerive measures to ensure that no storage or
tlisposal of hazardous materials shall tke place in the lands or ter-

Titorics of indigenous ptoples withous their free, prior and informed
carsent..

3. States shall also wake effecive merures. to ensire, as, ceetied,.
that programmes for monitoring, maintiging. and ester, the
health of indigenous peoples, a5 dexcloped and implemented by the
peoples affected by such materials, are duly inrplememed.

Artiste 30

1. Afiilirarp octiviics shall nor take place in. the dands ar rersitdrics
ofindizenons peoples, unless justified by arcievan: public interest or
otherwise freely agreed with or requested by the indigenous peoples
concarmed.

2. States shall undertake effective: consultations with the indig-
shous peoples concemoed, through appropriate, procedures and in
particular through they seprescnizizve institutions, priar te asa

their lands or termitories for military activities.

Article 31

IL. indigenous peoples have the sight to maintain, control, prorecr
and develop their coloural heritage, traditional knowledge and wa-
ditional culnural expressinns, as well as the manifestations of their
scences, rechnologics and culoures, including human and genetic
yesources, seeds, macdicines, knoyiedge of the properties of fiona
and flora, oral traditions, literatures, designs, sports and traditenal
Bames and visual and. performing arts. They alse have the right.10
nktintain, control, protect and develop their intellecrdal property
ever such cuirsral heritage, maditional imowledee, and traditional
cultural expressions.

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hase 17.

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2, In conjunction with indigenous peoples, States. shall mike effec
ve measures to recageize and protect the exercise of these rights.

Article: 32

I. Indigenous peoples have the sighe to derermine and-develog
procdes and strategies for the development or us¢ of their ands or
territories and other resources.

2. Sotes shall consult sod cooperate in good faith with the indig-
enons pooples concemed through their own representative instins-
Hons ut erder 9-obtain their dice and informed consent priar to the
apprina) ofany project affecting their lands or territories and other
Resources, pariculaaly in connection with the developnient, uriliza-
non or exploitation of mineral, water or other soars.

3, States sholl provide efihative mochogisms focfustand fie redeess.
for any such activities, and appropriste measures shah be mken to
“Mitigate adverse envinoamenzl, economic, secial, culuiral or spidi-
tual impact.

Article 33

i, indigenons pennies have the sehr to determine ther own iden-
Sty-or membership in accordance with the customs and traditions,
This dovs not mmpair the ripht of indigenous individuals to obrain
citizenship of the States in which they live.

2. Indigenous peoples have the sight to determine the semctures
and 1 select the membership of their institutions in a¢cordanec with
their own procedares.

Article 34

Indigenous peoples fave the right. te-promere, develop and main-
tan iheirinstituitonal stenouires sod their distinctive customs, spiri-
‘tuality, traditions, procedares, practices and, in the cases where they
exist, juridical systems or customs, in accordance with intemational
hontan sights standards.

Article 35
Indigenous peoples have the right tm determine the responabiliies
of individuals to their communities.
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Article 38

L. Indigenotis peoples, in particular these divided by international
orders, have the sight 10. maintain ant develap contacts, relations
an ceoperion, inrlndins scivitics for spirimsl, cofural, political,
neononic and social purposes, with their own members as well as
ather peoples across borders:

2. States, in consultation and. coopération with indigunaus peo-
ples, shall take effective measures to facilicate the evercise.and enstire
the implementation of this right

Article 37

{. Indigenous peoples have.the right to the recognition, obsere~
ance and enforcement of teatics, agreements and other canstrnctive
amangements contladed with States or their successors and ta have:
States honour aod respect suds iréaties, aereements and other con-
Siictive arrangements.

2. Nothing in shis Declaration moy be intespreted as diminishing
or chminating ihe rights of indigenous peoples contained in ieatics,
agreements aod other constructive arrangements,

Articic 38

States, in consulimion and cUOpPeMHod witht indigenous peoples,
shall take the appropriste measures, inclading levislative measures,
te achieve the ends of this Declaration.

Article 39

Indigenous peaples have the ight to. have access to financial and
technic assistance from Sms and through international coopers-
Hon, forthe enjoyment of ihe nights conmined in this Declaration.
Artidl: 4)

Indigenous peoples have the dght to access to and prompt decision
through just and fair procedures for the resolotion of confticts and
disputes with States or otfver parties, as well as ro-cflective remiddics
for all inftingements of their individaat and collective cights. Such.
# dedsion shall give due consideration te the custams, traditions,

rules and legal systems of the indigerous peoples concen and.
international human sighs.

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 156 of 192
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Article 42

The organs and specialized agencies of the United. NaBons.spstem
anid: other iatergesemumental oremirations shall contribute teeth felt
realization of the provisions of this Deckration threegt: the mobilize
don, inter alia, of fancial. cooperation and technical asistance, Ways
and means of ensuring participation of indigenous peoples oxt issucs.
affecting them shail be established.

Article 42

The Onited Martens, ds boztios, focluding the Permanent Forum on
indreenons Issues, and specialized apences, including at the coun-
try devel and Sraes shall promote scspect for and full application of

the provisions of this Declaruion and follow up the effectivences of
dis Declaration.

Article £3

The sights recognized herein comstizote the minimunrstandards [or
the survival, dignity aad well-being of thc indigenous peoples-of, the
world.

Article #2

Al tbe tights and feadoms recosnized herein are equally guaran-
teed to shile and female Indigenous individuals.

Artich 45

Nothing in this Declarstior may be. consauad as diminhing
or extinguishinys the nphts iotigcdus peoples have now or may
acquire in the frome.

Article £6

1. Nothing in this Declaradon may be interpreted as implyiig for
any Ainte, poopie, group or person any rivheto engage in any acuvity
erin poform any act conmary to the Charter of the United Nations.
or-construed asamthorizing of encouraging any action which would.
dismomber or impair, toizlly or in port, che terfitorial integrity or
poliical uniry of sovereign and independent States.

2. In the exercise of the sights enunciated in the present Dec-
lanttion; human right and findamentsi freedoms of all shall be:
respected. The exercise of the rights set forth in dhs Peckeerion:
shall be subject only to-such limitations as ane deteemined by lw

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and in accordance withintemational human tights obligations. Any.
such limitations shall be nen-discriminatory and shdctly mecessary
solely for the purpose of sccuring-due recopnition and stspoct for
the sxigh:s-and ieedons of others and for mecting the just and most
vompeiling requixcments ofa demecratic society,

3. The provisions set forth in this Declaration shail be interpreted
in accordance with the prindples of justice, democracy, respect for

humaii rights, equality, con-discimiation, geod, covemanac ami,
gaod faith.

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Having considered the application fot tiembership ‘of

tha Republic of 3fali"*

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_ilenons: constitutes: a grave tisk to.world’ peace and
.eo-cperation,.

- Conscisas that-both in thé: General Assembly and in
the world at large itiis necessary to: arrest “this trend
in feternations! relations. and to_. contribete aee
“grester: butroc among nations irrespective oE wis
Teyences ii ee. political and eronoraic sysems,

“Ab Urges. ‘that all Counbriés, in accordance with: the
Charter Of. the Tnited. Nations, refrain from: actions
Tikely. ter aggravate international teisions;

2, ‘Reaffirms. the conviction that, the strength ‘at the
Unitidl Nations rests on the
States ‘which ‘should he Fartlicemning in full measure so
that the Organization becomes 3 more effective: inet

mentor ‘thesaleguaniing of peace and tor the prometion.

of the economic and social advancement of all peopless:

BS! Uiges Farther ther imaibdiate. and” consixuciive:
steps should be adopted in separd t¢ the urgent problens. |
soucerning the peare of. ths warld.and'the advancement:

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rights of men and women and of nations large and sail:

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Tife fio tazger: freedom, -

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development of: dependent peoples and militites Zeainst

tha United Noatinas ideal of amiversal peace;

el feemaing te that 4 pies may, for their ain ends, Sealy
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Pisjudice to any, obligations. setae vent of fateraational
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and irreversible and that, in order to avoid serious erises,.
am end manst be‘ pat to mloniatien and al peasticns of
segregation and. discrinimation: therewith,
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nomber of dependent: textitories ato freedam ‘and inde.
pendence, ‘and recognizing - sngteasingly : powerkal

‘ronds. towards freedom in-sicly lertitaries- Sindh “have:

notiyet attained independence,

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Convinced that alt peoples have an inslieaable sight

fo complete ireddam, the exercise of help, sovereignty:

and the integeity. of theix national territory,
_Solewwilp: proclaims the neckedity. of bringtag to a.
predy and aricomditional end éclonialiens-in all its fornis
“and coantifestations 5.
And ta this end
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“dotination- sad exploitstion comktitnies 2 denial’ of
fundarsental Bueaars-rights, is contrary te the. Charter.
OF. the “Usiited Natijis md is an impediment to -the
"Promotion: pf world peace and co-operation: —
- 2. _All piiples Have tte Tight to self-determination :
ght they ‘ireely determine. their
politcal status and-freely. pursue their econdmic, social

cational p ess.should ever serve as a preteat:
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3. Tnadequacy af palitiess,-éeinoenig, social ar dihi-

w4i All armed. action ot represtive nicosutis of all:
‘kinds diverted against: d
freely: their. tight to complete ia
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lorits whith -have'not yet: attatried independence, to
tf all powers ta the peoples of those ferriteries,
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yuntion of the ational sinity and the teztitorial in-
fegrity of a coanity is incompatible with dtr TrOses
anil principles. of the Charter of.the United! Nations.
_ 4%. All States shall observe -ithfully and. strictly.
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‘the Universal Declaration of Human Rights and the
present, Derlaration -on- the sheste Of eonality: - nine
antetiecence in the interrial affairs. ofall’ States! and

‘Féspect for. the ‘Rovereigm tights -of ‘all ‘peoples andi

theit territorial integrity; :
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‘follows; “Cina, Czecnostovaria, Faante, Hownvess,, Imray. Tkag, Istanc..

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Case 3:17-cv-00881-T3IC-JBT Documenti-3 Filed 08/01/17 Page 160 of 191 PagelD 495

Charge Sheet (PD-FORM 458) [Front]

 

 

1, Personal Data
Commissioned
- _. 107 "Warrant
Corrigan; Michael _ _Unimown.- Officer
i. Namie of Accused (Last, First, Middis Initial} «=. SSN: 3: Grade ir Rank:

Uniformed Services Duval County Florida Tax Collector

 

 

 

Dnknows:. 291 Kast Forsythe Street: Jacksonville. Rlorida 22902 .
4. Pay Grade 5. Unit or Organization
- ‘Uninawn.. Unknown
6. Gurrent Service ~ . Initial Date fb, Term: 7%. Pay Per Month de Basic. Sea-Forsign Duty } <. Tezal
Apprehension,
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Ii, Charges and Specifications.

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‘Constititing Grave ‘Breaches of the Fundamental Guarantees ofthe ‘Hague Conventions and the
‘Gere Conventions and all annexes thereta

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[G.C.X. 2057 - July, 1]

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 161 of 192

Case 2:17-cv-00881-TJC-JBT Decument 1-3 Filed 08/01/17 Page i61 of 191 PagelD 496

‘Charge Sheet (DD FORM 458) [Front]

 

 

I Personal Data
Conimissioned
| 408 “Warrant
‘Smith, David J. | Unkoicwr Officer
1 Name of Accused (Last, Ficst, Middic initial) 2: SSN - 3. Grade or Rank

Uniformed Services United States Appesls Court Clerk.

 

 

 

 

unknown _ 55 Forsyth Street N.W.; Aflania. Georgia s0807.
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‘8; Nature of Restraint ofAccused ‘9: Datefs} Imposed

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il. Charges and Specifications

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and: Felonies, High Cries, and Misdemeanors ~ A Delict Penal Action annéxed hereto in full
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Genete Conventions and all ancexes therets

 

Il. Preferral
‘Gublett-El, , Taquan Rahshe
and ‘Selective Service System
Hephzibah-£l, Syteria _. _ . Tidus. Registration. Number 77-O85S182-2
8: Name of Aecustrs (Last, First, MiddleInitial) b.Grade ©  ‘c. Organization of.Accusérs***

    

d: Autograph. of Accuser$ “

[G.0.¥: 2627 — July, i]

 

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Case 3:17-cv-00881-TIC-JBT Document i-3 Filed 08/01/17 Page 162 of 191 PagelD 497

Charge Sheét (DD FORM 458) [Front]

 

 

I. Personal Data
Commissioned
109 “Warrant
Divyér, Molly C. Unknown _ Officer:
4, Natné of Accused (Last, First, Middle initial} 2 SSN '@ Grade or Rank

Uniformed Services Uniied States Appeals ¢ Court Cle vk

 

 

 

 

Unknow: ‘5 Seventh Street, San Francisco, California 94203,
-4. Pay Grade 5. Unit or Organization
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6.Carrént Service — a, Initia Date / be Tomi 7. 7. Pay Per Month =a: Baste jb, Sea-Foreign Duty fic-Total
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8, Nature of Restraint of Accused 9: Date(s) Imposed

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If, Charges and Specifications
40. Charge(siraee Alfidavit of Inférniation; Repait, anil Preferral of Charges: Criminal Coniplaint for War Crimes,
and- Felonies, High Crimes, and Misdemeanors +A Delict Penal Agtion anneted hercta in full

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Ii. Preférral:
‘Guilett-El, Taquan Rakshe
and ‘Selective Service System
Hephzibah-£l, Syteria Inductee Registration Number XX-XXXXXXX-2
14; Name of Accusers (Last, First, Middleinitial), b.Grade se. Organization of Accusers***

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‘ ae ee ofAccusers”

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Charge Sheet (DD FORM 458) [Front]

 

 

4. Personal Data.
Conimissioned
130 ‘Warrant
‘Gray; Kiny K Uniciawr . Officer
i: Name of Atcnsed (ast; First, Middle Initial}, .2SSN : 3. Grade or Rank

‘Uniformed Se ervites United States District Court Clerk

    

 

 

 

 

_Sninewn._ ‘gi2 North Spiny Street, Rodi G-8: Los Angeles, California goo12.
‘4, Poy Grade Be Unit or ‘Organization
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Protrial Restraint &-Prétrisl Confinement. __.. Unknown.
‘8. Nature of Restraint of Accused. ‘Gg; Date(s) Inipesed:

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Hi: Charges and Specifications

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aid: Felonies; High Crimes, and Misdehieaiors A Diélict Perisl Action annexed hereto tn full
Specification(s)

Natural Rights and Human Rights Infringements of International Law of: Pesee and Law af War
<Constitnting Grave Breaches of the Fundamental Guarantees of the Hague Conventions andthe
‘Genend, Conventions aud all annexes hereto.

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HE, Preferral
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‘and. " Selective Service ‘System.
Hephzibah-#l, Syteria _ Tnductee- Registration Number 77-08 53782-
ait. Naine of Accrisers (Last, First, Middle Initial) b. Grade. Organization af Acengers***

 
   

i ; Autagedph of. Accusers

(G.C.¥, 2007—JTuly, i]
&; Date

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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 164 of 192
Case 3:17-cv-00881-TJC-JBT Document1-3 Filed O8/O1/17 Page 164 of 191 PageiD 499

‘Charge Sheet (DD-FORM 458) [Front]

 

 

I. Personal Data
Commissioned .
_ 121. Warrant.
Reyes, Lasa - Unknown _ Oficer-
Name of Accused (Last, First, Middleiitial); 2. SSN 3: Grade or Rank

Uniformed Servieds United States Federal Claims Court Clerk

 

 

 

 

 

 

 

Unknown. iz Madisin Place, Washington, District of Columbia 20005...
‘4, Pay Grade: §. Unit or Organization.
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6. Ciirrént Servite ~ a. Initial Date fb, Tenn “7: Pay Per Movili-~ a: tasie / bs Sex-Forvign Duly / c, Total
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Pretrial Réestedint & Pretrial Confinement. — Unknown,
@. Nature of Restraint of Accused seer) Tm positd:

138 Cine snd & Specifications

ta. Charge(s}: see Affidavit of Tnformation, Report, aud Preferrel of Charges: Crimina} Complatit far War Crimes,
and Felonies, igh Crimes, and. Misdemeanors ~ ADelict ‘Penal Action annexed héretod in full
‘Speelfioation(s}-

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‘Genese Conventions and all aunexes thereto.

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TH. Preferral.
Gullett-El, ‘Taquan Rahshe.
and ' Selective: Service System
‘Bephzibah-El, Syteria SIndictec: | Registration Neraber. TF-O85S 185-2.
tn, Name of Aceusers (Last, First, MiddleInitialy b- Grade eos Ongenization ofAcensers*** —

 

(G.CY. 2019 ~ July 0]
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Charge Sheet (DD FORM.458) [Front],

 

 

‘IL Pevsonal Data
Cominissioned’
. .. . diz ; Warrant
_Marksteiner, Peter R, Usimown Officer
1. Nante of Accused (Last, First, MiddleInitsl}  -2.55N 3, Grade or Rank

Uniformed Services United States Federal Appeals Court Clerk

 

 

 

 

 

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4. Pay Grade §: Unitor Organization
Unloiown. . Unknown.
6: Current Service w me initial Date f B. Ter 7, Pay Fer Month - ~ a4 Basis fb, Sea-Forcign Duty f e-Toul
Apprehension,
Pretrial Restraint & Prebdal Confinement. Unknown
-8.Nature of Restraint of Accused. -§: Datefs} Imposed

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5. CHarge{s): sea Affidavit of Inforniation, Report, and Freferral of Charges: Criminal Conrplaint for War Crimes,
and Felonies, High Crimes, and Misdemeanors —A Délick Penal Action annesed hereto in full

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‘Natural Rights and Human Rights Infringements of International Law of. Peace and Law of War.
‘Constituting Grave Breaches of the Fundamental Guarantees of the Hague Contentions andthe
‘Géneva Contentions and all anriéxes theres.

 

 

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ed Selective Service System
Hephzibah-El, Syteria. . Inductee. Registration Number 97-085918 28:
aia: Name pf Aecusers (Last, First, Middle Initial) «bh Grade c. Organization af Accusers*** ~

 
   

d. Autograph ofAccusers |

[Gay 2017: _ July, 4] .

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Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed 08/01/17 Page 166 of 191 PagelD 501

‘Charge Sheet (DD FORM 458) [Front],

 

 

1: Personal Data
Commissioned.
: . 243: _ . ‘Warrant
‘Firestone, Nancy B. ___tnlmown ___ Officer
a; Name 6f Accused (Last, First, Middle Titi) 2, SSN 3. Grade or Rank

‘Uniformed Services United States Federal Claims Court J fudge

   

_ Unknown. 17 Madison Place. Washington, District of Columbia 20005:
4, Pay Grade 5. Unit or Organization
Unknown. Uniinovwn-.

 

6. Ciitbénit Service — a. thitial Date fb, Term 7- Pay Per Mouth ~a: tasic / 4; Sea-Foreign Duny fc. Total

 

 

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8. Nature of Restraint of Accused g-Datets} Hapased

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and Felonies; High Crimes; aiid Misdeméatiors— A Delict Penal Action annexed hereto in fill
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‘Genein Conventions and all anneies theréto-

‘TH. Preferral.
Guilett-El, ‘Taquan Rahshe
‘nad Selective Service System
. Hephzibab-El, Syiéria. Inductee Registration Number 77-a859182-3-

 

 

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. [G.C.vie9 17 — July, a]

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‘Charge Sheet (DD FORM 45$) [Front],

 

 

E.. Personal Data
Commissioned
iia ‘Warrant
Wolski, Vietar J. Uninewn _- Officer
i Nene of Accused (hast, Firs, Middl initiel) 4. SSN 3: Grade or Rank.

Uniformed Serviees United States Federal Claims Court Judge.

 

 

 

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Pretrial Restraint & Pretrial Confinement: - one Unknown -
8. Nature of Restraint of Accused 'g. Date(s) Imposed

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and. __ Felonits, High Grimes, and Misdemeanors — A Delict Pénsil Action annexed hereio‘in full
‘Specifieation()

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Geran Conventions and all annexes thereta

 

 

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olleti-El;Taquan Rahshe.
/ and ‘Selective Service System.
Hephzibah-El, Syteria Anduétee- Registration Number 7708531828.
iia; Warne of Accusers (Last, Fist; Middle Iittial): “6. Grade c, Organization of Accusers*#* —

    

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€. Date

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Charge Shect (DD FORM 458) [Front]

 

 

1. Pérsonal Data
Commissioned.
. - 5 | Warrant
Bradley; David J. Daknewn Officer
# Nome of Accused (Last, First; Middle Initial] .2:SSN -9- Grade or Rank

Uniformed Services United States District Court Clerk

 

 

 

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WW. Pay Grade .§. Unit or Organization
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Apprehension,
Pretrial Restraint & Pretrial Confinement. Unknown:
8, Nature of Restraint of Accused -9. Date(s) Imposed

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ii. Charges and Specifications

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and, Felonies. , High Crimes and Misdemeanors —A Dalict Penal Action annexdd hereto in full
. Specification{s}.

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‘Gullet-El, Taquan Ralishe
‘and | ‘Selective Service System
Hephizibah- -El, Syteria Tnductee. Registration Nuniber XX-XXXXXXX-3
148; Name of Accusers (Last, Fist, Middle initial)’ b. Grade: c, Grganization ef Accdsers™*

 
   

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[G.C.¥: 2007 — July, i]

«, Date

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Charge Sheet (DD FORM 458) [Front],

 

 

 

 

 

 

1. Personal Data.
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. die. 7 Warrant
Brown, Jr., Edmund G. Unlnown . Officer
1, Name of Accused (Last, First, Middle Initia): 2. SSN §- Grade or Rank
‘Uniformed Services California Governor.
Dnlnown.. State Capitol, Soites179. Sicramenty; California: 5841.
qs Pay Grade §. Unit or Organization
= Urilaiotin = _-Unlinown .
6. Carrent Servier — a, litist ate fi. Tem 7: Poy Per Month -2: Basic /b-Sea-Foreign Duty / oz Teal
Apprehension, ;
Pretrial Restraint & Pretrial Confinement . Unknown. ,
‘8, Nature of Restraint of Accused -g, Date(s} Imposed.

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It, Charges and Specifications
10, Chargefs)}: sec Alidayit of Information, Report, and referral of Charges: Criminal Camplaint for War irimes;
aad, Felonies, High Crimes, aid Misdemeanors —A Delict Panal Action annexed hereto in fall

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TEL: Preferral.

‘Gullett-El ;Taquan Rahshe

and Selective Service System.

Hephzibah-El: Syteria Tndtictee Registration Number, 77-OB5g1 B22.
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Change Sheer (DD FORM 488) [Front

 

 

1. Pérsonal Data:
Commissioned
ai Warrant
‘Shiamoto; J can. Unknown - Officer:
1. Name of Accused (Last, first, Middleinitial}; 2 SSN 3: Grade or Rank

‘Uniformed Services California Depariment of Motor Vehicles Director

 

 

. Unknown. 2415 1 Street. Mail. Station Fioi, Sacramento, California 55818-2606
4. Pay Grade Unit or Organization.
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:Corrent Service > a; Jniial Date / 6. Tem 7. Pay Per Month —s; baste jb, Ser Fordgn Duy jg Tal
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Pretrial Restraint &. Pretrial Confinement. ‘Unknown.
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TI. Charges and Specifications

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and Felonies, High Crimes, and Misdemeanors — A Delict Penal Action annexed hereta in full.
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Constituting Grave ‘Breathes of ike Fundamental Guarantess of the Hague Contentions andthe
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and ; Selective Service System.
‘Hephzibali-El, Syteria. Tnduttee- Registration Number 7F7-OSH3182-2.
lia, Natne of Aconsers (Last, Fist, Middle fnitial): 8 Gradé c; Organization of Accusers™**

  

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da. Autograph of Aceusers
[G.C.¥. 2007 — July, 1]

a: Date

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Charge Sheet (HD FORM 458) [Front],

 

 

 

 

 

1. Personal Data
‘Commissionéd
/ . 118. 7 Warrant

MeDonnell, dint Dnknawi _ ‘Officer: .

4 Name of Accused (Last, First, MiddleTnitiel) 2, SSN 3. Grade or Rank
_ Uniformed Services Los Angeles County Sheriff

Unlmown ‘211 West Temple Streat: Los Angeles, Califarnis goare -

4. Pay Grade 4. Unit ar Grganization .
Unknown... ‘Unknown.
6. Current Service — a, Initial Date fb. Teme } Pay Per Month ~a. Basic b. Sea-Foreigh Duty fe, Total
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aml = Felonies, High Crimes, and Misdemeanors ~ A Délict Penal Action annexed hereto in full,
Specification{s}

‘Natural Rights and Human Rights Infringements of Iaternational Law of Feace arid Law of War
‘Constititing Grave Ereaches of the Fundamental Guatantees of the Hague Conventions aud the
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an” ‘Selective Service System
Hephzibah-El, Syvteria. _.. Inductee Registration Number XX-XXXXXXX-2.
dis. Namié df Accuses (Last, Bist, Middietnitialy  b.. Grade ¢, Organization of Accusers***

 

 

“Lau o oeriphi éEAccusers”

_ [G.G.¥.'2017 — Fuly,.4}

¢. Date

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Charge Sheet (DD FORM 458) [Front].

 

 

I. Personal Data
Commissioned.
419° Warrant
Cagnacci, Jeffrey. Unknown _ -Offizer
“Nate of Accused (Last, First Middle Initial) «=: SSN 3. Grade or Rank

Uniformed Services Internal Revenue Setviee Agent

   

 

 

Unknown io: North Los Angeles Street, Suite 49z4, Los Areeles; California gooi2
.4; Pay Grade. §. Unit or Organization
Unknown. _. Grlinowitt.
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Hi. Chargés and Specifications
10. Ch arge(s): see Affidavit of. Information, Report, and Preferral of Charges: Criminal Complaint for War Crimes;
and: Felonies , High Comes; and Misdemeanors mA Deéliet: ‘Penal Action annexed hereto iz full

Specifieation(s}
Natural Rights and Human Rights Infringements of Internationa! Law of Peace ang Law of War
Constituting Grave Breaches of the Fuiidamental Guarantecs' ofthe Hoagie Conventions and the
Genaud Conventions: and “all annexes t thereta

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Gullett-El, Taquin Ralishe
and = Sélective Service System
‘Hephzibah-El, Syteria: Inductee - Registration Somber. FF-OSSSIBS-2-
tia. Name of Accuscrs (Last, First, Middle Initial} b.. Grade- 2. Organization of Aceusers***

    

} ad. Antogrags of Accusers “4
[G.GY: 2077 ~- July, 3]

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Charge Sheet (DD FORM 458) [Front];
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370 Warrant
Mazon, Patricia Unknown . Officer
4, Name of Accused {Last; First, MiddleInitia}. 2.SSN -3. Gradeor Rank

‘Uniformed Services Internal Revenue Service Agerit

 

 

 

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HH. Charges and Specifications

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and Felonies, Hieti Crimes, and Misdemeanors —A Bait Penal Action annexed hereto in full
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‘Geneoa Conventions and all nimexes thereto.

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tia: Name of Accitsers (Last, Fist, Middl Initial} “b: Grade. & Organization of Accusers*** —

 

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Charge Sheet (DD FORM 458) [Front]

 

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421. Warrant
‘Knarr, Brandon Uninown: Officer
2:SSN | 4, Grade or Rank

 

x Name of ‘Accused Cast, First; ‘Middle Talia).

‘Unifermed Sdivices Iritérnal Revenue Service Agent
‘300 ‘North Los Angeles Street, Suite 4ga4. "Los Angeles. Califoriiiz: goats |

 

 

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Charge Sheet (DD FORM 458) [Front],

 

 

1; Personal Data.
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__ Green; Maureen Unknown Officer
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Uniformed Services Internal Revenue Service Agent

 

 

 

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and: Felonies, , High Crimes, and Misdemeaiors —A Delict Pénal Action annexed herein in full

Specification(s).

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and . — ‘Selective Service System
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sis. Name of Acctstrs (Last, First, Middleititia). b. Grade e. Organization af Accuscrs***

 

[G.C.¥. 2087 — didy, 7]

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Uniformed Services Internal Revenue Service Agent

 

 

 

 

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avid Selective Service System.
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d. JAnitograph of Accusérs

{G.C.¥. 2017 — July; 1]

& Date

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Chargé Sheet (0D FORM 458) [Front],

 

 

I. Personal Data.
‘Commissioned’
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Cox; Michael We ‘Unknown Officer
a, Name of Accused (Last, First, Middlé Initial): .2. SSN 3 Grade or Rank

‘Uniformed Services Internal Reventie Service Agent

 

 

 

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ip Pay Grade §. Unit or Organization.
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and” Selective Service System
‘Hephzibah-El,: Syteria Inductee Registration Number y7-GRSGiS2-2:
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Charge Sheet (DD FORM 458) [Front]

 

 

i, Personal Data
‘Commissioned
425 Warrant
‘Harris, Kamala __ Unimown_. . Officer
14. Name of Accused (Last, First, Middle Initial). 2: SEN 3. Grade or Rank

Uniformed Services (Former) California: Attorney General

 

 

 

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‘I. Personal Data.
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ek 126. / Warrant
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‘Uniformed Strvicés Assistant United States Aitomey.

 

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[G.cY. 2027 —~ July, a]

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Chargé Sheet (DD FORM:458) [Front].

 

 

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Ashman, Joseph Edward Uninown Of. ives: .
i. Name of Accased (Last, First, Middle initial) 2: SSN. g. Grade or Rank —

Uniformed Serviees Assistant United States. Attorney:

 

 

 

 

 

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_Klimas, Geoffrey J. Dniknown Officer
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Charge Sheet (DD. FORM 458} [Front]

 

 

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11a, Name of Accuscrs (Last, First, MiddleInitial) ob Grade  —_-¢, Organization 6f.Accusers***

   

 

 

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Case 3:17-cv-00881-TJC-JBT Document1-3 Filed 08/01/17 Page 183 of 191 PagelD 518

Affidavits. Before: ine, thé undersigned, authorized by law to- adap fnister oath ih cases of this

character, personally. appeared the above gamed ‘acctsers. this st day of
2017, and signed the foregoing charges and specifications ander oath that hé/shei isa peréin subjee eet
to the. Uniform: Code. of Military Justice and that he/she either: hag personal ‘knowledge of or has
investigated the matters set forth therein and that the s same are true to the best of his/tier knowledge

and belief.

Tiquati Rabshe GulletEl, Eldkst Male Obinpetent Heit of Frarold Claytbii Gallett"®; decoded tte States Navy Vetéiait

sh El Widaw Competent Heir of Harold Clayton Galleti™, deceased United Stntes Navy Veteran

   

 
 

Syteria Hepho

Notary Jarat
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united states for Aniérica, Timietian Al Andalusia Northwest Amexem (Moroes) }

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Before me, :a: duly appointed Notatial Officer, -this

Taguar Rabshe Gullett-2l, and Syteria- Hephiibab-El: ‘being known to'met6 be of lawitl age, eoinpatent to testify, .
‘snd-who does in my presence, set his and her hand’ hereto and he and she\ des establish this Preferral of Charees
‘and Specifications (DD FORM 458) freely and without coercion, attested by Notary Jucat in the nature of Apostille,

2017, by Personally. Known J
‘or Produced. Identification

 
   
 

in: Witness whereof set my sign and seal. .
Adfirmied ta (orswont} and subseribied before me iE" day af, da) 4

“Type of Identification Produced

This public doctimiént has been signed by Beatrice Renee’ Scantling
acting in the capacity of Deputy Secretary of State Notary Pitblic ©
and bears the scal‘andstampof =~

NOTARY PUBLIC STATE OF FLORIDA BEATRICE RENEE’ * SCANTLING

 

 

 

 

 

 

 

  

 

 

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Typed Nate of Officer: Organization of Officer:

 

 

Grade. ‘Official Capiicitist in Administer Dath. *
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Signature

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Charge Sheet wp FORM459) [Back]

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Typed Namie ofOfficer ‘Official Capacity of Officer Signing
Grade. Signature

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Case 3:17-cv-00881-TJC-JBT Document 1-3 Filed 08/01/17 Page 185 of 191 PagelD 520

Y¥. Referral; Service of Charges:

‘14a. Designation of Command of Convening Authority. b. Place # Date

Referiedfortridltothe_. Court-martial convened by

 

 

 

 

 

 

 

 

: -subject to the following instructions:
By Of,
Command or Order
Typed Name of Officer ‘Official Capacity of Officer Signing.
Grade Signatize

++ Harold Clayton Gullett, deceased Uniied Statés Navy Veteran and Civil Servant:

 

Daté of Birth: 07/09/1952: City: Philedelpbia.. Pennsylvania
Date of Death: 10/27/2002" City: Port Hueneme: Califamia
Occupation: Engineer Datés of Service:: Ea isted: 1973

 

“The Heiris the same as the Ancestor”
“Taguan Ralish¢ GulletsH), Eldest Male Competent Heir of Harold Clayton Gullett™, deceased United Stites Navy Veteran

‘Syteria Hephaibab-El, Widew Competent Heir of Hirald Clayton Gullett’*, deceased United States Navy Veteran:

+e Organization of Aceusers - ~ Selective Service Svstem Registration Number XX-XXXXXXX-2
(see Selective Service Military Oath: éLinductinn and Agreement -
“Attichment,” supra, pages 50 — 54, paragraphs 165189),

_ Ritidavitat information, Report, and Prefertal of Chames::

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Case 3:17-cv-00881-TIC-JBT Documenti-3 Filed O8/O1/17 Page 186 of 191 PagelD 521

Cer:

‘Admiral ‘James Alexinder Winnefeld, ar.
Vira: Chairman

Joint. Chiefs of Staff

9999 Joint Staff Pentagon

“Washington; DC20328-99 nd.

General Prank J. Grass

Chief, National Guard Bureau

1636 Defense. Pentagon’ Sitite 16169:
Washington, DC 20301-0001

General Riymorid Thomas Odierno:
Aamy Chief of Staff
260 Army. Pentago?

- Provost Marshal General Mark S. Tach
Office of the Prevost Marshal General:
Attention: eip Office:
28o0 Army Pentagon
Washington, Di istrictof Columbia
20 310-2800.

Jeff Sessidns, U.S. Attorney ( Gatieral’
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‘Melissa Nelson, State Attorney
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General Joseph Fran¢is. Dunford; Jt.
Commandant of the Marine Corps.
Headquarters, “US Marine Corps’
3000 Marine Corps:

‘Pentagon Washington, DC 20356.

Adiniral Jonathan Wiltiani Greciert
-Chiefof Naval Operations

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‘General Mark Anthony Welsh TIL

Ait Force Chief of Staff

1690 Air Forte ‘Pentagon.
‘Washington, DC.20330-1670

Genéral Joseph Francis Dunford, Jr.
Chairman Joint Chiefs of Staff
'g999 Joint Staff Pentagon |
Washington, District of Columbia
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Organization of American States.

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Rick Swearingen, FDELE Cémimissioner
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W. Stephen Muldrow, U:S. Attorney
400 North Tamipa Street, Suite'3200:
Tampa F Florida 39602

Adfidavit of Inforavition. Report. and Pralerdiol Charme.
Criminal Complaint fer Vier Giines, Felonies, High Crimes, and Misdemeancis-

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Case 3:1/-cv-00881-TIC-JBT Document1-3 Filed 08/01/17 Page 187 of 191 PageiD 522

Washington Navy Yard, D:C,20974
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U-tnt

United States Department of State ®. Adm, Sandra L. Stesz, Superintendent.
U.S. Central:Authority for Hague and United States Coast Guard Academy
‘Inter-American Service Cohventions 31 ‘Mohegan Avena:

Office of International. dtidicial Assistince ‘New London, Canecticnt 06420:
1100 L, Stréet,.N-W.; Room 11006.

Washington. District of Columbia,
.2O§22-1710-

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‘Alfidavty of tafcemaricn, Report, and Prefiratat Chasgen
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Case 3:17-cv-O0881-TJC-JBT Document1-3 Filed O8/O1/17 Page 188 of 191 Page!lD 523

Col: §. Shubert:
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Superistendent

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‘Aifekavit of Information, Report, 2rd Prefercal ef charges:
Criminal Camiplains for War Cyimes, Falonies, High Ginés, and Midemeanors-

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Bernardo Alvarez Herrera, Ambassador
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Consulate General Liu Jian.
Consulate Generaliof the People’s. Republic of China

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Mninwa Mahlangu, Ambassador
Embassy. of South Africa
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Zeid Ra’ad Al Hiissein, ; High Commissioner for Human Rights.
Office ofthe United Natidns Hight Comniissioner for Human Righis (OHCER)} OHCHR
405 East 425% Streat, New York, New York 10017

Atidavit ot infaiteation, Report, acd Profecralad Chaegess,
Crimiaal Complaine far War Comes, Pekinlis, High Games, and Misdameanors= ;
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Case 20-40375-KKS Doc1-8 Filed 10/14/20 Page 190 of 192
Case 3:17-cv-00881-TJC-JBT Decument1-3 Filed 08/01/17 Page 190 of 191 PagelD 525

Secretary-General Antonio Guierres
Deputy Secretary-General Amina J. Mohammed
United Nations Security Council
International Court of Justice
United Nations Headqiartets
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H. E. Mr. Peter Thompson,. President
United Nations General Assembly.
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The International Law Commission
United Nations Headquarters
Ath: Secretary of the International Law Commission.
-2 United Nations Plaza.
323 East 44% Street, Room: DC2-0566
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Attidavtt of infaomation, Resert.and Pirieraiol charmes:
Oetininat Compbint for War Crimes, Felonies, High Grimes, snd Misdemeancrs-
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Case 3:17-cv-O0881-TJC-JBT Documenti-3 Filed O@/O1/17 Page 191 of 191 Pagelb 526
Verification
1; Taquait Rahishie Gullett-Bl, als6 called MadlikRahsheE1, and, Syteiia Hephabals El also called Highly
Favored Shekitiah El, Divitie hmdital Spisitin Live Flesh and Blood Natural Man and Woman of
majority on the- Land, Te Propria Persona by Sui Juris capacity, Jus Sanguinis, Heir Apparent by
Freehold of Inheritance, Original Autochthonous American Moor Alien (Friend) Republican:
Universal Goveraisient Form and Testamentary Style [AAMARUS™®}, do hereby deélare and!
caffra: byt virtue. of Divine Law, under penalties ¢ of perjury under the laws of Our Most High: Creator
Divine Source for the Force Univéisal Allah cAll-Law); The Holy Koran Circle 7,.The
Zadiae Constitution, the laws of the State.of Florida; and -thelaws ofthe United
States of America, that Tam competent to state the matters set forth, and heréin, and that all ofthe.
facts stated are trué, correct, conipleté, cértain, not misleading, admissible as eviderice, in
-accordance with declarant’ s best first-hand knowledge, undetstanding, and honorable intent, and tf
called i upon for xhetorie as a Witness to the veracity of evidéiicé preferred and proffered, declarant
shall so state.
[State v: Shearer, 617 So.2d (Fla. App: § Dist:1993)]

This Affidavit is dated the Twenty-Seventh Day.of the Fifth Month
in the Year of Qur Universal Allah- (Al-Law)

Fouitteen Hondred Thirty-Seven [Gregorian Calendar Year 2017 — May, 27].

in Honor:.

   
   

Syterta Hephalbsh-E, alse called Highly Favored Shekinah EL Divine iniinurtal Spiritin T
Jas Sanzuinis, Nanrral Manand Woman of minjority oa tha Land, In Prepria Persona by Soi Juris eng
Griginat Ai Avinsbthanens Amrrienn Moor Ales {Fier} Republican Universe! Government arn ond Te
Ufe-G7z2 Arlington Expressway, Sui: fray, Jacksonville Florida state
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